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                                EXHIBIT L


                 To Declaration of Micah West in Support of
                     Motion for Preliminary Injunction
                      & Motion for Class Certification
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 Fundamentals of Bail: A Resource Guide
 for Pretrial Practitioners and a
 Framework for American Pretrial
 Reform


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 Preface

 Achieving pretrial justice is like sharing a book – it helps when everyone is on the same
 page. So this document, “Fundamentals of Bail: A Resource Guide for Pretrial
 Practitioners and a Framework for American Pretrial Justice,” is primarily designed to
 help move America forward in its quest for pretrial reform by getting those involved in
 that quest on the same page. Since I began studying, researching, and writing about bail
 I (along with others, including, thankfully, the National Institute of Corrections) have
 seen the need for a document that figuratively steps back and takes a broader view of
 the issues facing America when it comes to pretrial release and detention. The
 underlying premise of this document is that until we, as a field, come to a common
 understanding and agreement about certain broad fundamentals of bail and how they
 are connected, we will see only sporadic rather than widespread improvement. In my
 opinion, people who endeavor to learn about bail will be most effective at whatever
 they hope to do if their bail education covers each of the fundamentals – the history,
 the law, the research, the national standards, and its terms and phrases.



 Timothy R. Schnacke

 Executive Director

 Center for Legal and Evidence-Based Practices




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 to list and thank them all by name. Nevertheless, a few entities and people warrant
 special mention. The first is the National Institute of Corrections, and especially Lori
 Eville and Katie Green, for conceiving the idea for the paper and allowing me the time to
 flesh it out. The NIC has been in the forefront of pretrial justice for many years, and I am
 honored to be able to add to their long list of helpful pretrial literature.

 Cherise Fanno Burdeen and the National Association of Pretrial Services Agencies,
 through the helpful assistance of John Clark and Ken Rose, provided invaluable input on
 the draft, and Spurgeon Kennedy saved the day with his usual excellent editorial
 assistance. Also, I am especially grateful to my friend Dan Cordova and his staff at the
 Colorado Supreme Court Law Library. Their extraordinary expertise and service has been
 critical to everything I have written for the past seven years. Special thanks, as well, go
 to my friend and mentor, Judge Truman Morrison, who continues daily to teach and
 inspire me on issues surrounding bail and pretrial justice.

 I would also like to thank my dear friend and an extraordinary criminal justice professor,
 Eric Poole, who patiently listened and helped me to mold the more arcane concepts
 from the paper. Moreover, I am also indebted to my former boss, Tom Giacinti, whose
 foresight and depth of experience in criminal justice allowed him to forge a path in this
 generation of American bail reform.

 Finally, I give my deepest thanks and appreciation to Claire Brooker (Jefferson County,
 Colorado) and Mike Jones (Pretrial Justice Institute), who not only inspired most of the
 paper, but also acted (as usual) as my informal yet indispensable editors. It is impossible
 to list all of their contributions to my work, but the biggest is probably that Claire and
 Mike have either conceived or molded – through their intellectual and yet practical
 lenses – virtually every thought I have ever had concerning bail. If America ever achieves
 true pretrial justice, it will be due to the hard work of people like Claire Brooker and
 Mike Jones.




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 Executive Summary

 Pretrial justice in America requires a common understanding and agreement on all of
 the component parts of bail. Those parts include the need for pretrial justice, the history
 of bail, the fundamental legal principles underlying bail, the pretrial research, the
 national standards on pretrial release and detention, and how we define our basic terms
 and phrases.

  Why Do We Need Pretrial Improvements?

 If we can agree on why we need pretrial improvements in America, we are halfway
 toward implementing those improvements. As recently as 2007, one of the most
 frequently heard objections to bail reform was the ubiquitous utterance, “If it ain’t
 broke, don’t fix it.” That has changed. While various documents over the last 90 years
 have consistently pointed toward the need to improve the administration of bail,
 literature from this current generation of pretrial reform gives us powerful new
 information from which we can articulate exactly why we need to make changes, which,
 in turn, frames our vision of pretrial justice designed to fix what is most certainly
 broken.

 Knowing that our understanding of pretrial risk is flawed, we can begin to educate
 judges and others on how to embrace risk first and mitigate risk second so that our
 foundational American precept of equal justice remains strong. Knowing that the
 traditional money-based bail system leads both to unnecessary pretrial detention of
 lower risk persons and the unwise release of many higher risk persons, we can begin to
 craft processes that are designed to correct this illogical imbalance. Knowing and
 agreeing on each issue of pretrial justice, from infusing risk into police officer stops and
 first advisements to the need for risk-based bail statutes and constitutional right-to-bail
 language, allows us as a field to look at each state (or even at all states) with a
 discerning eye to begin crafting solutions to seemingly insoluble problems.




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  The History of Bail


  Knowing the history of bail is critical to understanding why America has gone through
  two generations of bail reform in the 20th century and why it is currently in a third.
  History provides the contextual answers to virtually every question raised at bail. Who is
  against pretrial reform and why are they against it? What makes this generation of
  pretrial reform different from previous generations? Why did America move from using
  unsecured bonds administered through a personal surety system to using mostly
  secured bonds administered through a commercial surety system and when, exactly, did
  that happen? In what ways are our current constitutional and statutory bail provisions
  flawed? What are historical solutions to the dilemmas we currently see in the pretrial
  field? What is bail, and what is the purpose of bail? How do we achieve pretrial justice?
  All of these questions, and more, are answered through knowledge of the history of bail.

  For example, the history tells us that bail should be viewed as “release,” just as “no bail”
  should be viewed as detention. It tells us that whenever (1) bailable defendants (or
  those whom we feel should be bailable defendants) are detained, or (2) unbailable
  defendants (or those whom we feel should be unbailable defendants) are released,
  history demands a correction to ensure that, instead, bailable defendants are released
  and unbailable defendants are detained. Knowledge of this historical need for
  correction, by itself, points to why America is currently in a third generation of pretrial
  reform.

  The history also tells us that it is the collision of two historical threads – the movement
  from an unsecured bond/personal surety system to a secured bond/commercial surety
  system colliding with the creation and nurturing of a “bail/no bail” dichotomy, in which
  bailable defendants are released and unbailable defendants are detained – that has led
  to the acute need for bail reform in the last 100 years. Thus, the history of bail instructs
  us not only on relevant older practices, but also on the important lessons from more
  recent events, including the first two generations of bail reform in America in the 20th
  century. It tells us how we can change state laws, policies, and practices so that bail can
  be administered in a lawful and effective manner, thereby greatly diminishing, if not
  avoiding altogether, the need for future reform.




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  The Legal Foundations of Pretrial Justice


  The history of bail and the law underlying the administration of bail are intertwined
  (with the law in most cases confirming and solidifying the history), but the law remains
  as the framework and boundary for all that we do in the pretrial field. Unfortunately,
  however, the legal principles underlying bail are uncommon in our court opinions;
  rarely, if ever, taught in our law schools and colleges; and have only recently been
  resurrected as subjects for continuing legal education. Nevertheless, in a field such as
  bail, which strives to follow “legal and evidence-based practices,” knowledge of the
  fundamental legal principles and why they matter to the administration of bail is crucial
  to pretrial justice in America. Knowing “what works” – the essence of following the
  evidence in any particular field – is not enough in bail. We must also know the law and
  how the fundamental legal principles apply to our policies and practices.

  Each fundamental principle of national applicability, from probable cause and
  individualization to excessiveness, due process, and equal protection, is thus a rod by
  which we measure our daily pretrial practices so that they further the lawful goals
  underlying the bail process. In many cases, the legal principles point to the need for
  drastic changes to those practices. Moreover, in this generation of bail reform we are
  beginning to learn that our current state and local laws are also in need of revision when
  held up to the broader legal foundations. Accordingly, as changing concepts of risk are
  infused into our knowledge of bail, shedding light on practices and local laws that once
  seemed practical but now might be considered irrational, the fundamental legal
  principles rise up to instruct us on how to change our state constitutions and bail
  statutes so that they again make sense.

  Pretrial Research

  The history of bail and the law intertwined with that history tell us that the three goals
  underlying the bail process are to maximize release while simultaneously maximizing
  court appearance and public safety. Pretrial social research that studies what works to
  effectuate all three of these goals is superior to research that does not, and as a field we
  must agree on the goals as well as know the difference between superior and inferior
  research.

  Each generation of bail reform in America has had a body of literature supporting
  pretrial improvements, and while more research is clearly needed (in all genres,
  including, for example, social, historical, and legal research) this generation nonetheless
  has an ample supply from which pretrial practitioners can help ascertain what works to
  achieve our goals. Current research that is highly significant to today’s pretrial justice
  movement includes research used to design empirical risk assessment instruments
  and to gauge the effectiveness of release types or specific conditions on pretrial
  outcomes.
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  The National Standards on Pretrial Release


  The pretrial field benefits significantly from having sets of standards and
  recommendations covering virtually every aspect of the administration of bail. In
  particular, the American Bar Association Standards, first promulgated in 1968, are
  considered not only to contain rational and practical “legal and evidence-based”
  recommendations, but also to serve as an important source of authority and have been
  used by legislatures and cited by courts across the country.

  As a field we must recognize the importance of the national standards and stress the
  benefits from jurisdictions holding up their practices against what most would consider
  to be “best” practices. On the other hand, we must recognize that the rapidly evolving
  pretrial research may ultimately lead to questioning and possibly even revising those
  standards.

  Pretrial Terms and Phrases

  A solid understanding of the history of bail, the legal foundations of bail, the pretrial
  research, and the national standards means, in many jurisdictions, that even such basic
  things as definitions of terms and phrases are in need of reform. For example, American
  jurisdictions often define the term “bail” in ways that are not supported by the history
  or the law, and these improper definitions cause undue confusion and distraction from
  significant issues. As a field seeking some measure of pretrial reform, we must all first
  agree on the proper and universally true definitions of our key terms and phrases so
  that we speak with a unified voice.

  Guidelines for Pretrial Reform


  Pretrial justice in America requires a complete cultural change from one in which we
  primarily associate bail with money to one in which we do not. But cultural change
  starts with individuals making individual decisions to act. It may seem daunting, but it is
  not; many persons across America have decided to follow the research and the evidence
  to assess whether pretrial improvements are necessary, and many of those same
  persons have persuaded entire jurisdictions to make improvements to the
  administration of bail. What these persons have in common is their knowledge of the
  fundamentals of bail. When they learn the fundamentals, light bulbs light, the clouds of
  confusion part, and what once seemed impossible becomes not only possible, but
  necessary and seemingly long overdue.

  This document is designed to help people come to the same epiphany that has led so
  many to focus on pretrial reform as one of the principle criminal justice issues facing our
  country today. It is a resource guide written at a time when the resources are expanding
  exponentially and pointing in a single direction toward reform. More importantly,

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  however, it represents a mental framework – a slightly new and interconnected way of
  looking at things – so that together we can finally and fully achieve pretrial justice in
  America.




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  Introduction

  It is a paradox of criminal justice that bail, created and molded over the centuries in
  England and America primarily to facilitate the release of criminal defendants from jail
  as they await their trials, today often operates to deny that release. More unfortunate,
  however, is the fact that many American jurisdictions do not even recognize the
  paradox; indeed, they have become gradually complacent with a pretrial process
  through which countless bailable defendants are treated as unbailable through the use
  of money. To be paradoxical, a statement must outwardly appear to be false or absurd,
  but, upon closer examination, shown to be true. In many jurisdictions, though, a
  statement such as, “The defendant is being held on $50,000 bail,” a frequent tagline to
  any number of newspaper articles recounting a criminal arrest, seems to lack the
  requisite outward absurdity to qualify as paradoxical. After all, defendants are “held on
  bail” all the time. But the idea of being held or detained on bail is, in fact, absurd. An
  equivalent statement would be that the accused has been freed and is now at liberty to
  serve time in prison.

  Recognizing the paradox is paramount to fully understanding the importance of bail,
  and the importance of bail cannot be overstated. Broadly defined, the study of bail
  includes examining all aspects of the non-sentence release and detention decision
                                         1
  during a criminal defendant’s case. Internationally, bail is the subject of numerous
  treaties, conventions, rules, and standards. In America, bail has been the focus of two
  significant generations of reform in the 20th century, and appears now to be firmly in
  the middle of a third. Historically speaking, bail has existed since Roman times and has
  been the catalyst for such important criminal jurisprudential innovations as preliminary
  hearings, habeas corpus, the notion of “sufficient sureties,” and, of course, prohibitions
  on pretrial detention without charge and on “excessive” bail as foundational to our core
  constitutional rights. Legally, decisions at bail trigger numerous foundational principles,
  including due process, the presumption of innocence, equal protection, the right to
  counsel, and other key elements of federal and state law. In the realm of criminal justice
  social science research, bail is a continual source of a rich literature, which, in turn, helps
  criminal justice officials as well as the society at large to decide the most effective
  manner in which to administer the release and detention decision. And finally, the sheer


  1A broad definition of the study of criminal bail would thus appropriately include, and has in the
  past included, discussion of issues occasionally believed to be outside of the bail process, such
  as the use of citations in order to avoid arrest altogether or pretrial diversion as a dispositional
  alternative to the typical pretrial release or detention/trial/adjudication procedure. A broad
  definition would certainly include discussions of post-conviction bail, but because of
  fundamental differences between pretrial defendants and those who have been convicted, that
  subject is beyond the scope of this paper. For purposes of this paper, “bail” will refer to the
  pretrial process.
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  volume and resulting outcomes of the decisions themselves – decisions affecting over
  12 million arrestees per year – further attest to the importance of bail as a topic that
  can represent either justice or injustice on a grand scale.



                                Getting Started – What is Bail?
                                        What is Bond?

         Later in this paper we will see how the history, the law, the social science research, and
         the national best practice standards combine to help us understand the proper
         definitions of terms and phrases used in the pretrial field. For now, however, the reader
         should note that the terms “bail” and “bond” are used differently across America, and
         often inaccurately when held up to history and the law. In the 1995 edition to his
         Dictionary of Modern Legal Usage, Bryan Garner described the word “bail” as a
         “chameleon-hued” legal term, with strikingly different meanings depending on its
         overall use as a noun or a verb. And indeed, depending on the source, one will see “bail”
         defined variously as money, as a person, as a particular type of bail bond, and as a
         process of release. Occasionally, certain definitions will conflict with other definitions or
         word usage even within the same source. Accordingly, to reflect an appropriate legal
         and historical definition, the term “bail” will be used in this paper to describe a process
         of releasing a defendant from jail or other governmental custody with conditions set to
         provide reasonable assurance of court appearance or public safety.

         The term “bond” describes an obligation or a promise, and so the term “bail bond” is
         used to describe the agreement between a defendant and the court, or between the
         defendant, a surety (commercial or noncommercial), and the court that sets out the
         details of the agreement. There are many types of bail bonds – secured and unsecured,
         with or without sureties, and with or without other conditions – that fall under this
         particular definition. Later we will also see how defining types of bonds primarily based
         on their use of money in the process (such as a “cash” bond or a “personal recognizance
         bond”) is misleading and inaccurate.

         This paper occasionally mentions the terms “money bail,” and the “traditional money
         bail system.” “Money bail” is typically used as a shorthand way to describe the bail
         process or a bail bond using secured financial conditions (which necessarily includes
         money that must be paid up-front prior to release). The two central issues concerning
         money bail are: (1) its tendency to cause unnecessary incarceration of defendants who
         cannot afford to pay secured financial conditions either immediately or even after some
         period of time; and (2) its tendency to allow for, and sometimes foster, the release of
         high-risk defendants, who should more appropriately be detained without bail.

         The “traditional money bail system” typically describes the predominant American
         system (since about 1900) of primarily using secured financial conditions on bonds
         administered through commercial sureties. More broadly, however, it means any
         system of the administration of bail that is over-reliant on money, typically when
         compared to the American Bar Association’s National Standards on Pretrial Release.
         Some of its hallmarks include monetary bail bond schedules, overuse of secured bonds,
         a reliance on commercial sureties (for-profit bail bondsmen), financial conditions set to
         protect the public from future criminal conduct, and financial conditions set without


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            consideration of the defendant’s ability to pay, or without consideration of non-financial
            conditions or other less-restrictive conditions that would likely reduce risk.

            Sources and Resources: Black’s Law Dictionary (9th ed. 2009); Bryan A. Garner, A
                                                                            nd
            Dictionary of Modern Legal Usage (Oxford Univ. Press, 2 ed. 1995); Timothy R.
            Schnacke, Michael R. Jones, Claire M.B. Brooker, Glossary of Terms and Phrases Relating
            to Bail and the Pretrial Release or Detention Decision (PJI 2011).




  The importance of bail foreshadows the significant problems that can arise when the
  topic is not fully understood. Those problems, in turn, amplify the paradox. A country
  founded upon liberty, America leads the world in pretrial detention at three times the
  world average. A country premised on equal justice, America tolerates its judges often
  conditioning pretrial freedom based on defendant wealth – or at least on the ability to
  raise money – versus important and constitutionally valid factors such as the risk to
  public and victim safety. A country bound by the notion that liberty not be denied
  without due process of law, America tolerates its judges often ordering de-facto pretrial
  detention through brief and perfunctory bail hearings culminating with the casual
  utterance of an arbitrary and often irrational amount of money. A country in which the
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  presumption of innocence is “axiomatic and elementary” to its administration of
                                                         3
  criminal justice and foundational to the right to bail, America, instead, often projects a
  presumption of guilt. These issues are exacerbated by the fact that the type of pretrial
  justice a person gets in this country is also determined, in large part, on where he or she
  is, with some jurisdictions endeavoring to follow legal and evidence-based pretrial
  practices but with others woefully behind. In short, the administration of bail in America
  is unfair and unsafe, and the primary cause for that condition appears simply to be: (1) a
  lack of bail education that helps to illuminate solutions to a number of well-known bail
  problems; and (2) a lack of the political will to change the status quo.



            “It is said that no one truly knows a nation until one has been inside its
            jails. A nation should not be judged by how it treats its highest citizens,
            but its lowest ones.”

                                                                          Nelson Mandela, 1995



  Fortunately, better than any other time in history, we have now identified, and in many
  cases have actually illustrated through implementation, solutions to the most vexing
  problems at bail. But this knowledge is not uniform. Moreover, even where the

  2
      Coffin v. United States, 156 U.S. 432, 453 (1895).
  3
      See Stack v. Boyle, 342 U.S. 1, 4 (1951).
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  knowledge exists, we find that jurisdictions are in varying stages of fully understanding
  the history of bail, legal foundations of bail, national best practice recommendations,
  terms and phrases used at bail, and legal and evidence-based practices that fully
  implement the fair and transparent administration of pretrial release and detention.
  Pretrial justice requires that those seeking it be consistent with both their vision and
  with the concept of pretrial best practices, and this document is designed to help
  further that goal. It can be used as a resource guide, giving readers a basic
  understanding of the key areas of bail and the criminal pretrial process and then listing
  key documents and resources necessary to adopt a uniform working knowledge of legal
  and evidence-based practices in the field.

  Hopefully, however, this document will serve as more than just a paper providing mere
  background information, for it is designed, instead, to also provide the intellectual
  framework to finally achieve pretrial justice in America. As mentioned previously, in this
  country we have undertaken two generations of pretrial reform, and we are currently in
  a third. The lessons we have learned from the first two generations are monumental,
  but we have not fully implemented them, leading to the need for some “grand unifying
  theory” to explore how this third generation can be our last. In my opinion, that theory
  comes from a solid consensus understanding of the fundamentals of bail, why they are
  important, and how they work together toward an idea of pretrial justice that all
  Americans can embrace.

  The paper is made up of seven chapters designed to help jurisdictions across America to
  reach consensus on a path to pretrial justice. In the first chapter, we will briefly explore
  the need for pretrial improvements as well as the reasons behind the current generation
  of reform. In the second chapter, we will examine the evolution of bail through history,
  with particular emphasis on why the knowledge of certain historical themes is essential
  to reforming the pretrial process. In the third chapter, we will list and explain
  fundamental legal foundations underpinning the pretrial field. The fourth chapter will
  focus on the evolution of empirical pretrial research, looking primarily at research
  associated with each of the three generations of bail reform in America in the 20th and
  21st centuries.

  The fifth chapter will briefly discuss how the history, law, and research come together in
  the form of national pretrial standards and best practice recommendations. In the sixth
  chapter, we will further discuss how bail’s history, law, research, and best practice
  standards compel us to agree on certain changes to the way we define key terms and
  phrases in the field. In the seventh and final chapter, we will focus on practical
  application – how to begin to apply the concepts contained in each of the previous
  sections to lawfully administer bail based on best practices. Throughout the document,
  through sidebars, the reader will also be introduced to other important but sometimes
  neglected topics relevant to a complete understanding of the basics of bail.

  Direct quotes are footnoted, and other, unattributed statements are either the author’s
  own or can be found in the “additional sources and resources” sections at the end of

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  most chapters. In the interest of space, footnoted sources are not necessarily listed
  again in those end sections, but should be considered equally important resources for
  pretrial practitioners. Throughout the paper, the author occasionally references
  information that is found only in various websites. Those websites are as follows:

  The American Bar Association: http://www.americanbar.org/aba.html;

  The Bureau of Justice Assistance: https://www.bja.gov/;

  The Bureau of Justice Statistics: http://www.bjs.gov/;

  The Carey Group: http://www.thecareygroup.com/;

  The Center for Effective Public Policy: http://cepp.com/;

  The Crime and Justice Institute: http://www.crj.org/cji;

  The Federal Bureau of Investigation Crime Reports: http://www.fbi.gov/about-
  us/cjis/ucr/ucr;
  Human Rights Watch: http://www.hrw.org/;

  Justia: http://www.justia.com/;

  The Justice Management Institute: http://www.jmijustice.org/;

  The Justice Policy Institute: http://www.justicepolicy.org/index.html;

  NACo Pretrial Resources,
  http://www.naco.org/programs/csd/Pages/PretrialJustice.aspx;
  The National Association of Pretrial Services Agencies: http://napsa.org/;

  The National Criminal Justice Reference Service: https://www.ncjrs.gov/;

  The National Institute of Corrections, http://nicic.gov;

  The National Institute of Justice: http://www.nij.gov/Pages/welcome.aspx;

  The Pretrial Justice Institute: http://www.pretrial.org/;

  The Pretrial Services Agency for the District of Columbia, http://www.psa.gov/;

  The United States Census Bureau, http://www.census.gov/;

  The Vera Institute of Justice: http://www.vera.org/;


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  The Washington State Institute for Public Policy: http://www.wsipp.wa.gov/.




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  Chapter 1: Why Do We Need Pretrial Improvements?

  The Importance of Understanding Risk


  Of all the reasons for studying, identifying, and correcting shortcomings with the
  American system of administering bail, two overarching reasons stand out as
  foundational to our notions of freedom and democracy. The first is the concept of risk.
  From the first bail setting in Medieval England to any of a multitude of bail settings
  today, pretrial release and detention has always been concerned with risk, typically
  manifested by the prediction of pretrial misbehavior based on the risk that any
  particular defendant will not show up for court or commit some new crime if released.
  But often missing from our discussions of pretrial risk are the reasons for why we allow
  risk to begin with. After all, pretrial court appearance rates (no failures to appear) and
  public safety rates (no new crimes while on pretrial release) would most certainly hover
  near 100% if we could simply detain 100% of defendants.

  The answer is that we not only allow for risk in criminal justice and bail, we demand it
  from a society that is based on liberty. In his Commentaries on the Laws of England (the
  eighteenth century treatise on the English common law used extensively by the
  American Colonies and our Founding Fathers) Sir William Blackstone wrote, “It is better
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  that ten guilty persons escape than that one innocent suffer,” a seminal statement of
  purposeful risk designed to protect those who are governed against unchecked
  despotism. More specifically related to bail, in 1951, Justice Robert H. Jackson succinctly
  wrote, “Admission to bail always involves a risk . . . a calculated risk which the law takes
                                         5
  as the price of our system of justice.” That system of justice – one of limited
  government powers and of fundamental human rights protected by the Constitution, of
  defendants cloaked with the presumption of innocence, and of increasingly arduous
  evidentiary hurdles designed to ensure that only the guilty suffer punishment at the
  hands of the state – inevitably requires us to embrace risk at bail as fundamental to
  maintaining our democracy. Our notions of equality, freedom, and the rule of law
  demand that we embrace risk, and embracing risk requires us to err on the side of
  release when considering the right to bail, and on “reasonable assurance,” rather than
  complete assurance, when limiting pretrial freedom.

  Despite the fact that risk is necessary, however, many criminal justice leaders lack the
  will to undertake it. To them, a 98% court appearance rate is 2% too low, one crime
  committed by a defendant while on pretrial release is one crime too many, and
  detaining some large percentage of defendants pretrial is an acceptable practice if it


  4
      William Blackstone, Commentaries on the Laws of England, Book 4, ch. 27 (Oxford 1765-1769).
  5
      Stack v. Boyle, 342 U.S. 1, 8 (1951) (Jackson, J., concurring).
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  avoids those relatively small percentage failures. Indeed, the fears associated with even
  the smallest amount of pretrial failure cause those leaders to focus first and almost
  entirely on mitigating perceived risk, which in turn leads to unnecessary pretrial
  detention.

         “All too often our current system permits the unfettered
         release of dangerous defendants while those who pose
         minimal, manageable risk are held in costly jail space.”

                                   Tim Murray, Pretrial Justice Institute, 2011


  But these fears misapprehend the entire concept of bail, which requires us first to
  embrace the risk created by releasing defendants (for the law presumes and very nearly
  demands the release of bailable defendants) and then to seek to mitigate it only to
  reasonable levels. Indeed, while the notion may seem somewhat counterintuitive, in
  this one unique area of the law, everything that we stand for as Americans reminds us
  that when court appearance and public safety rates are high, we must at least consider
  taking the risk of releasing more defendants pretrial. Accordingly, one answer to the
  question of why pretrial improvements are necessary, and the first reason for correcting
  flaws in the current system, is that criminal justice leaders must continually take risks in
  order to uphold fundamental precepts of American justice; unfortunately, however,
  many criminal justice leaders, including those who administer bail today, often fail to
  fully understand that connection and have actually grown risk averse.

  The Importance of Equal Justice

  The second foundational reason for studying and correcting the administration of bail in
  America is epitomized by a quote from Judge Learned Hand uttered during a keynote
  address for the New York City Legal Aid Society in 1951. In his speech, Judge Hand
  stated, “If we are to keep our democracy, there must be one commandment: Thou shalt
                      6
  not ration justice.” Ten years later, the statement was repeated by Attorney General
  Robert Kennedy when discussing the need for bail reform, and it became a foundational
  quote in the so-called “Allen Committee” report, the document from the Attorney
  General’s Committee on Poverty and the Administration of Federal Criminal Justice that
  provided a catalyst for the first National Conference on Bail and Criminal Justice in 1964.
  Judge Hand’s quote became a rallying cry for the first generation of American bail
  reform, and it remains poignant today, for in no other area of criminal procedure do we
  so blatantly restrict allotments of our fundamental legal principles. Like our aversion to

  6
   See The Legal Aid Society website at http://www.legal-
  aid.org/en/las/thoushaltnotrationjustice.aspx.
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  risk, our rationing of justice at bail is something to which we have grown accustomed.
  And yet, if Judge Hand is correct, such rationing means that our very form of
  government is in jeopardy. Accordingly, another answer for why pretrial improvements
  are necessary, and a second reason for correcting flaws in the current system, is that
  allowing justice for some, but not all Americans, chips away at the founding principles of
  our democracy, and yet those who administer bail today have grown content with a
  system in which justice capriciously eludes persons based on their lack of financial
  resources.

  Arguably, it is America’s aversion to risk that has led to its complacency toward rationing
  pretrial justice. That is because bail, and therefore the necessary risk created by release,
  requires an in-or-out, release/no release decision. As we will see later in this paper,
  since at least 1275, bail was meant to be an in-or-out proposition, and only since about
  the mid to late 1800s in America have we created a process that allows judges to
  delegate that decision by merely setting an amount of up-front money. Unfortunately,
  however, setting an amount of money is typically not a release/no release decision;
  indeed, it can often cause both unintended releases and detentions. Setting money,
  instead, creates only the illusion of a decision for when money is a precondition to
  release, the actual release (or, indeed, detention) decision is then made by the
  defendant, the defendant’s family, or perhaps some third party bail bondsman who has
  analyzed the potential for profit. This illusion of a decision, in turn, has masked our
  aversion to risk, for it appears to all that some decision has been made. Moreover, it has
  caused judges across America to be content with the negative outcomes of such a non-
  decision, in which pretrial justice appears arbitrarily rationed out only to those with
  access to money.

  Negative Outcomes Associated with the Traditional Money Bail System


  Those negative outcomes have been well-documented. Despite overall drops in total
  and violent crime rates over the last twenty years, jail incarceration rates remain high –
  so high, in fact, that if we were to jail persons at the 1980 incarceration rate, a rate from
  a time in which crime rates were actually higher than today, our national jail population
  would drop from roughly 750,000 inmates to roughly 250,000 inmates. Moreover, most
  of America’s jail inmates are classified as pretrial defendants, who today account for
  approximately 61% of jail populations nationally (up from approximately 50% in 1996).
  As noted previously, the United States leads the world in numbers of pretrial detainees,
  and detains them at a rate that is three times the world average.




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                            Understanding Your Jail Population
         Knowing who is in your jail as well as fundamental jail population dynamics is often the
         first step toward pretrial justice. Many jurisdictions are simply unaware of who is in the
         jail, how they get into the jail, how they leave the jail, and how long they stay, and yet
         knowing these basic data is crucial to focusing on particular jail populations such as
         pretrial inmates.

         A jail’s population is affected not only by admissions and lengths of stay, but also by the
         discretionary decisionmaking by criminal justice officials who, whether on purpose or
         unwittingly, often determine the first two variables. For example, a local police
         department’s policy of arresting and booking (versus release on citation) more
         defendants than other departments or to ask for unusually high financial conditions on
         warrants will likely increase a jail’s number of admissions and can easily add to its
         overall daily population. As another example, national data has shown that secured
         money at bail causes pretrial detention for some defendants and delayed release for
         others, both increasing the lengths of stay for that population and sometimes creating
         jail crowding. Accordingly, a decision by one judge to order mostly secured (i.e., cash or
         surety) bonds will increase the jail population more than a judge who has settled on
         using less-restrictive means of limiting pretrial freedom while mitigating pretrial risk.

         Experts on jail population analysis thus advise jurisdictions to adopt a systems
         perspective, create the infrastructure to collect and analyze system data, and collect
         and track trend data not only on inmate admissions and lengths of stay, but also on
         criminal justice decisionmaking for policy purposes.

         Sources and Resources: David M. Bennett & Donna Lattin, Jail Capacity Planning Guide:
         A Systems Approach (NIC, Nov. 2009); Cherise Fanno Burdeen, Jail Population
         Management: Elected County Officials’ Guide to Pretrial Services (NACo/BJA/PJI, 2009);
         Mark A. Cunniff, Jail Crowding: Understanding Jail Population Dynamics, (NIC, Jan.
                                                                                      nd
         2002); Robert C. Cushman, Preventing Jail Crowding: A Practical Guide (NIC, 2 ed., May
         2002); Todd D. Minton, Jail Inmates at Midyear- 2012 Statistical Tables, (BJS, 2013 and
         series). Policy Documents Using Jail Population Analysis: Jean Chung, Baltimore Behind
         Bars, How to Reduce the Jail Population, Save Money and Improve Public Safety (Justice
         Policy Institute, Jun. 2010); Marie VanNostrand, New Jersey Jail Population Analysis:
         Identifying Opportunities to Safely and Responsibly Reduce the Jail Population
         (Luminosity/Drug Policy Alliance, Mar. 2013).




  These trends are best explained by the justice system’s increasing use of secured
  financial conditions on a population that appears less and less able to afford them. In
  2013, the Census Bureau announced that the poverty rate in America was 15%, about
  one in every seven persons and higher than in 2007, which was just before the most
  recent recession. Nevertheless, according to the Bureau of Justice Statistics, the
  percentage of cases for which courts have required felony defendants to post money in
  order to obtain release has increased approximately 65% from 1990 to 2009 (from 37%
  to 61% of cases overall, mostly from the large increase in use of surety bonds), and the
  amounts of those financial conditions have steadily risen over the same period.



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  Unnecessary Pretrial Detention


  The problem highlighted by these data comes from the fact that secured financial
  conditions at bail cause unnecessary pretrial detention. In a recent and rigorous study of
  2,000 Colorado cases comparing the effects between defendants ordered to be released
  on secured financial conditions (requiring either money or property to be paid in
  advance of release) and those ordered released on unsecured financial conditions
  (requiring the payment of either money or property only if the defendant failed to
  appear and not as a precondition to release), defendants with unsecured financial
  conditions were released in “statistically significantly higher” numbers no matter how
                                    7
  high or low their individual risk. Essentially, defendants ordered to be released but
  forced to pay secured financial conditions: (1) took longer to get out of jail (presumably
  for the time needed to gather the necessary money or to find willing sureties); and (2) in
  many cases did not get out at all. In short, using secured bonds leads to the detention of
  bailable defendants by delaying or preventing pretrial release. These findings are
  consistent with comparable national data; indeed, the federal government has
  estimated the percentage of felony defendants detained for the duration of their
  pretrial period nationally to be approximately 38%, and the percentage of those
  defendants detained simply due to the lack of money to be approximately 90% of that
  number.

  There are numerous reasons to conclude that anytime a bailable defendant is detained
  for lack of money (rather than detained because of his or her high risk for pretrial
  misbehavior), that detention is unnecessary. First, secured money at bail is the most
  restrictive condition of release – it is typically the only precondition to release itself –
  and, in most instances, other less-restrictive alternatives are available to respond to
  pretrial risk without the additional financial condition. Indeed, starting in the 1960s,
  researchers have demonstrated that courts can use alternatives to release on money
  bonds that have acceptable outcomes concerning risk to public safety and court
  appearance. Second, the money itself cannot serve as motivation for anything until it is
  actually posted. Until then, the money merely detains, and does so unequally among
  defendants resulting in the unnecessary detention of releasable inmates. This problem
  is exacerbated by the fact that the financial condition of a bail bond is typically arbitrary;
  even when judges are capable of expressing reasons for a particular amount, there is
  often no rational explanation for why a second amount, either lower or higher, might
  not arguably serve the same purposes. Third, money set with a purpose to detain is
  likely unlawful under numerous theories of law, and is also unnecessary given the
  Supreme Court’s approval of a lawful detention scheme that uses no money
  whatsoever. Financial conditions of release are indicators of decisions to release, not to
  detain; accordingly, any resulting detention due to money bonds used outside of a

  7
   Michael R. Jones, Unsecured Bonds: The As Effective and Most Efficient Pretrial Release Option,
  12 (PJI 2013).
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  lawful detention process makes that money-based detention unnecessary or potentially
  unlawful. Fourth, no study has ever shown that money can protect the public. Indeed, in
  virtually every American jurisdiction, financial conditions of bail bonds cannot even be
  forfeited for new crimes or other breaches in public safety, making the setting of a
  money bond for public safety irrational. Given that irrationality, any pretrial detention
  resulting from that practice is per se unnecessary.

  Fifth, ever since 1968, when the American Bar Association openly questioned the basic
  premise that money serves as a motivator for court appearance, no valid study has been
  conducted to refute that uncertainty. Instead, the best research to date suggests what
  criminal justice leaders have long suspected: secured money does not matter when it
  comes to either public safety or court appearance, but it is directly related to pretrial
  detention. This hypothesis was supported most recently by the Colorado study,
  mentioned above, which compared outcomes for defendants released on secured
  bonds with outcomes for defendants released on unsecured bonds. In 2,000 cases of
  defendants from all risk categories, this research showed that while having to pay the
  money up-front led to statistically significantly higher detention rates, whether judges
  used secured or unsecured money bonds did not lead to any differences in court
  appearance or public safety rates.

  A sixth reason for concluding that bailable defendants held on secured financial
  conditions constitutes unnecessary pretrial detention is that we know of at least one
  jurisdiction, Washington D.C., that uses virtually no money at all in its bail setting
  process. Instead, using an “in or out,” “bail/no bail” scheme of the kind contemplated by
  American law, the District of Columbia releases 85-88% of all defendants – detaining the
  rest through rational, fair, and transparent detention procedures – and yet maintains
  high court appearance (no FTA) and public safety (no new crime) rates. Moreover, that
  jurisdiction does so day after day, with all types of defendants charged with all types of
  crimes, using almost no money whatsoever.

  Unnecessary pretrial detention is also suggested whenever we look at the adjudicatory
  outcomes of defendants’ cases to see if they are the sorts of individuals who must be
  absolutely separated from society. When we look at those outcomes, however, we see
  that even though we foster a culture of pretrial detention, very few persons arrested or
  admitted to jail are ultimately sentenced to significant incarceration post-trial. Indeed,
  only a small fraction of jail inmates nationally (from 3-5%, depending on the source) are
  sent to prison. In one statewide study, only 14% of those defendants detained for the
  entire duration of their case were sentenced to prison. Thirteen percent had their cases
  dismissed (or the cases were never filed), and 37% were sentenced to noncustodial
  sanctions, including probation, community corrections, or home detention. Accordingly,
  over 50% of those pretrial detainees were released into the community once their cases
  were done. In another study, more than 25% of felony pretrial detainees were acquitted
  or had their cases dismissed, and approximately 20% were ultimately sentenced to a
  noncustodial sentence. Clearly, another disturbing paradox at bail involves the dynamic


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  of releasing presumptively innocent defendants back into the community only after they
  have either pleaded or been found guilty of a particular crime.

  In addition, and as noted by the Pretrial Justice Institute (PJI), these statistics vary
  greatly across the United States, and that variation itself hints at the need for reform.
  According to PJI:

           Looking at the counties individually shows the great disparity in pretrial
           release practices and outcomes. In 2006, pretrial release rates ranged
           from a low of 31% in one county to a high of 83% in another. Non-financial
           release rates ranged from lows of zero in one county, 3% in another, and
                                           8
           5% in a third to a high of 68%.




  8
      Important Data on Pretrial Justice (PJI 2011).
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                           Different Laws/Different Practices
       Bail laws are different among the states, often due to the extent to which those states
       have fully embraced the principles and practices evolving out of the two previous
       generations of bail reform in the 1960s and 1980s. Even in states with similar laws,
       however, pretrial practices can nonetheless vary widely. Indeed, local practices can vary
       among jurisdictions under the same state laws, and, given the great discretion often
       afforded at bail, even among judges within individual jurisdictions. Disparity beyond that
       needed to individualize bail settings can rightfully cause concerns over equal justice,
       through which Americans can be reasonably assured that the laws will not have widely
       varying application depending on their particular geographical location, court, or judge.

       Normally, state and federal constitutional law would provide adequate benchmarks to
       maintain equal justice, but with bail we have an unfortunate scarcity of language and
       opinions from which to gauge particular practices or even the laws from which those
       practices derive. Fortunately, however, we have best practice standards on pretrial
       release and detention that take fundamental legal principles and marry them with
       research to make recommendations concerning virtually every issue surrounding
       pretrial justice. In this current generation of pretrial reform, we are realizing that both
       bail practices and the laws themselves – from court rules to constitutions – must be held
       up to best practices and the legal principles underlying them to create bail schemes that
       are fair and applied somewhat equally among the states.

       The American Bar Association’s (ABA’s) Criminal Justice Standards on Pretrial Release
       can provide the benchmarks that we do not readily find in bail law. When followed,
       those Standards provide the framework from which pretrial practices or even laws can
       be measured, implemented, or improved. For example, the use of monetary bail
       schedules (a document assigning dollar amounts to particular charges regardless of the
       characteristics of any individual defendant) are illegal in some states but actually
       required by law in others. There is very little law on the subject, but the ABA standards
       (using fundamental legal principles, such as the need for individuality in bail setting as
       articulated by the United States Supreme Court), research (indicating that release or
       detention based on individual risk is a superior practice to any mechanism based solely
       on charge and wealth), and logic (the standards call schedules “arbitrary and inflexible”)
       reject the use of monetary bail schedules, thus suggesting that any state that either
       mandates or permits their use should consider statutory amendment.

       Sources and Resources: American Bar Association Standards for Criminal Justice –
                          rd
       Pretrial Release (3 ed. 2007).




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  Pretrial detention, whether for a few days or for the duration of the case, imposes
  certain costs, and unnecessary pretrial detention does so wastefully. In a purely
  monetary sense, these costs can be estimated, such as the comparative cost of
  incarceration (from $50 to as much as $150 per day) versus community supervision
  (from as low as $3 to $5 per day). Given the volume of defendants and their varying
  lengths of stays, individual jails can incur costs of millions of dollars per year simply to
  house lower risk defendants who are also presumed innocent by the law. Indeed, the
  United States Department of Justice estimates that keeping the pretrial population
  behind bars costs American taxpayers roughly 9 billion dollars per year. Jails that are
  crowded can create an even more costly scenario for taxpayers, as new jail construction
  can easily reach $75,000 to $100,000 per inmate bed. Added to these costs are dollars
  associated with lost wages, economic mobility (including intergenerational effects),
  possible welfare costs for defendant families, and a variety of social costs, including
  denying the defendant the ability to assist with his or her own defense, the possibility of
  imposing punishment prior to conviction, and eroding justice system credibility due to
  its complacency with a wealth-based system of pretrial freedom.

  Perhaps more disturbing, though, is research suggesting that pretrial detention alone,
  all other things being equal, leads to harsher treatment and outcomes than pretrial
  release. Relatively recent research from both the Bureau of Justice Statistics and the
  New York City Criminal Justice Agency continues to confirm studies conducted over the
  last 60 years demonstrating that, controlling for all other factors, defendants detained
  pretrial are convicted and plead guilty more often, and are sentenced to prison and
  receive harsher sentences than those who are released. Moreover, as recently as
  November 2013, the Laura and John Arnold Foundation released a study of over
  150,000 defendants finding that – all other things being equal – defendants detained
  pretrial were over four times more likely to be sentenced to jail (and with longer
  sentences) and three times more likely to be sentenced to prison (again with longer
                                                         9
  sentences) than defendants who were not detained.

  While detention for a defendant’s entire pretrial period has decades of documented
  negative effects, the Arnold Foundation research is also beginning to demonstrate that
  even small amounts of pretrial detention – perhaps even the few days necessary to
  secure funds to pay a cash bond or fee for a surety bond – have negative effects on
                                                                              10
  defendants and actually makes them more at risk for pretrial misbehavior. Looking at
  the same 150,000 case data set, the Arnold researchers found that low- and moderate-
  risk defendants held only 2 to 3 days were more likely to commit crimes and fail to
  appear for court before trial than similar defendants held 24 hours or less. As the time


  9
    See Christopher T. Lowenkamp, Marie VanNostrand, & Alexander Holsinger, Investigating the
  Impact of Pretrial Detention on Sentencing Outcomes, at 10-11 (Laura & John Arnold Found.
  2013).
  10
     See Christopher T. Lowenkamp, Marie VanNostrand, & Alexander Holsinger, The Hidden Costs
  of Pretrial Detention (Laura & John Arnold Found. 2013).
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  in jail increased, the researchers found, the likelihood of defendant misbehavior also
  increased. The study also found similar correlations between pretrial detention and
  long-term recidivism, especially for lower risk defendants. In a field of paradoxes, the
  idea that a judge setting a condition of bail intending to protect public safety might be
  unwittingly increasing the danger to the public – both short and long-term – is cause for
  radically rethinking the way we administer bail.

  Other Areas in Need of Pretrial Reform


  Unnecessary pretrial detention is a deplorable byproduct of the traditional money bail
  system, but it is not the only part of that system in need of significant reform. In many
  states, the overreliance on money at bail takes the place of a transparent and due-
  process-laden detention scheme based on risk, which would allow for the detention of
  high-risk defendants with no bail. Indeed, the traditional money bail system fosters
  processes that allow certain high-risk defendants to effectively purchase their freedom,
  often without being assessed for their pretrial risk and often without supervision. These
  processes include using bail schedules (through which defendants are released by
  paying an arbitrary money amount based on charge alone), a practice of dubious legal
  validity and counter to any notions of public safety. They include using bail bondsmen,
  who operate under a business model designed to maximize profit based on getting
  defendants back to court but with no regard for public safety. And they include setting
  financial conditions to help protect the public, a practice that is both legally and
  empirically flawed. In short, the use of money at bail at the expense of risk-based best
  practices tends to create the two main reasons cited for the need for pretrial reform: (1)
  it needlessly and unfairly keeps lower risk defendants in jail, disproportionately affecting
  poor and minority defendants and at a high cost to taxpayers; and (2) it too often allows
  higher risk defendants out of jail at the expense of public safety and integrity of the
  justice system. Both of these reasons were illustrated by the Colorado study, cited
  above, which documented that when making bail decisions without the benefit of an
  empirical risk instrument, judges often set financial conditions that not only kept lower
  risk persons in jail, but also frequently allowed the highest risk defendants out.

  While the effect of money at bail is often cited as a reason for pretrial reform, research
  over the last 25 years has also illuminated other issues ripe for pretrial justice
  improvements. They include the need for (1) bail education among all criminal justice
  system actors; (2) data-driven policies and infrastructure to administer bail; (3)
  improvements to procedures for release through citations and summonses; (4) better
  prosecutorial and defense attorney involvement at the front-end of the system; (5)
  empirically created pretrial risk assessment instruments; (6) traditional (and
  untraditional) pretrial services functions in jurisdictions without those functions; (7)
  improvements to the timing and nature of first appearances; (8) judicial release and
  detention decision-making to follow best practices; (9) systems to allocate resources to
  better effectuate best practices; and (10) changes in county ordinances, state statutes,

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  and even state constitutions to embrace and facilitate pretrial justice and best practices
  at bail.

         “What has been made clear . . . is that our present attitudes toward bail
         are not only cruel, but really completely illogical. . . . ‘[O]nly one factor
         determines whether a defendant stays in jail before he comes to trial
         [and] that factor is, simply, money.”

                                            Attorney General Robert Kennedy, 1962

         Many pretrial inmates “are forced to remain in custody . . . because they
         simply cannot afford to post the bail required – very often, just a few
         hundred dollars.”

                                                 Attorney General Eric Holder, 2011



  The Third Generation of Bail/Pretrial Reform


  The traditional money bail system that has existed in America since the turn of the 20th
  century is deficient legally, economically, and socially, and virtually every neutral and
  objective bail study conducted over the last 90 years has called for its reform. Indeed,
  over the last century, America has undergone two generations of bail reform, but those
  generations have not sufficed to fully achieve what we know today constitutes pretrial
  justice. Nevertheless, we are entering a new generation of pretrial reform with the same
  three hallmarks seen in previous generations.

  First, like previous generations, we now have an extensive body of research literature –
  indeed, we have more than previous generations – pointing uniformly in a single
  direction toward best practices at bail and toward improvements over the status quo.
  Second, we have the necessary meeting of minds of an impressive number of national
  organizations – from police chiefs and sheriffs, to county administrators and judges –
  embracing the research and calling for data-driven pretrial improvements. Third, and
  finally, we are now seeing jurisdictions actually changing their laws, policies, and
  practices to reflect best practice recommendations for improvements. Fortunately,
  through this third generation of pretrial reform, we already know the answers to most
  of the pressing issues at bail. We know what changes must be made to state laws, and
  we know how to follow the law and the research to create bail schemes in which pretrial
  practices are rational, fair, and transparent.

  A deeper understanding of the foundations of bail makes the need for pretrial
  improvements even more apparent. The next three parts of this paper are designed to


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  summarize the evolution and importance of three of the most important foundational
  aspects of bail – the history, the law, and the research.

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  Chapter 2: The History of Bail

  According to the American Historical Association, studying history is crucial to helping us
  understand ourselves and others in the world around us. There are countless quotes on
  the importance of studying history from which to draw, but perhaps most relevant to
  bail is one from philosopher Soren Kierkegaard, who reportedly said, “Life must be lived
  forward, but it can only be understood backward.” Indeed, much of bail today is
  complex and confusing, and the only way to truly understand it is to view it through a
  historical lens.

  The Importance of Knowing Bail’s History


  Understanding the history of bail is not simply an academic exercise. When the United
  States Supreme Court equated the right to bail to a “right to release before trial,” and
  likened the modern practice of bail with the “ancient practice of securing the oaths of
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  responsible persons to stand as sureties for the accused,” the Court was explaining
  the law by drawing upon notions discernible only through knowledge of history. When
  the commercial bail insurance companies argue that pretrial services programs have
  “strayed” beyond their original purpose, their argument is not fully understood without
  knowledge of 20th century bail, and especially the improvements gained from the first
  generation of bail reform in the 1960s. Some state appellate courts have relied on
  sometimes detailed accounts of the history of bail in order to decide cases related to
  release under “sufficient sureties,” a term fully known only through the lens of history.

             “This difference [between the U.S. and the Minnesota Constitution] is
             critical to our analysis and to fully understand this critical difference,
             some knowledge of the history of bail is necessary. Therefore, it is
             important to examine the origin of bail and its development in Anglo-
             American jurisprudence.”

                                             State v. Brooks, 604 N.W.2d 345 (Minn. 2000)



  In short, knowledge of the history of bail is necessary to pretrial reform, and therefore it
  is crucial that this history be shared. Indeed, the history of bail is the starting point for
  understanding all of pretrial justice, for that history has shaped our laws, guided our
  research, helped to mold our best practice standards, and forced changes to our core
  definitions of terms and phrases. Fundamentally, though, the history of bail answers
  two pressing questions surrounding pretrial justice: (1) given all that we know about the

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       Stack v. Boyle, 342 U.S. 1, 4-5 (1951).
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  deleterious effects of money at bail, how did America, as opposed to the rest of the
  world, come to rely upon money so completely?; and (2) does history suggest solutions
  to this dilemma, which might lead to American pretrial justice?



                                 Civil Rights, Poverty, and Bail
         Anyone who has read the speeches of Robert F. Kennedy while he was Attorney General
         knows that civil rights, poverty, and bail were three key issues he wished to address.
         Addressing them together, as he often did, was no accident, as the three topics were,
         and continue to be, intimately related.

         In 1961, philanthropist Louis Schweitzer and magazine editor Herbert Sturz took their
         concerns over the administration of bail in New York City (a system “that granted liberty
         based on income”) to Robert Kennedy and Daniel Freed, Department of Justice liaison to
         the newly created Committee on Poverty and the Administration of Federal Criminal
         Justice, known as the “Allen Committee.” Schweitzer’s and Sturz’s efforts ultimately led
         to the creation of the Vera Foundation (now the Vera Institute of Justice), whose
         pioneering work on the Manhattan Bail Project heavily influenced the first generation of
         bail reform by finding effective alternatives to the commercial bail system. Freed, in
         turn, took the Vera work and incorporated it into an entire chapter of the Allen
         Committee’s report, leading to the first National Conference on Bail and Criminal Justice
         in 1964.

         At the same time that these bail and poverty reformers were working to change
         American notions of equal justice, civil rights activists were taking on a traditionally
         difficult hurdle for Southern blacks – the lack of money to bail themselves and others
         out of jail – and using it to their advantage. Through the “jail, no bail” policy, activists
         refused to pay bail or fines after being arrested for sit-ins, opting instead to have the
         government incarcerate them, and sometimes to force them to work hard labor, to
         bring more attention to their cause.

         The link between civil rights, poverty, and bail was probably inevitable, and Kennedy set
         out to rectify overlapping injustices seen in all three areas. But despite promising
         improvements encompassed in the war on poverty, the civil rights movement, and the
         first generation of bail reform in the 1960s, we remain unfortunately tolerant of a bail
         process inherently biased against the poor and disproportionately affecting persons of
         color. Studies continue to demonstrate that bail amounts are empirically related to
         increased (and typically needless) pretrial detention, and other studies are equally
         consistent in demonstrating racial disparity in the application of bail and detention.

         Fortunately, however, just like those persons pursuing civil rights and equal justice in
         the 20th century, the current generation of pretrial reform is fueled by committed
         individuals urging cultural changes to a system manifested by disparate state laws,
         unfair practices, and irrational policies that negatively affect the basic human rights of
         the most vulnerable among us. The commitment of those individuals, stemming from
         the success of past reformers, remains the catalyst for pretrial justice across the nation.

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         of Professor Cynthia Jones).




  Origins of Bail


  While bail can be traced to ancient Rome, our traditional American understanding of
  bail derives primarily from English roots. When the Germanic tribes the Angles, the
  Saxons, and the Jutes migrated to Britain after the fall of Rome in the fifth century, they
  brought with them the blood feud as the primary means of settling disputes. Whenever
  one person wronged another, the families of the accused and the victim would often
  pursue a private war until all persons in one or both of the families were killed. This
  form of “justice,” however, was brutal and costly, and so these tribes quickly settled on
  a different legal system based on compensation (first with goods and later with money)
  to settle wrongs. This compensation, in turn, was based on the concept of the
  “wergeld,” meaning “man price” or “man payment” and sometimes more generally
  called a “bot,” which was a value placed on every person (and apparently on every
  person’s property) according to social rank. Historians note the existence of detailed
  tariffs assigning full wergeld amounts to be paid for killing persons of various ranks as
  well as partial amounts payable for injuries, such as loss of limbs or other wrongs. As a
  replacement to the blood feud between families, the wergeld system was also initially
  based on concepts of kinship and private justice, which meant that wrongs were still
  settled between families, unlike today, where crimes are considered to be wrongs
  against all people or the state.

  With the wergeld system as a backdrop, historians agree on what was likely a
  prototypical bail setting that we now recognize as the ancestor to America’s current
  system of release. Author Hermine Meyer described that original bail process as follows:

         Since the [wergeld] sums involved were considerable and could rarely be
         paid at once, the offender, through his family, offered sureties, or
         wereborh, for the payment of the wergeld. If accepted, the injured party
         met with the offender and his surety. The offender gave a wadia, a wed,
         such as a stick, as a symbol or pledging or an indication of the assumption
         of responsibility. The creditor then gave it to the surety, indicating that
         he recognized the surety as the trustee for the debt. He thereby
         relinquished his right to use force against the debtor. The debtor’s pledge
         constituted a pledging of person and property. Instead of finding himself




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          in the hands of the creditor, the debtor found himself, up to the date
          when payment fell due, in the hands of the surety. 12



  This is, essentially, the “ancient practice of securing the oaths” referred to by the
  Supreme Court in Stack v. Boyle, and it has certain fundamental properties that are
  important to note. First, the surety (also known as the “pledge” or the “bail”) was a
  person, and thus the system of release became known as the “personal surety system.”
  Second, the surety was responsible for making sure the accused paid the wergeld to
  avoid a feud, and he did so by agreeing in early years to stand in completely for the
  accused upon default of his obligations (“body for body,” it was reported, meaning that
  the surety might also suffer some physical punishment upon default), and in later years
  to at least pay the wergeld himself in the event of default. Thus, the personal surety
  system was based on the use of recognizances, which were described by Blackstone as
  obligations or debts that would be voided upon performance of specified acts. Though
  not completely the same historically, they are essentially what we might now call
  unsecured bonds using co-signors, with nobody required to pay any money up-front,
  and with the security on any particular bond coming from the sureties, or persons, who
  were willing to take on the role and acknowledge the amount potentially owed upon
  default.

  Third, the surety was not allowed to be repaid or otherwise profit from this
  arrangement. As noted above, the wadia, or the symbol of the suretyship arrangement,
  was typically a stick or what historians have described as some item of trifling value. In
  fact, as discussed later, even reimbursing or merely promising to reimburse a surety
  upon default – a legal concept known as indemnification – was declared unlawful in
  both England and America and remained so until the 1800s.

  Fourth, the surety’s responsibility over the accused was great and was based on a
  theory of continued custody, with the sureties often being called “private jailers” or
                                               13
  “jailers of [the accused’s] own choosing.” Indeed, it was this great responsibility, likely
  coupled with the prohibition on reimbursement upon default and on profiting from the
  system, which led authorities to bestow great powers to sureties as jailers to produce
  the accused – powers that today we often associate with those possessed by bounty
  hunters under the common law. Fifth, the purpose of bail in this earliest of examples
  was to avoid a blood feud between families. As we will see, that purpose would change
  only once in later history. Sixth and finally, the rationale behind this original bail setting
  made sense because the amount of the payment upon default was identical to the
  amount of the punishment. Accordingly, because the amount of the promised payment

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     Hermine Herta Meyer, Constitutionality of Pretrial Detention, 60 Geo. L. J. 1139, 1146 (1971-
  1972) (citing and summarizing Elsa de Haas, Antiquities of Bail: Origin and Historical
  Development in Criminal Cases to the Year 1275, 3-15 (NY, AMS Press, 1966).
  13
     Reese v. United States, 76 U.S. (9 Wall.) 13, 21 (1869).
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  was identical to the wergeld, for centuries there was never any questioning whether the
  use of that promised amount for bail was arbitrary, excessive, or otherwise unfair.

  The administration of bail has changed enormously from this original bail setting, and
  these changes in America can be attributed largely to the intersection during the 20th
  century of two historical phenomena. The first was the slow evolution from the personal
  surety system using unsecured financial conditions to a commercial surety system (with
  profit and indemnification) primarily using secured financial conditions. The second was
  the often misunderstood creation and nurturing of a “bail/no bail” or “release/no
  release” dichotomy, which continues to this day.




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  The Evolution to Secured Bonds/Commercial Sureties


  The gradual evolution from a personal surety system using unsecured bonds to the now
  familiar commercial surety system using secured bonds in America began with the
  Norman Invasion. When the Normans arrived in 1066, they soon made changes to the
  entire criminal justice system, which included moving from a private justice system to a
  more public one through three royal initiatives. First, the crown initiated the now-
  familiar idea of crimes against the state by making certain felonies “crimes of royal
  concern.” Second, whereas previously the commencement of a dispute between
  families might start with a private summons based upon sworn certainty, the crown
  initiated the mechanism of the presentment jury, a group of individuals who could
  initiate an arrest upon mere suspicion from third parties. Third, the crown established
  itinerant justices, who would travel from shire to shire to exert royal control over
  defendants committing crimes of royal concern. These three changes ran parallel to the
  creation of jails to hold various arrestees, although the early jails were crude, often
  barbaric, and led to many escapes.

  These changes to the criminal justice process also had a measurable effect on the
  number of cases requiring bail. In particular, the presentment jury process led to more
  arrests than before, and the itinerant justice system led to long delays between arrest
  and trial. Because the jails at the time were not meant to hold so many persons and the
  sheriffs were reluctant to face the severe penalties for allowing escapes, those sheriffs
  began to rely more frequently upon personal sureties, typically responsible (and
  preferably landowning) persons known to the sheriff, who were willing to take control
  of the accused prior to trial. The need for more personal sureties, in turn, was met
  through the growth of the parallel institutions of local government units known as
  tithings and hundreds – a part of the overall development of the frankpledge system, a
  system in which persons were placed in groups to engage in mutual supervision and
  control.

  While there is disagreement on whether bail was an inherent function of frankpledge,
  historians have frequently documented sheriffs using sureties from within the tithings
  and hundreds (and sometimes using the entire group), indicating that that these larger
  non-family entities served as a safety valve so that sheriffs or judicial officials rarely
  lacked for “sufficient” sureties in any particular case. The fundamental point is that in
  this period of English history, sureties were individuals who were willing to take
  responsibility over defendants – for no money and with no expectation of
  indemnification upon default – and the sufficiency of the sureties behind any particular
  release on bail came from finding one or more of these individuals, a process that was
  made exceedingly simpler through the use of the collective, non-family groups.

  All of this meant that the fundamental purpose of bail had changed: whereas the
  purpose of the original bail setting process of providing oaths and pledges was to avoid
  a blood feud between families while the accused met his obligations, the use of more
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  lengthy public processes and jails meant that the purpose of bail would henceforth be to
  provide a mechanism for release. As before, the purpose of conditioning that release by
  requiring sureties was to motivate the accused to face justice – first to pay the debt but
  now to appear for court – and, indeed, court appearance remained the sole purpose for
  limiting pretrial freedom until the 20th century.

  Additional alterations to the criminal process occurred after the Norman Invasion, but
  the two most relevant to this discussion involve changes in the criminal penalties that a
  defendant might face as well as changes in the persons, or sureties, and their associated
  promises at bail. At the risk of being overly simplistic, punishments in Anglo-Saxon
  England could be summed up by saying that if a person was not summarily executed or
  mutilated for his crime (for that was the plight of persons with no legal standing, who
  had been caught in the act, or persons of “ill repute” or long criminal histories, etc.),
  then that person would be expected to make some payment. With the Normans,
  however, everything changed. Slowly doing away with the wergeld payments, the
  Normans introduced first afflictive punishment, in the form of ordeals and duels, and
  later capital and other forms of corporal punishment and prison for virtually all other
  offenses.

  The changes in penalties had a tremendous impact on what we know today as bail.
  Before the Norman Invasion, the surety’s pledge matched the potential monetary
  penalty perfectly. If the wergeld was thirty silver pieces, the surety was expected to pay
  exactly thirty silver pieces upon default of the primary debtor. After the Invasion,
  however, with increasing use of capital punishment, corporal punishment, and prison
  sentences, it became frequently more difficult to assign the amount that ought to be
  pledged, primarily because assigning a monetary equivalent to either corporal
  punishment or imprisonment is largely an arbitrary act. Moreover, the threat of these
  seemingly more severe punishments led to increasing numbers of defendants who
  refused to stay put, which created additional complexity to the bail decision. These
  complexities, however, were not enough to cause society to radically change course
  from its use of the personal surety system. Instead, that change came when both
  England and America began running out of the sureties themselves.

  As noted previously, the personal surety system generally had three elements: (1) a
  reputable person (the surety, sometimes called the “pledge” or the “bail”); (2) this
  person’s willingness to take responsibility for the accused under a private jailer theory
  and with a promise to pay the required financial condition on the back-end – that is,
  only if the defendant forfeited his obligation; and (3) this person’s willingness to take
  the responsibility without any initial remuneration or even the promise of any future
  payment if the accused were to forfeit the financial condition of bail or release. This last
  requirement addressed the concept of indemnification of sureties, which was declared
  unlawful by both England and America as being against the fundamental public policy
  for having sureties take responsibility in the first place. In both England and America,
  courts repeatedly articulated (albeit in various forms) the following rationale when
  declaring surety indemnification unlawful: once a surety was paid or given a promise to
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  be paid the amount that could potentially be forfeited, that surety lost all interest and
  motivation to make sure that the condition of release was performed. Thus, a
  prohibition on indemnifying sureties was a foundational part of the personal surety
  system.

  And indeed, the personal surety system flourished in England and America for centuries,
  virtually ensuring that those deemed bailable were released with “sufficient sureties,”
  which were designed to provide assurance of court appearance. Unfortunately,
  however, in the 1800s both England and America began running out of sureties. There
  are many reasons for this, including the demise of the frankpledge system in England,
  and the expansive frontier and urban areas in America that diluted the personal
  relationships necessary for a personal surety system. Nevertheless, for these and other
  reasons, the demand for personal sureties gradually outgrew supply, ultimately leading
  to many bailable defendants being unnecessarily detained.

  It is at this point in history that England and the United States parted ways in how to
  resolve the dilemma of bailable defendants being detained for lack of sureties. In
  England (and, indeed, in the rest of the world), the laws were amended to allow judges
  to dispense with sureties altogether when justice so required. In America, however,
  courts and legislatures began chipping away at the laws against surety indemnification.
  This transformation differed among the states. In the end, however, across America
  states gradually allowed sureties to demand re-payment upon a defendant’s default and
  ultimately to profit from the bail enterprise itself. By 1898, the first commercial surety
  was reportedly opened for business in America. And by 1912, the United States
  Supreme Court wrote, “The distinction between bail [i.e., common law bail, which
  forbade indemnification] and suretyship is pretty nearly forgotten. The interest to
                                                                                     14
  produce the body of the principal in court is impersonal and wholly pecuniary.”

  Looking at court opinions from the 1800s, we see that the evolution from a personal to
  a commercial surety system (in addition to the states gradually increasing defendants
  ability to self-pay their own financial conditions, a practice that had existed before, but
  that was used only rarely) was done in large part to help release bailable defendants
  who were incarcerated due only to their inability to find willing sureties. However, that
  evolution ultimately virtually assured unnecessary pretrial incarceration because
  bondsmen began charging money up-front (and later requiring collateral) to gain release
  in addition to requiring a promise of indemnification. While America may have
  purposefully moved toward a commercial surety system from a personal surety system
  to help release bailable defendants, perhaps unwittingly, and certainly more
  importantly, it moved to a secured money bail system (requiring money to be paid
  before release is granted) from an unsecured system (promising to pay money only
  upon default of obligations). The result has been an increase in the detention of bailable
  defendants over the last 100 years.


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       Leary v. United States, 224 U.S. 567, 575 (1912).
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  The “Bail/No Bail” Dichotomy


  The second major historical phenomenon involved the creation and nurturing of a
  “bail/no bail” dichotomy in both England and America. Between the Norman Invasion
  and 1275, custom gradually established which offenses were bailable and which were
  not. In 1166, King Henry II bolstered the concept of detention based on English custom
  through the Assize of Clarendon, which established a list of felonies of royal concern and
  allowed detention based on charges customarily considered unbailable. Around 1275,
  however, Parliament and the Crown discovered a number of abuses, including sheriffs
  detaining bailable defendants who refused or could not pay those sheriffs a fee, and
  sheriffs releasing unbailable defendants who were able to pay some fee. In response,
  Parliament enacted the Statute of Westminster in 1275, which hoped to curb abuses by
  establishing criteria governing bailability (largely based on a prediction of the outcome
  of the trial by examining the nature of the charge, the weight of the evidence, and the
  character of the accused) and, while doing so, officially categorized presumptively
  bailable and unbailable offenses.

  Importantly, this statutory enactment began the legal tradition of expressly articulating
  a bail/no bail scheme, in which a right to bail would be given to some, but not
  necessarily to all defendants. Perhaps more important, however, are other elements of
  the Statute that ensured that bailable defendants would be released and unbailable
  defendants would be detained. In 1275, the sheriffs were expressly warned through the
  Statute that to deny the release of bailable defendants or to release unbailable
  defendants was against the law; all defendants were to be either released or detained
  (depending on their category), and without any additional payment to the sheriff. Doing
  otherwise was deemed a criminal act.

         “And if the Sheriff, or any other, let any go at large by Surety, that is not
         replevisable . . . he shall lose his Fee and Office for ever. . . . And if any
         withhold Prisoners replevisable, after that they have offered sufficient
         Surety, he shall pay a grievous Amerciament to the King; and if he take
         any Reward for the Deliverance of such, he shall pay double to the
         Prisoner, and also shall [be in the great mercy of] the King.”

                  Statute of Westminster 3 Edward I. c. 15, quoted in Elsa de Haas,
         Antiquities of Bail, Origin and Historical Development in Criminal Cases to
                                                 the Year 1275 (NY AMS Press 1966).



  Accordingly, in 1275 the right to bail was meant to equal a right to release and the
  denial of a right to bail was meant to equal detention, and, generally speaking, these
  important concepts continued through the history of bail in England. Indeed,
  throughout that history any interference with bailable defendants being released or

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  with unbailable (or those defendants whom society deemed unbailable) defendants
  being lawfully detained, typically led to society recognizing and then correcting that
  abuse. Thus, for example, when Parliament learned that justices were effectively
  detaining bailable defendants through procedural delays, it passed the Habeas Corpus
  Act of 1679, which provided procedures designed to prevent delays prior to bail
  hearings. Likewise, when corrupt justices were allowing the release of unbailable
  defendants, thus causing what many believed to be an increase in crime, it was
  rearticulated in 1554 that unbailable defendants could not be released, and that bail
  decisions be held in open session or by two or more justices sitting together. As another
  example, when justices began setting financial conditions for bailable defendants in
  prohibitively high amounts, the abuse led William and Mary to consent to the English
  Bill of Rights in 1689, which declared, among other things, that “excessive bail ought not
                     15
  to be required.”

  “Bail” and “No Bail” in America


  Both the concept of a “bail/no bail” dichotomy as well as the parallel notions that “bail”
  should equal release and “no bail” should equal detention followed into the American
  Colonies. Generally, those Colonies applied English law verbatim, but differences in
  beliefs about criminal justice, customs, and even crime rates led to more liberal criminal
  penalties and bail laws. For example, in 1641 the Massachusetts Body of Liberties
  created an unequivocal right to bail to all except for persons charged with capital
  offenses, and it also removed a number of crimes from its list of capital offenses. In
  1682, Pennsylvania adopted an even more liberal law, granting bail to all persons except
  when charged with a capital offense “where proof is evident or the presumption great,”
  adding an element of evidentiary fact finding so as to also allow bail even for certain
  capital defendants. This provision became the model for nearly every American
  jurisdiction afterward, virtually assuring that “bail/no bail” schemes would ultimately
  find firm establishment in America.

  Even in the federal system – despite its lack of a right to bail clause in the United States
  Constitution – the Judiciary Act of 1789 established a “bail/no bail,” “release/detain”
  scheme that survived radical expansion in 1984 and that still exists today. Essentially,
  any language articulating that “all persons shall be bailable . . . unless or except” is an
  articulation of a bail/no bail dichotomy. Whether that language is found in a
  constitution or a statute, it is more appropriately expressed as “release (or freedom) or
  detention” because the notion that bailability should lead to release was foundational in
  early American law.




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       English Bill of Rights, 1 W. & M., 2nd Sess., Ch. 2 (1689).
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         “Bail” and “No Bail” in the Federal and District of Columbia
                                   Systems
       Both the federal and the District of Columbia bail statutes are based on “bail/no bail” or
       “release/no release” schemes, which, in turn, are based on legal and evidence-based
       pretrial practices such as those found in the American Bar Association’s Criminal Justice
       Standards on Pretrial Release. Indeed, each statute contains general legislative titles
       describing the process as either “release” or “detention” during the pretrial phase, and
       each starts the bail process by providing judges with four options: (1) release on
       personal recognizance or with an unsecured appearance bond; (2) release on a
       condition or combination of conditions; (3) temporary detention; or (4) full detention.
       Each statute then has provisions describing how each release or detention option
       should function.

       Because they successfully separate bailable from unbailable defendants, thus allowing
       the system to lawfully and transparently detain unbailable defendants with essentially
       none of the conditions associated with release (including secured financial conditions),
       both statutes are also able to include sections forbidding financial conditions that result
       in the preventive detention of the defendant – an abuse seen frequently in states that
       have not fully incorporated notions of a release/no release system.

       The “bail” or “release” sections of both statutes use certain best practice pretrial
       processes, such as presumptions for release on recognizance, using “least restrictive
       conditions” to provide reasonable assurance of public safety and court appearance,
       allowing supervision through pretrial services entities for both public safety and court
       appearance concerns, and prompt review and appeals for release and detention orders.

       The “no bail” or “detention” sections of both statutes are much the same as when the
       United States Supreme Court upheld the federal provisions against facial due process
       and 8th Amendment claims in United States v. Salerno in 1987. The Salerno opinion
       emphasized key elements of the existing federal statute that helped it to overcome
       constitutional challenges by “narrowly focusing” on the issue of pretrial crime.
       Moreover, the Supreme Court wrote, the statute appropriately provided “extensive
       safeguards” to further the accuracy of the judicial determination as well as to ensure
       that detention remained a carefully limited exception to liberty. Those safeguards
       included: (1) detention was limited to only “the most serious of crimes;” (2) the arrestee
       was entitled to a prompt hearing and the maximum length of pretrial detention was
       limited by stringent speedy trial time limitations; (3) detainees were to be housed
       separately from those serving sentences or awaiting appeals; (4) after a finding of
       probable cause, a “fullblown adversary hearing” was held in which the government was
       required to convince a neutral decision maker by clear and convincing evidence that no
       condition or combination of conditions of release would reasonably assure court
       appearance or the safety of the community or any person; (5) detainees had a right to
       counsel, and could testify or present information by proffer and cross-examine
       witnesses who appeared at the hearing; (6) judges were guided by statutorily
       enumerated factors such as the nature of the charge and the characteristics of the
       defendant; (7) judges were to include written findings of fact and a written statement of
       reasons for a decision to detain; and (8) detention decisions were subject to immediate
       appellate review.



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          While advances in pretrial research are beginning to suggest the need for certain
          alterations to the federal and D.C. statutes, both laws are currently considered “model”
          bail laws, and the Summary Report to the National Symposium on Pretrial Justice
          specifically recommends using the federal statute as a structural template to craft
          meaningful and transparent preventive detention provisions.

          Sources and Resources: District of Columbia Code, §§ 23-1301-09, 1321-33; Federal
          Statute, 18 U.S.C. §§ 3141-56; United States v. Salerno, 481 U.S. 739 (1987); National
          Symposium on Pretrial Justice: Summary Report of Proceedings, at 42 (PJI/BJA 2011).




  Indeed, given our country’s foundational principles of liberty and freedom, it is not
  surprising that this parallel notion of bailable defendants actually obtaining release
  followed from England to America. William Blackstone, whose Commentaries on the
  Laws of England influenced our Founding Fathers as well as the entire judicial system
  and legal community, reported that denying the release of a bailable defendant during
  the American colonial period was considered itself an offense. In examining the
  administration of bail in Colonial Pennsylvania, author Paul Lermack reported that few
  defendants had trouble finding sureties, and thus, release.

  This notion is also seen in early expressions of the law derived from court opinions.
  Thus, in the 1891 case of United States v. Barber, the United States Supreme Court
  articulated that in criminal bail, “it is for the interest of the public as well as the accused
  that the latter should not be detained in custody prior to his trial if the government can
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  be assured of his presence at that time.” Four years later, in Hudson v. Parker, the
  Supreme Court wrote that the laws of the United States “have been framed upon the
  theory that [the accused] shall not, until he has been finally adjudged guilty . . . be
                                                                          17
  absolutely compelled to undergo imprisonment or punishment.” Indeed, it was
  Hudson upon which the Supreme

  Court relied in Stack v. Boyle in 1951, when the Court wrote its memorable quote
  equating the right to bail with the right to release and freedom:

          From the passage of the Judiciary Act of 1789, to the present Federal
          Rules of Criminal Procedure, Rule 46 (a)(1), federal law has unequivocally
          provided that a person arrested for a non-capital offense shall be
          admitted to bail. This traditional right to freedom before conviction
          permits the unhampered preparation of a defense, and serves to prevent
          the infliction of punishment prior to conviction. Unless this right to bail
          before trial is preserved, the presumption of innocence, secured only
          after centuries of struggle, would lose its meaning. 18


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     United States v. Barber, 140 U.S. 164, 167 (1891).
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     United States v. Hudson, 156 U.S. 277, 285 (1895).
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     342 U.S. 1, 4 (1951) (internal citations omitted).
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  In his concurring opinion, Justice Jackson elaborated on the Court’s reasoning:

          The practice of admission to bail, as it has evolved in Anglo-American law,
          is not a device for keeping persons in jail upon mere accusation until it is
          found convenient to give them a trial. On the contrary, the spirit of the
          procedure is to enable them to stay out of jail until a trial has found them
          guilty. Without this conditional privilege, even those wrongly accused are
          punished by a period of imprisonment while awaiting trial and are
          handicapped in consulting counsel, searching for evidence and witnesses,
          and preparing a defense. To open a way of escape from this handicap and
          possible injustice, Congress commands allowance of bail for one under
          charge of any offense not punishable by death . . . providing: ‘A person
          arrested for an offense not punishable by death shall be admitted to bail’
          . . . before conviction. 19

  And finally, in perhaps its best known expression of the right to bail, the Supreme Court
  did not explain that merely having one’s bail set, whether that setting resulted in
  release or detention, was at the core of the right. Instead, the Court wrote that “liberty”
                                                                                 20
  – a state necessarily obtained from actual release – is the American “norm.”

  Nevertheless, in the field of pretrial justice we must also recognize the equally
  legitimate consideration of “no bail,” or detention. It is now fairly clear that the federal
  constitution does not guarantee an absolute right to bail, and so it is more appropriate
  to discuss the right as one that exists when it is authorized by a particular constitutional
  or legislative provision. The Court’s opinion in United States v. Salerno is especially
  relevant because it instructs us that when examining a law with no constitutionally-
  based right-to-bail parameters (such as, arguably, the federal law), the legislature may
  enact statutory limits on pretrial freedom (including detention) so long as: (1) those
  limitations are not excessive in relation to the government’s legitimate purposes; (2)
  they do not offend due process (either substantive or procedural); and (3) they do not
  result in a situation where pretrial liberty is not the norm or where detention has not
  been carefully limited as an exception to release.

  It is not necessarily accurate to say that the Court’s opinion in Salerno eroded its opinion
  in Stack, including Stack’s language equating bail with release. Salerno purposefully
  explained Stack and another case, Carlson v. Landon, together to provide cohesion. And
  therefore, while it is true that the federal constitution does not contain an explicit right
  to bail, when that right is granted by the applicable statute (or in the various states’
  constitutions or statutes), it should be regarded as a right to pretrial freedom. The
  Salerno opinion is especially instructive in telling us how to create a fair and transparent


  19
    Id. at 7-8.
  20
    United States v. Salerno, 481 U.S. 739, 755 (1987) (“In our society, liberty is the norm, and
  detention prior to trial or without trial is the carefully limited exception”).
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  “no bail” side of the dichotomy, and further reminds us of a fundamental principle of
  pretrial justice: both bail and no bail are lawful if we do them correctly.

  Liberalizing American bail laws during our country’s colonial period meant that these
  laws did not always include the English “factors” for initially determining bailability, such
  as the seriousness of the offense, the weight of the evidence, and the character of the
  accused. Indeed, by including an examination of the evidence into its constitutional bail
  provision, Pennsylvania did so primarily to allow bailability despite the defendant being
  charged with a capital crime. Nevertheless, the historical factors first articulated in the
  Statute of Westminster survived in America through the judge’s use of these factors to
  determine conditions of bail.

  Thus, technically speaking, bailability in England after 1275 was determined through an
  examination of the charge, the evidence, and the character or criminal history of the
  defendant, and if a defendant was deemed bailable, he or she was required to be
  released. In America, bailability was more freely designated, but judges would still
  typically look at the charge, the evidence, and the character of the defendant to set the
  only limitation on pretrial freedom available at that time – the amount of the financial
  condition. Accordingly, while bailability in America was still meant to mean release, by
  using those factors traditionally used to determine bailability to now set the primary
  condition of bail or release, judges found that those factors sometimes had a
  determining effect on the actual release of bailable defendants. Indeed, when America
  began running out of personal sureties, judges, using factors historically used to
  determine bailability, were finding that these same factors led to unattainable financial
  conditions creating, ironically, a state of unbailability for technically bailable defendants.

         “Bail is a matter of confidence and personal relation. It should not be
         made a matter of contract or commercialism. . . . Why provide for a bail
         piece, intended to promote justice, and then destroy its effect and utility?
         Why open the door to barter freedom from the law for money?”

                    Carr v Davis 64 W. Va. 522, 535 (1908) (Robinson, J. dissenting).



  Intersection of the Two Historical Phenomena


  The history of bail in America in the 20th century represents an intersection of these
  two historical phenomena. Indeed, because it involved requiring defendants to pay
  money up-front as a prerequisite to release, the blossoming of a secured bond scheme
  as administered through a commercial surety system was bound to lead to perceived
  abuses in the bail/no bail dichotomy to such an extent that history would demand some
  correction. Accordingly, within only 20 years of the advent of commercial sureties,
  scholars began to study and critique that for-profit system.

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  In the first wave of research, scholars focused on the inability of bailable defendants to
  obtain release due to secured financial conditions and the abuses in the commercial
  surety industry. The first generation of bail reform, as it is now known, used research
  from the 1920s to the 1960s to find alternatives to the commercial surety system,
  including release on recognizance and nonfinancial conditional release. Its focus was on
  the “bail” side of the dichotomy and how to make sure bailable defendants would
  actually obtain release.

  The second generation of bail reform (from the 1960s to the 1980s) focused on the “no
  bail” side, with a wave of research indicating that there were some defendants whom
  society believed should be detained without bail (rather than by using money) due to
  their perceived dangerousness through documented instances of defendants
  committing crime while released through the bail process. That generation culminated
  with the United States Supreme Court’s approval of a federal detention statute, and
  with states across America changing their constitutions and statutes to reflect not only a
  new constitutional purpose for restricting pretrial liberty – public safety – but also
  detention provisions that followed the Supreme Court’s desired formula.

           Three Generations of Bail Reform: Hallmarks and Highlights
         Since the evolution from a personal surety system using unsecured bonds to primarily a
         commercial surety system using secured bonds, America has seen two generations of
         bail or pretrial reform and is currently in a third. Each generation has certain elements in
         common, such as significant research, a meeting of minds, and changes in laws, policies,
         and practices.

         The First Generation – 1920s to 1960s: Finding Alternatives to the Traditional Money
         Bail System; Reducing Unnecessary Pretrial Detention of Bailable Defendants

                  Significant Research – This generation’s research began with Roscoe Pound
         and Felix Frankfurter’s Criminal Justice in Cleveland (1922) and Arthur Beeley’s The Bail
         System in Chicago (1927), continued with Caleb Foote’s study of the Philadelphia
         process found in Compelling Appearance in Court: Administration of Bail in Philadelphia
         (1954), and reached a peak through the research done by the Vera Foundation and New
         York University Law School’s Manhattan Bail Project (1961) as well as similar bail
         projects such as the one created in Washington D.C. in 1963.

                  Meeting of Minds – The meeting of minds for this generation culminated with
         the 1964 Attorney General’s National Conference on Bail and Criminal Justice and the
         Bail Reform Act of 1966.

                  Changes in Laws, Policies and Practices – The Supreme Court’s ruling in Stack
         v. Boyle (1951) had already guided states to better individualize bail determinations
         through their various bail laws. The Bail Reform Act of 1966 (and state statutes modeled
         after the Act) focused on alternatives to the traditional money bail system by
         encouraging release on least restrictive, nonfinancial conditions as well as presumptions
         favoring release on recognizance, which were based on information gathered
         concerning a defendant’s community ties to help assure court appearance. The
         American Bar Association’s Criminal Justice Standards on Pretrial Release in 1968 made
         legal and evidence-based recommendations for all aspects of release and detention

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       decisions. Across America, though, states have not fully incorporated the full panoply of
       laws, policies, and practices designed to reduce unnecessary pretrial detention of
       bailable defendants

       The Second Generation – late 1960s to 1980s: Allowing Consideration of Public Safety
       as a Constitutionally Valid Purpose to Limit Pretrial Freedom; Defining the Nature and
       Scope of Preventive Detention

                 Significant Research – Based on discussions in the 1960s, the American Bar
       Association Standards on Pretrial Release first addressed preventive detention
       (detaining a defendant with no bail based on danger and later expressly encompassing
       risk for failure to appear) in 1968, a position later adopted by other organizations’ best
       practice standards. Much of the “research” behind this wave of reform focused on: (1)
       philosophical debates surrounding the 1966 Act’s inability to address public safety as a
       valid purpose for limiting pretrial freedom; and (2) judges’ tendencies to use money to
       detain defendants due to the lack of alternative procedures for defendants who pose
       high risk to public safety or for failure to appear for court. The research used to support
       Congress’s finding of “an alarming problem of crimes committed by persons on release”
       (noted by the U.S. Supreme Court in United States v. Salerno) is contained in the text
       and references from Senate Report 98-225 to the Bail Reform Act of 1984. Other
       authors, such as John Goldkamp (see Danger and Detention: A Second Generation of Bail
       Reform, 76 J. Crim. L. & Criminology 1 (1985)) and Senator Ted Kennedy (see A New
       Approach to Bail Release: The Proposed Federal Criminal Code and Bail Reform, 48
       Fordham L. Rev. 423 (1980)), also contributed to the debate and relied on a variety of
       empirical research in their papers.

                Meeting of Minds – Senate Report 98-225 to the Bail Reform Act of 1984 cited
       broad support for the idea of limiting pretrial freedom up to and including preventive
       detention based on public safety in addition to court appearance. This included the fact
       that consideration of public safety already existed in the laws of several states and the
       District of Columbia, the fact that the topic was addressed by the various national
       standards, and the fact that it also had the support from the Attorney General’s Task
       Force on Violent Crime, the Chief Justice of the United States Supreme Court, and even
       the President.

                 Changes in Laws, Policies and Practices – Prior to 1970, court appearance was
       the only constitutionally valid purpose for limiting a defendant’s pretrial freedom.
       Congress first allowed public safety to be considered equally to court appearance in the
       District of Columbia Court Reform and Criminal Procedure Act of 1970, and many states
       followed suit. In 1984, Congress passed the Bail Reform Act of 1984 (part of the
       Comprehensive Crime Control Act), which included public safety as a valid purpose for
       limiting pretrial freedom and procedures designed to allow preventive detention
       without bail for high-risk defendants. In 1987, the United States Supreme Court upheld
       the Bail Reform Act of 1984 against facial due process and excessive bail challenges in
       United States v, Salerno. However, as in the first generation of bail reform, states across
       America have not fully implemented the laws, policies, and practices needed to
       adequately and lawfully detain defendants when necessary.

       The Third Generation – 1990 to present: Fixing the Holes Left by States Not Fully
       Implementing Improvements from the First Two Generations of Bail Reform; Using
       Legal and Evidence-Based Practices to Create a More Risk-Based System of Release
       and Detention



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                 Significant Research – Much of the research in this generation revisits
       deficiencies caused by the states not fully implementing adequate “bail” and “no bail”
       laws, policies, and practices developed in the previous two generations. Significant legal,
       historical, and empirical research sponsored by the Department of Justice, the Pretrial
       Justice Institute, the New York City Criminal Justice Agency, the District of Columbia
       Pretrial Services Agency, the Administrative Office of the U.S. Courts, various
       universities, and numerous other public, private, and philanthropic entities across
       America have continued to hone the arguments for improvements as well as the
       solutions to discreet bail issues. Additional groundbreaking research involves the
       creation of empirical risk assessment instruments for local, statewide, and now national
       use, along with research focusing on strategies for responding to predicted risk while
       maximizing release.

                Meeting of Minds – The meeting of minds for this generation has been
       highlighted so far by the Attorney General’s National Symposium on Pretrial Justice in
       2011, along with the numerous policy statements issued by national organizations
       favoring the administration of bail based on risk.

                 Changes in Laws, Policies and Practices – Jurisdictions are only now beginning
       to make changes reflecting the knowledge generated and shared by this generation of
       pretrial reform. Nevertheless, changes are occurring at the county level (such as in
       Milwaukee County, Wisconsin, which has implemented a number of legal and evidence-
       based pretrial practices), the state level (such as in Colorado, which passed a new bail
       statute based on pretrial best practices in 2013), and even the national level (such as in
       the federal pretrial system, which continues to examine its release and detention
       policies and practices).




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  The Current Generation of Bail/Pretrial Reform


  The first two generations of bail reform used research to attain a broad meeting of the
  minds, which, in turn, led to changes to laws, policies, and practices. It is now clear,
  however, that these two generations did not go far enough. The traditional money bail
  system, which includes heavy reliance upon secured bonds administered primarily
  through commercial sureties, continues to flourish in America, thus causing the
  unnecessary detention of bailable defendants. Moreover, for a number of reasons, the
  states have not fully embraced ways to fairly and transparently detain persons without
  bail, choosing instead to maintain a primarily charge-and-money-based bail system to
  respond to threats to public safety. In short, the two previous generations of bail reform
  have instructed us on how to properly implement both “bail” (release) and “no bail”
  (detention), but many states have instead clung to an outmoded system that leads to
  the detention of bailable defendants (or those whom we believe should be bailable
  defendants) and the release of unbailable defendants (or those whom we believe
  should be unbailable defendants) – abuses to the “bail/no bail” dichotomy that
  historically demand correction.

  Fortunately, the current generation of pretrial reform has a vast amount of relevant
  research literature from which to fashion solutions to these problems. Moreover, like
  previous generations, this generation also shaped a distinct meeting of minds of
  numerous individuals, organizations, and government agencies, all of which now believe
  that pretrial improvements are necessary.

  At its core, the third generation of pretrial reform thus has three primary goals. First, it
  aims to fully implement lawful bail/no bail dichotomies so that the right persons (and in
  lawful proportions) are deemed bailable and unbailable. Second, using the best
  available research and best pretrial practices, it seeks to lawfully effectuate the release
  and subsequent mitigation of pretrial risk of defendants deemed bailable and the fair
  and transparent detention of those deemed unbailable. Third, it aims to do this
  primarily by replacing charge-and-money-based bail systems with systems based on
  empirical risk.




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                               Generations of Reform and the
                                Commercial Surety Industry

         The first generation of bail reform in America in the 20th century focused almost
         exclusively on finding alternatives to the predominant release system in place at the
         time, which was one based primarily on secured financial conditions administered
         through a commercial surety system. In hindsight, however, the second generation of
         bail reform arguably has had more of an impact on the for-profit bail bond industry in
         America. That generation focused primarily on public safety, and it led to changes in
         federal and state laws providing ways to assess pretrial risk for public safety, to release
         defendants with supervision designed to mitigate the risk to public safety, and even to
         detain persons deemed too risky.

         Despite this national focus on public safety, however, the commercial surety industry
         did not alter its business model of providing security for defendants solely to help
         provide reasonable assurance of court appearance. Today, judges concerned with public
         safety cannot rely on commercial bail bondsmen because in virtually every state
         allowing money as condition of bail, the laws have been crafted so that financial
         conditions cannot be forfeited for breaches in public safety such as new crimes. In those
         states, a defendant who commits a new crime may have his or her bond revoked, but
         the money is not lost. When the bond is revoked, bondsmen, when they are allowed
         into the justice system (for most countries, four American states, and a variety of other
         large and small jurisdictions have ceased allowing profit at bail), can simply walk away,
         even though the justice system is not yet finished with that particular defendant.
         Bondsmen are free to walk away and are even free re-enter the system – free to
         negotiate a new surety contract with the same defendant, again with the money
         forfeitable only upon his or her failing to appear for court. Advances in our knowledge
         about the ineffectiveness and deleterious effects of money at bail only exacerbate the
         fundamental disconnect between the commercial surety industry, which survives on the
         use of money for court appearance, and what our society is trying to achieve through
         the administration of bail.

         There are currently two constitutionally valid purposes for limiting pretrial freedom –
         court appearance and public safety. Commercial bail agents and the insurance
         companies that support them are concerned with only one – court appearance –
         because legally money is simply not relevant to public safety. Historically speaking,
         America’s gradual movement toward using pretrial services agencies, which, when
         necessary, supervise defendants both for court appearance and public safety concerns,
         is due, at least in part, to the commercial surety industry’s purposeful decision not to
         take responsibility for public safety at bail.




  What Does the History of Bail Tell Us?


  The history of bail tells us that the pretrial release and detention system that worked
  effectively over the centuries was a “bail/no bail” system, in which bailable defendants
  (or those whom society deemed should be bailable defendants) were expected to be

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  released and unbailable defendants (or those whom society deemed should be
  unbailable defendants) were expected to be detained. Moreover, the bail side of the
  dichotomy functioned most effectively through an uncompensated and un-indemnified
  personal surety system based on unsecured financial conditions. What we in America
  today know as the traditional money bail system – a system relying primarily on secured
  financial conditions administered through commercial sureties – is, historically speaking,
  a relatively new system that was encouraged to solve America’s dilemma of the
  unnecessary detention of bailable defendants in the 1800s. Unfortunately, however, the
  traditional money bail system has only exacerbated the two primary abuses that have
  typically led to historical correction: (1) the unnecessary detention of bailable
  defendants, whom we now often categorize as lower risk; and (2) the release of those
  persons whom we feel should be unbailable defendants, and whom we now often
  categorize as higher risk.

  The history of bail also instructs us on the proper purpose of bail. Specifically, while
  avoiding blood feuds may have been the primary purpose for the original bail setting,
  once more public processes and jails were fully introduced into the administration of
  criminal justice, the purpose of bail changed to one of providing a mechanism of
  conditional release. Concomitantly, the purpose of “no bail” was and is detention.
  Historically speaking, the only purpose for limiting or conditioning pretrial release was
  to assure that the accused come to court or otherwise face justice. That changed in the
  1970s and 1980s, as jurisdictions began to recognize public safety as a second
                                                                21
  constitutionally valid purpose for limiting pretrial freedom.

  The American history of bail further instructs us on the lessons of the first two
  generations of bail and pretrial reform in the 20th century. If the first generation
  provided us with practical methods to better effectuate the release side of the “bail/no
  bail” dichotomy, the second generation provided us with equally effective methods for
  lawful detention. Accordingly, despite our inability to fully implement what we now
  know are pretrial best practices, the methods gleaned from the first two generations of


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    Occasionally, a third purpose for limiting pretrial freedom has been articulated as maintaining
  or protecting the integrity of the courts or judicial process. Indeed, the third edition of the ABA
  Standards changed “to prevent intimidation of witnesses and interference with the orderly
  administration of justice” to “safeguard the integrity of the judicial process” as a “third purpose
  of release conditions.” ABA Standards American Bar Association Standards for Criminal Justice
  (3rd Ed.) Pretrial Release (2007), Std. 10-5.2 (a) (history of the standard) at 107. The phrase
  “integrity of the judicial process,” however, is one that has been historically misunderstood (its
  meaning requires a review of appellate briefs for decisions leading up to the Supreme Court’s
  opinion in Salerno), and that typically begs further definition. Nevertheless, in most, if not all
  cases, that further definition is made unnecessary as being adequately covered by court
  appearance and public safety. Indeed, the ABA Standards themselves state that one of the
  purposes of the pretrial decision is “maintaining the integrity of the judicial process by securing
  defendants for trial.” Id. Std. 10-1.1, at 36.

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  bail reform as well as the research currently contributing to the third generation have
  given us ample knowledge to correct perceived abuses and to make improvements to
  pretrial justice. In the next section, we will see how the evolution of the law and legal
  foundations of pretrial justice provide the parameters for those improvements.

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  Chapter 3: Legal Foundations of Pretrial Justice

  History and Law


  History and the law clearly influence each other at bail. For example, in 1627, Sir
  Thomas Darnell and four other knights refused to pay loans forced upon them by King
  Charles I. When the King arrested the five knights and held them on no charge (thus
  circumventing the Statute of Westminster, which required a charge, and the Magna
  Carta, on which the Statute was based), Parliament responded by passing the Petition of
  Right, which prohibited detention by any court without a formal charge. Not long after,
  however, officials sidestepped the Petition of Right by charging individuals and then
  running them through numerous procedural delays to avoid release. This particular
  practice led to the Habeas Corpus Act of 1679. However, by expressly acknowledging
  discretion in setting amounts of bail, the Habeas Corpus Act also unwittingly allowed
  determined officials to begin setting financial conditions of bail in prohibitively high
  amounts. That, in turn, led to passage of the English Bill of Rights, which prohibited
  “excessive” bail. In America, too, we see historical events causing changes in the laws
  and those laws, in turn, influencing events thereafter. One need only look to events
  before and after the two American generations of bail reform in the 20th century to see
  how history and the law are intertwined.

  And so it is that America, which had adopted and applied virtually every English bail
  reform verbatim in its early colonial period, soon began a process of liberalizing both
  criminal laws generally, and bail in particular, due to the country’s unique position in
  culture and history. Essentially, America borrowed the best of English law (such as an
  overall right to bail, habeas corpus, and prohibition against excessiveness) and rejected
  the rest (such as varying levels of discretion potentially interfering with the right to bail
  as well as harsh criminal penalties for certain crimes). The Colonies wrote bail provisions
  into their charters and re-wrote them into their constitutions after independence.
  Among those constitutions, we see broader right-to-bail provisions, such as in the model
  Pennsylvania law, which granted bail to all except those facing capital offenses (limited
                                                                                      22
  to willful murder) and only “where proof is evident or the presumption great.”
  Nevertheless, some things remained the same. For example, continuing the long
  historical tradition of bail in England, the sole purpose of limiting pretrial freedom in
  America remained court appearance, and the only means for doing so remained setting
  financial conditions or amounts of money to be forfeited if a defendant missed court.



  22
    June Carbone, Seeing Through the Emperor’s New Clothes: Rediscovery of Basic Principles in
  the Administration of Bail, 34 Syracuse L. Rev. 517, 531 (1983) (quoting 5 American Charters
  3061, F. Thorpe ed. 1909).
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         “The end of law is not to abolish or restrain, but to preserve and enlarge
         freedom. For in all the states of created beings capable of law, where
         there is no law, there is no freedom.”

                                                                    John Locke, 1689



  In America, the ultimate expression of our shared values is contained in our founding
  documents, the Declaration of Independence and the Constitution. But if the
  Declaration can be viewed as amply supplying us with certain fundamental principles
  that can be interwoven into discussions of bail, such as freedom and equality, then the
  Constitution has unfortunately given us some measure of confusion on the topic. The
  confusion stems, in part, from the fact that the Constitution itself explicitly covers only
  the right of habeas corpus in Article 1, Section 9 and the prohibition on excessive bail in
  the 8th Amendment, which has been traced to the Virginia Declaration of Rights. There
  is no express right to bail in the U.S. Constitution, and that document provides no
  illumination on which persons should be bailable and which should not. Instead, the
  right to bail in the federal system originated from the Judiciary Act of 1789, which
  provided an absolute right to bail in non-capital federal criminal cases. Whether the
  constitutional omission was intentional is subject to debate, but the fact remains that
  when assessing the right to bail, it is typical for a particular state to provide superior
  rights to the United States Constitution. It also means that certain federal cases, such
  United States v. Salerno, must be read realizing that the Court was addressing a bail/no
  bail scheme derived solely from legislation. And it means that any particular bail case or
  dispute has the potential to involve a fairly complex mix of state and federal claims
  based upon any particular state’s bail scheme.




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                                           The Legal “Mix”
         There are numerous sources of laws surrounding bail and pretrial practices, and each
         state – and often a jurisdiction within a state – has a different “mix” of sources from
         that of all other jurisdictions. In any particular state or locality, bail practices may be
         dictated or guided by the United States Constitution and United States Supreme Court
         opinions, federal appellate court opinions, the applicable state constitution and state
         supreme court and other state appellate court decisions, federal and state bail statutes,
         municipal ordinances, court rules, and even administrative regulations. Knowing your
         particular mix and how the various sources of law interact is crucial to understanding
         and ultimately assessing your jurisdiction’s pretrial practices.




  The fact that we have separate and sometimes overlapping federal and state pretrial
  legal foundations is one aspect of the evolution of bail law that adds complexity to
  particular cases. The other is the fact that America has relatively little authoritative legal
  guidance on the subject of bail. In the federal realm, this may be due to issues of
  incorporation and jurisdiction, but in the state realm it may also be due to the relatively
  recent (historically speaking) change from unsecured to secured bonds. Until the
  nineteenth century, historians suggest that bail based on unsecured bonds administered
  through a personal surety system led to the release of virtually all bailable criminal
  defendants. Such a high rate of release leaves few cases posing the kind of
  constitutional issues that require an appellate court’s attention. But even in the 20th
  century, we really have only two (or arguably three) significant United States Supreme
  Court cases discussing the important topic of the release decision at bail. It is apparently
  a topic that lawyers, and thus federal and state trial and appellate courts, have largely
  avoided. This avoidance, in turn, potentially stands in the way of jurisdictions looking for
  the bright line of the law to guide them through the process of improving the
  administration of bail.

  On the other hand, what we lack in volume of decisions is made up to some extent by
  the importance of the few opinions that we do have. Thus, we look at Salerno not as
  merely one case among many from which we may derive guidance; instead, Salerno
  must be scrutinized and continually referenced as a foundational standard as we
  attempt to discern the legality of proposed improvements. The evolution of law in
  America, whether broadly encompassing all issues of criminal procedure, or more
  narrowly discussing issues related directly to bail and pretrial justice, has demonstrated
  conclusively the law’s importance as a safeguard to implementing particular practices in
  the criminal process. Indeed, in other fields we speak of using evidence-based practices
  to achieve the particular goals of the discipline. In bail, however, we speak of “legal and




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                               23
  evidence-based practices,” because it is the law that articulates those disciplinary
  goals to begin with. The phrase legal and evidence-based practices acknowledges the
  fact that in bail and pretrial justice, the empirical evidence, no matter how strong, is
  always subservient to fundamental legal foundations based on fairness and equal
  justice.

  Fundamental Legal Principles


  While all legal principles affecting the pretrial process are important, there are some
  that demand our particular attention as crucial to a shared knowledge base. The
  following list is derived from materials taught by D.C. Superior Court Judge Truman
  Morrison, III, in the National Institute of Corrections’ Orientation for New Pretrial
  Executives, and occasionally supplemented by information contained in Black’s Law
  Dictionary (9th ed.) as well as the sources footnoted or cited at the end of the chapter.



          The Presumption of Innocence


  Perhaps no legal principle is as simultaneously important and misunderstood as the
  presumption of innocence. Technically speaking, it is the principle that a person may not
  be convicted of a crime unless and until the government proves guilt beyond a
  reasonable doubt, without any burden placed on the defendant to prove his or her
  innocence. Its importance is emphasized in the Supreme Court’s opinion in Coffin v.
  United States, in which the Court wrote: “a presumption of innocence in favor of the
  accused is the undoubted law, axiomatic and elementary, and its enforcement lies at
                                                               24
  the foundation of the administration of our criminal law.” In Coffin, the Court traced
  the presumption’s origins to various extracts of Roman law, which included language
  similar to the “better that ten guilty persons go free” ratio articulated by Blackstone.
  The importance of the presumption of innocence has not waned, and the Court has
  expressly quoted the “axiomatic and elementary” language in just the last few years.

  Its misunderstanding comes principally from the fact that in Bell v. Wolfish, the Supreme
  Court wrote that the presumption of innocence “has no application to a determination
  of the rights of a pretrial detainee during confinement before his trial has even
           25
  begun,” a line that has caused many to argue, incorrectly, that the presumption of
  innocence has no application to bail. In fact, Wolfish was a “conditions of confinement”
  case, with inmates complaining about various conditions (such as double bunking), rules

  23
     Marie VanNostrand, Legal and Evidence-Based Practices: Application of Legal Principles, Laws,
  and Research to the Field of Pretrial Services (CJI/NIC 2007).
  24
     Coffin v. United States, 156 U.S. 432, 453 (1895).
  25
     Bell v. Wolfish, 441 U.S. 520, 533 (1979).
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  (such as prohibitions on receiving certain books), and practices (such as procedures
  involving inmate searches) while being held in a detention facility. In its opinion, the
  Court was clear about its focus in the case: “We are not concerned with the initial
  decision to detain an accused and the curtailment of liberty that such a decision
  necessarily entails. . . . Instead, what is at issue when an aspect of pretrial detention that
  is not alleged to violate any express guarantee of the Constitution is challenged, is the
  detainee’s right to be free from punishment, and his understandable desire to be as
  comfortable as possible during his confinement, both of which may conceivably
                               26
  coalesce at some point.” Specifically, and as noted by the Court, the parties were not
  disputing whether the government could detain the prisoners, the government’s
  purpose for detaining the prisoners, or even whether complete confinement was a
  legitimate means for limiting pretrial freedom, all issues that would necessarily
  implicate the right to bail, statements contained in Stack v. Boyle, and the presumption
  of innocence. Instead, the issue before the Court was whether, after incarceration, the
  prisoners’ complaints could be considered punishment in violation of the Due Process
  Clause.

  Accordingly, the presumption of innocence has everything to do with bail, at least so far
  as determining which classes of defendants are bailable and the constitutional and
  statutory rights flowing from that decision. And therefore, the language of Wolfish
  should in no way diminish the strong statements concerning the right to bail found in
  Stack v. Boyle (and other state and federal cases that have quoted Stack), in which the
  Court wrote, “This traditional right to freedom before conviction permits the
  unhampered preparation of a defense, and serves to prevent the infliction of
  punishment prior to conviction. Unless this right to bail before trial is preserved, the
  presumption of innocence, secured only after centuries of struggle, would lose its
              27
  meaning.” The idea that the right to bail (that is, the right to release when the accused
  is bailable) necessarily triggers serious consideration of the presumption of innocence is
  also clearly seen through Justice Marshall’s dissent in United States v. Salerno, in which
  he wrote, albeit unconvincingly, that “the very pith and purpose of [the Bail Reform Act
                                                                            28
  of 1984] is an abhorrent limitation of the presumption of innocence.”

  As explained by the Court in Taylor v. Kentucky, the phrase is somewhat inaccurate in
  that there is no true presumption – that is, no mandatory inference to be drawn from
  evidence. Instead, “it is better characterized as an ‘assumption’ that is indulged in the
                                    29
  absence of contrary evidence.” Moreover, the words “presumption of innocence”
  themselves are found nowhere in the United States Constitution, although the phrase is
  linked to the 5th, 14th, and 6th Amendments to the Constitution. Taylor suggests an
  appropriate way of looking at the presumption as “a special and additional caution” to

  26
     Id. at 533-34 (internal citations omitted).
  27
     342 U.S. 1, 4 (1951) (internal citation omitted).
  28
     United States v. Salerno, 481 U.S. 739, 762-63 (1987).
  29
     Taylor v Kentucky, 436 U.S. 478, 483 n. 12 (1978).
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  consider beyond the notion that the government must ultimately prove guilt. It is the
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  idea that “no surmises based on the present situation of the accused” should interfere
  with the jury’s determination. Applying this concept to bail, then, the presumption of
  innocence is like an aura surrounding the defendant, which prompts us to set aside our
  potentially negative surmises based on the current arrest and confinement as we
  determine the important question of release or detention.



            “Here we deal with a right, the right to release of presumably innocent
            citizens. I cannot conceive that such release should not be made as widely
            available as it reasonably and rationally can be.”

                       Pugh v. Rainwater, 572 F.2d 1053 (5th Cir. 1978) (Gee, J. specially
                                                                            concurring)




  30
       Id. at 485 (quoting 9 J. Wigmore, Evidence § 2511 (3d ed. 1940) at 407).
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         The Right to Bail


  When granted by federal or state law, the right to bail should be read as a right to
  release through the bail process. It is often technically articulated as the “right to non-
  excessive” bail, which goes to the reasonableness of any particular conditions or
  limitations on pretrial release.

  The preface, “when granted by federal or state law” is crucial to understand because we
  now know that the “bail/no bail” dichotomy is one that legislatures or the citizenry are
  free to make though their statutes and constitutions. Ever since the Middle Ages, there
  have been certain classes of defendants (typically expressed by types of crimes, but
  changing now toward categories of risk) who have been refused bail – that is, denied a
  process of release altogether. The bail/no bail dichotomy is exemplified by the early bail
  provisions of Massachusetts and Pennsylvania, which granted bail to some large class of
  persons “except,” and with the exception being the totality of the “no bail” side. These
  early provisions, as well as those copied by other states, were technically the genesis of
  what we now call “preventive detention” schemes, which allow for the detention of
  risky defendants – the risk at the time primarily being derived from the seriousness of
  the charge, such as murder or treason.

  The big differences between detention schemes then and now include: (1) the old
  schemes were based solely on risk for failure to appear for court; we may now detain
  defendants based on a second constitutionally valid purpose for limiting pretrial
  freedom – public safety; (2) the old schemes were mostly limited to findings of “proof
  evident and presumption great” for the charge; today preventive detention schemes
  often have more stringent burdens for the various findings leading to detention; (3)
  overall, the states have largely widened the classes of defendants who may lawfully be
  detained – they have, essentially, changed the ratio of bailable to unbailable defendants
  to include potentially more unbailable defendants than were deemed unbailable, say,
  during the first part of the 20th century; and (4) in many cases, the states have added
  detailed provisions to the detention schemes (in addition to their release schemes).
  Presumably, this was to follow guidance by the United States Supreme Court from its
  opinion in United States v. Salerno, which approved the federal detention scheme based
  primarily on that law’s inclusion of certain procedural due process elements designed to
  make the detention process fair and transparent.

  How a particular state has defined its “bail/no bail” dichotomy is largely due to its
  constitution, and arguably on the state’s ability to easily amend that constitution.
  According to legal scholars Wayne LaFave, et al., in 2009 twenty-three states had
  constitutions modeled after Pennsylvania’s 1682 language that guaranteed a right to
  bail to all except those charged with capital offenses, where proof is evident or the
  presumption is great. It is unclear whether these states today choose to remain broad
  “right-to-bail” states, or whether their constitutions are simply too difficult to amend.


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  Nevertheless, these states’ laws likely contain either no, or extremely limited, statutory
                                           31
  pretrial preventive detention language.

  Nine states had constitutions mirroring the federal constitution – that is, they contain an
  excessive bail clause, but no clause explicitly granting a right to bail. The United States
  Supreme Court has determined that the federal constitution does not limit Congress’
  ability to craft a lawful preventive detention statute, and these nine states likewise have
  the same ability to craft preventive detention statutes (or court rules) with varying
  language.

  The remaining 18 states had enacted in their constitutions relatively recent
  amendments describing more detailed preventive detention provisions. As LaFave, et
  al., correctly note, these states may be grouped in three ways: (1) states authorizing
  preventive detention for certain charges, combined with the requirement of a finding of
  danger to the community; (2) states authorizing preventive detention for certain
  charges, combined with some condition precedent, such as the defendant also being on
  probation or parole; and (3) states combining elements of the first two categories.

  There are currently two fundamental issues concerning the right to bail in America
  today. The first is whether states have created the right ratio of bailable to unbailable
  defendants. The second is whether they are faithfully following best practices using the
  ratio that they currently have. The two issues are connected.



  American law contemplates a presumption of release, and thus there are limits on the
  ratio of bailable to unbailable defendants. The American Bar Association Standards on
  Pretrial Release describes its statement, “the law favors the release of defendants
  pending adjudication of charges” as being “consistent with Supreme Court opinions
                                                                      32
  emphasizing the limited permissible scope of pretrial detention.” It notes language
  from Stack v. Boyle, in which the Court equates the right to bail to “[the] traditional right
                                    33
  to freedom before conviction,” and from United States v. Salerno, in which the Court
  wrote, “In our society, liberty is the norm, and detention prior to trial or without trial is



  31
     See Wayne R. LaFave, Jerold H. Israel, Nancy J. King and Orin S. Kerr, Criminal Procedure (3rd
  ed. 2007 & 5th ed. 2009). Readers should be vigilant for activity changing these numbers. For
  example, the 2010 constitutional amendment in Washington State likely adds it to the category
  of states having preventive detention provisions in their constitutions. Moreover, depending on
  how one reads the South Carolina constitution, the counts may, in fact, reveal 9 states akin to
  the federal scheme, 21 states with traditional right to bail provisions, and 20 states with
  preventive detention amendments.
  32
     American Bar Association Standards for Criminal Justice (3rd Ed.) Pretrial Release (2007), Std.
  10-1.1 (commentary) at 38.
  33
     342 U.S. 1, 4 (1951).
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  the carefully limited exception.” Beyond these statements, however, we have little to
  tell us definitively and with precision how many persons should remain bailable in a
  lawful bail/no bail scheme.

  We do know, however, that the federal “bail/no bail” scheme was examined by the
  Supreme Court and survived at least facial constitutional attacks based on the Due
  Process Clause and the 8th Amendment. Presumably, a state scheme fully incorporating
  the detention-limiting elements of the federal law would likely survive similar attacks.
  Accordingly, using the rest of the Salerno opinion as a guide, one can look at any
  particular jurisdiction’s bail scheme to assess whether that scheme appears, at least on
  its face, to presume liberty and to restrict detention by incorporating the numerous
  elements from the federal statute that were approved by the Supreme Court. For
  example, if a particular state included a provision in either its constitution or statute
  opening up the possibility of detention for all defendants no matter what their charges,
  the scheme should be assessed for its potential to over-detain based on Salerno’s
  articulated approval of provisions that limited detention to defendants “arrested for a
                                                      35
  specific category of extremely serious offenses.” Likewise, any jurisdiction that does
  not “carefully” limit detention – that is, it detains carelessly or without thought possibly
  through the casual use of money – is likely to be seen as running afoul of the
  foundational principles underlying the Court’s approval of the federal law.

  The second fundamental issue concerning the right to bail – whether states are faithfully
  following the ratio that they currently have – is connected to the first. If states have not
  adequately defined their bail/no bail ratio, they will often see money still being used to
  detain defendants whom judges feel are extreme risks, which is essentially the same
  practice that led to the second generation of American bail reform in the 20th century.
  Simply put, a proper bail/no bail dichotomy should lead naturally to an in-or-out
  decision by judges, with bailable defendants released pursuant to a bond with
  reasonable conditions and unbailable defendants held with no bond. Without
  belaboring the point, judges are not faithfully following any existing bail/no bail
  dichotomy whenever they (1) treat a bailable defendant as unbailable by setting
  unattainable conditions, or (2) treat an unbailable defendant as bailable in order to
  avoid the lawfully enacted detention provisions. When these digressions occur, then
  they suggest either that judges should be compelled to comply with the existing
  dichotomy, or that the balance of the dichotomy must be changed.

  This latter point is important to repeat. Among other things, the second generation of
  American bail reform was, at least partially, in response to judges setting financial
  conditions of bail at unattainable levels to protect the public despite the fact that the
  constitution had not been read to allow public safety as a proper purpose for limiting
  pretrial freedom. Judges who did so were said to be setting bail “sub rosa,” in that they


  34
       481 U.S. 739, 755 (1987).
  35
       Id. at 750.
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  were working secretively toward a possibly improper purpose of bail. The Bail Reform
  Act of 1984, as approved by the United States Supreme Court, was designed to create a
  more transparent and fair process to allow the detention of high-risk defendants for the
  now constitutionally valid purpose of public safety. From that generation of reform,
  states learned that they could craft constitutional and statutory provisions that would
  effectively define the “bail” and “no bail” categories so as to satisfy both the Supreme
  Court’s admonition that liberty be the “norm” and the public’s concern that the proper
  persons be released and detained.

  Unfortunately, many states have not created an appropriate balance. Those that have
  attempted to, but have done so inadequately, are finding that the inadequacy often lies
  in retaining a charge-based rather than a risk-based scheme to determine detention
  eligibility. Accordingly, in those states judges continue to set unattainable financial
  conditions at bail to detain bailable persons whom they consider too risky for release. If
  a proper bail/no bail balance is not crafted through a particular state’s preventive
  detention provisions, and if money is left as an option for conditional release, history
  has shown that judges will use that money option to expeditiously detain otherwise
  bailable defendants. On the other hand, if the proper balance is created so that high-risk
  defendants can be detained through a fair and transparent process, money can be
  virtually eliminated from the bail process without negatively affecting public safety or
  court appearance rates.

  Despite certain unfortunate divergences, the law, like the history, generally considers
  the right to bail to be a right to release. Thus, when a decision has been made to “bail” a
  particular defendant, every consideration should be given, and every best practice
  known should be employed, to effectuate and ensure that release. Bailable defendants
  detained on unattainable conditions should be considered clues that the bail process is
  not functioning properly. Judicial opinions justifying the detention of bailable
  defendants (when the bailable defendant desires release) should be considered
  aberrations to the historic and legal notion that the right to bail should equal the right
  to release.

          What Can International Law and Practices Tell Us About Bail?
         Unnecessary and arbitrary pretrial detention is a worldwide issue, and American pretrial
         practitioners can gain valuable perspective by reviewing international treaties,
         conventions, guidelines, and rules as well as reports documenting international
         practices that more closely follow international norms.
         According to the American Bar Association’s Rule of Law Initiative,

              “International standards strongly encourage the imposition of noncustodial
         measures during investigation and trial and at sentencing, and hold that deprivation of
         liberty should be imposed only when non-custodial measures would not suffice. The
         overuse of detention is often a symptom of a dysfunctional criminal justice system that
         may lack protection for the rights of criminal defendants and the institutional capacity
         to impose, implement, and monitor non-custodial measures and sanctions. It is also

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             often a cause of human rights violations and societal problems associated with an
             overtaxed detention system, such as overcrowding; mistreatment of detainees;
             inhumane detention conditions; failure to rehabilitate offenders leading to increased
             recidivism; and the imposition of the social stigma associated with having been
             imprisoned on an ever-increasing part of the population. Overuse of pretrial detention
             and incarceration at sentencing are equally problematic and both must be addressed in
             order to create effective and lasting criminal justice system reform.”

             International pretrial practices, too, can serve as templates for domestic improvement.
             For example, bail practitioners frequently cite to author F.E. Devine’s study of
             international practices demonstrating various effective alternatives to America’s
             traditional reliance on secured bonds administered by commercial bail bondsmen and
             large insurance companies.

             Sources and Resources: David Berry & Paul English, The Socioeconomic Impact of
             Pretrial Detention (Open Society Foundation 2011); F.E. Devine, Commercial Bail
             Bonding: A Comparison of Common Law Alternatives (Greenwood Publishing Group
             1991); Anita H. Kocsis, Handbook of International Standards on Pretrial Detention
             Procedure (ABA, 2010); Amanda Petteruti & Jason Fenster, Finding Direction: Expanding
             Criminal Justice Options by Considering Policies of Other Nations (Justice Policy Institute,
             2011). There are also several additional documents and other resources available from
             the Open Society Foundation’s Global Campaign for Pretrial Justice online website,
             found at http://www.opensocietyfoundations.org/projects/global-campaign-pretrial-
             justice.




             Release Must Be the Norm


  This concept is part of the overall consideration of the right to bail, discussed above, but
  it bears repeating and emphasis as its own fundamental legal principle. The Supreme
  Court has said, “In our society, liberty is the norm, and detention prior to trial or without
                                            36
  trial is the carefully limited exception.” As noted previously, in addition to suggesting
  the ratio of bailable to unbailable defendants, the second part of this quote cautions
  against a release process that results in detention as well as a detention process
  administered haphazardly. Given that the setting of a financial bail condition often
  leaves judges and others wondering whether the defendant will be able to make it – i.e.,
  the release or detention of that particular defendant is now essentially random based
  on any number of factors – it is difficult to see how such a detention caused by money
  can ever be considered a “carefully limited” process.

             Due Process


  Due Process refers generally to upholding people’s legal rights and protecting
  individuals from arbitrary or unfair federal or state action pursuant to the rights

  36
       Id. at 755.
                                                                                                   50 | P a g e
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  afforded by the Fifth and Fourteenth Amendments of the United States Constitution
  (and similar or equivalent state provisions). The Fifth Amendment provides that “No
                                                                                             37
  person shall be . . . deprived of life, liberty, or property, without due process of law.”
  The Fourteenth Amendment places the same restrictions on the states. The concept is
  believed to derive from the Magna Carta, which required King John of England to accept
  certain limitations to his power, including the limitation that no man be imprisoned or
  otherwise deprived of his rights except by lawful judgment of his peers or the law of the
  land. Many of the original provisions of the Magna Carta were incorporated into the
  Statute of Westminster of 1275, which included important provisions concerning bail.

  As noted by the Supreme Court in United States v. Salerno, due process may be further
  broken down into two subcategories:

             So called ‘substantive due process’ prevents the government from
             engaging in conduct that ‘shocks the conscience,’ or interferes with rights
             ‘implicit in the concept of ordered liberty.’ When government action
             depriving a person of life, liberty, or property survives substantive due
             process scrutiny, it must still be implemented in a fair manner. This
             requirement has traditionally been referred to as ‘procedural’ due
                       38
             process.

  In Salerno, the Court addressed both substantive and procedural fairness arguments
  surrounding the federal preventive detention scheme. The substantive due process
  argument dealt with whether detention represented punishment prior to conviction and
  an ends-means balancing analysis. The procedural issue dealt with how the statute
  operated – whether there were procedural safeguards in place so that detention could
  be ordered constitutionally. People who are detained pretrial without having the benefit
  of the particular safeguards enumerated in the Salerno opinion could, theoretically,
  raise procedural due process issues in an appeal of their bail-setting.

  A shorthand way to think about due process is found in the words “fairness” or
  “fundamental fairness.” Other words, such as “irrational,” “unreasonable,” and
  “arbitrary” tend also to lead to due process scrutiny, making the Due Process Clause a
  workhorse in the judicial review of bail decisions. Indeed, as more research is being
  conducted into the nature of secured financial conditions at bail – their arbitrariness,
  the irrationality of using them to provide reasonable assurance of either court
  appearance or public safety, and the documented negative effects of unnecessary
  pretrial detention – one can expect to see many more cases based on due process
  clause claims.




  37
       U.S. Const. amend. V.
  38
       481 U.S 739, 746 (internal citations omitted).
                                                                                  51 | P a g e
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          Equal Protection


  If the Due Process Clause protects against unfair, arbitrary, or irrational laws, the Equal
  Protection Clause of the Fourteenth Amendment (and similar or equivalent state
  provisions) protects against the government treating similarly situated persons
  differently under the law. Interestingly, “equal protection” was not mentioned in the
  original Constitution, despite the phrase practically embodying what we now consider to
  be the whole of the American justice system. Nevertheless, the Fourteenth Amendment
  to the United States Constitution now provides that no state shall “deny to any person
                                                            39
  within its jurisdiction the equal protection of the laws.” While there is no counterpart
  to this clause that is applicable to the federal government, federal discrimination may
  be prohibited as violating the Due Process Clause of the Fifth Amendment.

          “The only stable state is the one in which all men are equal before the
          law.”

                                                                   Aristotle, 350 B.C.



  Over the years, scholars have argued that equal protection considerations should serve
  as an equally compelling basis as does due process for mandating fair treatment in the
  administration of bail, especially when considering the disparate effect of secured
  money bail bonds on defendants due only to their level of wealth. This argument has
  been bolstered by language from Supreme Court opinions in cases like Griffin v. Illinois,
  which dealt with a defendant’s ability to purchase a transcript required for appellate
  review. In that case, Justice Black wrote, “There can be no equal justice where the kind
                                                                    40
  of trial a man gets depends on the amount of money he has.” Moreover, sitting as
  circuit justice to decide a prisoner’s release in two cases, Justice Douglas uttered the
  following dicta frequently cited as support for equal protection analysis: (1) “Can an
  indigent be denied freedom, where a wealthy man would not, because he does not
                                                                    41
  happen to have enough property to pledge for his freedom?”; and (2) “[N]o man
  should be denied release because of indigence. Instead, under our constitutional
  system, a man is entitled to be released on ‘personal recognizance’ where other
  relevant factors make it reasonable to believe that he will comply with the orders of the
           42
  Court.” Overall, despite scholarly arguments to invoke equal protection analysis to the


  39
     U.S. Const. amend. XIV, § 1.
  40
     351 U.S. 12, 19 (1956).
  41
     Bandy v. United States, 81 S. Ct. 197, 198 (1960).
  42
     Bandy v. United States, 82 S. Ct. 11, 13 (1961).
                                                                                52 | P a g e
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  issue of bail (including any further impact caused by the link between income and race),
  the courts have been largely reluctant to do so.




                                                                              53 | P a g e
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             Excessive Bail and the Concept of Least Restrictive Conditions


  Excessive bail is a legal term of art used to describe bail that is unconstitutional pursuant
  to the 8th Amendment to the United States Constitution (and similar or equivalent state
  provisions). The 8th Amendment states, “Excessive bail shall not be required, nor
                                                                             43
  excessive fines imposed, nor cruel and unusual punishments inflicted.” The Excessive
  Bail Clause derives from reforms made by the English Parliament in the 1600s to curb
  the abuse of judges setting impossibly high money bail to thwart the purpose of bail to
  afford a process of pretrial release. Indeed, historians note that justices began setting
  high amounts on purpose after King James failed to repeal the Habeas Corpus Act, and
  the practice represents, historically, the first time that a condition of bail rather than the
  actual existence of bail became a concern. The English Bill of Rights of 1689 first used
  the phrase, “Excessive bail ought not to be required,” which was incorporated into the
  1776 Virginia Declaration of rights, and ultimately found its way into the United States
  and most state constitutions. Excessiveness must be determined by looking both at
  federal and state law, but a rule of thumb is that the term relates overall to
  reasonableness.

  “Excessive bail” is now, in fact, a misnomer, because bail more appropriately defined as
  a process of release does not lend itself to analysis for excessiveness. Instead, since it
  was first uttered, the phrase excessive bail has always applied to conditions of bail or
  limitations on pretrial release. The same historical factors causing jurisdictions to define
  bail as money are at play when one says that bail can or cannot be excessive; hundreds
  of years of having only one condition of release – money – have caused the inevitable
  but unfortunate blurring of bail and one of its conditions. Accordingly, when we speak of
  excessiveness, we now more appropriately speak in terms of limitations on pretrial
  release or freedom.

  Looking at excessiveness in England in the 1600s requires us to consider its application
  within a personal surety system using unsecured amounts. Bail set at a prohibitively
  high amount meant that no surety (i.e., a person), or even group of sureties, would
  willingly take responsibility for the accused. Even before the prohibition, however,
  amounts were often beyond the means of any particular defendant, requiring
  sometimes several sureties to provide “sufficiency” for the bail determination.
  Accordingly, as is the case today, it is likely that some indicator of excessiveness at a
  time of relatively plentiful sureties for any particular defendant was continued
  detention of an otherwise bailable defendant. Nevertheless, before the abuses leading
  to the English Bill of Rights and Habeas Corpus Act, there was no real indication that
  high amounts required of sureties led to detention in England. And in America,
  “[a]lthough courts had broad authority to deny bail for defendants charged with capital
  offenses, they would generally release in a form of pretrial custody defendants who


  43
       U.S. Const. amend. VIII.
                                                                                  54 | P a g e
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                                            44
  were able to find willing custodians.” In a review of the administration of bail in
  Colonial Pennsylvania, author Paul Lermack concluded that “bail . . . continued to be
  granted routinely . . . for a wide variety of offenses . . . [and] [a]lthough the amount of
  bail required was very large in cash terms and a default could ruin a guarantor, few
                                               45
  defendants had trouble finding sureties.”

  The current test for excessiveness from the United States Supreme Court is instructive
  on many points. In United States v. Salerno, the Court wrote as follows:

          The only arguable substantive limitation of the Bail Clause is that the
          Government’s proposed conditions of release or detention not be
          ‘excessive’ in light of the perceived evil. Of course, to determine whether
          the Government’s response is excessive, we must compare that response
          against the interest the Government seeks to protect by means of that
          response. Thus, when the Government has admitted that its only interest
          is in preventing flight, bail must be set by a court at a sum designed to
          ensure that goal, and no more. Stack v. Boyle, supra. We believe that,
          when Congress has mandated detention on the basis of a compelling
          interest other than prevention of flight, as it has here, the 8th
          Amendment does not require release on bail. 46

  Thus, as explained in Galen v. County of Los Angeles, to determine excessiveness, one
  must

          look to the valid state interests bail is intended to serve for a particular
          individual and judge whether bail conditions are excessive for the
          purpose of achieving those interests. The state may not set bail to
          achieve invalid interests . . . nor in an amount that is excessive in relation
          to the valid interests it seeks to achieve.47

  Salerno thus tells us at least three important things. First, the law of Stack v. Boyle is still
  strong: when the state’s interest is assuring the presence of the accused, “[b]ail set at a
  figure higher than an amount reasonably calculated to fulfill this purpose is ‘excessive’
                                 48
  under the 8th Amendment.” The idea of “reasonable” calculation necessarily compels
  us to assess how judges are typically setting bail, which might be arbitrarily (such as
  through a bail schedule) or irrationally (such as through setting financial conditions to


  44
     Betsy Kushlan Wanger, Limiting Preventive Detention Through Conditional Release: The
  Unfulfilled Promise of the 1982 Pretrial Services Act, 97 Yale L. J. 323, 323-24 (1987-88) (internal
  citations omitted).
  45
     Paul Lermack, The Law of Recognizances in Colonial Pennsylvania, 50 Temp. L. Q. 475 at 497,
  505 (1977).
  46
     481 U.S. 739, 754-55 (1987).
  47
     477 F.3d 652, 660 (9th Cir. 2007) (internal citations omitted).
  48
     342 U.S. 1, 5 (1951).
                                                                                        55 | P a g e
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  protect the public when those conditions cannot be forfeited for breaches in public
  safety, or when they are otherwise not effective at achieving the lawful purposes for
  setting them, which recent research suggests).

  Second, financial conditions (i.e., amounts of money) are not the only conditions
  vulnerable to an excessive bail claim. Any unreasonable condition of release, including a
  nonfinancial condition, that has no relationship to mitigating an identified risk, or that
  exceeds what is needed to reasonably assure the constitutionally valid state interest,
  might be deemed constitutionally excessive.

  Third, the government must have a proper purpose for limiting pretrial freedom. This is
  especially important because scholars and courts (as well as Justice Douglas, again
  sitting as circuit justice) have indicated that setting bail with a purpose to detain an
  otherwise bailable defendant would be unconstitutional. In states where the bail/no bail
  dichotomy has been inadequately crafted, however, judges are doing precisely that.

  While the Court in Salerno upheld purposeful pretrial detention pursuant to the Bail
  Reform Act of 1984, it did so only because the statute contained “numerous procedural
  safeguards” that are rarely, if ever, satisfied merely through the act of setting a high
  money bond. Therefore, when a state has established a lawful method for preventively
  detaining defendants, setting financial conditions designed to detain otherwise bailable
  defendants outside of that method could still be considered an unlawful purpose.
  Purposeful pretrial detention through a process of the type endorsed by the United
  States Supreme Court is entirely different from purposeful pretrial detention done
  through setting unattainable financial conditions of release.

  When the United States Supreme Court says that conditions of bail must be set at a
  level designed to assure a constitutionally valid purpose for limiting pretrial freedom
  “and no more,” as it did in Salerno, then we must also consider the related legal
  principle of “least restrictive conditions” at bail. The phrase “least restrictive conditions”
  is a term of art expressly contained in the federal and District of Columbia statutes, the
  American Bar Association best practice standards on pretrial release, and other state
  statutes based on those Standards (or a reading of Salerno). Moreover, the phrase is
  implicit through similar language from various state high court cases articulating, for
  example, that bail may be met only by means that are “the least onerous” or that
  impose the “least possible hardship” on the accused.

  Commentary to the ABA Standard recommending release under the least restrictive
  conditions states as follows:


         This Standard's presumption that defendants should be released under
         the least restrictive conditions necessary to provide reasonable assurance
         they will not flee or present a danger is tied closely to the presumption
         favoring release generally. It has been codified in the Federal Bail Reform

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          Act and the District of Columbia release and pretrial detention statute, as
          well as in the laws and court rules of a number of states. The
          presumption constitutes a policy judgment that restrictions on a
          defendant's freedom before trial should be limited to situations where
          restrictions are clearly needed, and should be tailored to the
          circumstances of the individual case. Additionally, the presumption
          reflects a practical recognition that unnecessary detention imposes
          financial burdens on the community as well as on the defendant. 49

  The least restrictive principle is foundational, and is expressly reiterated throughout the
  ABA Standards when, for example, those Standards recommend citation release or
  summonses versus arrest. Moreover, the Standards’ overall scheme creating a
  presumption of release on recognizance, followed by release on nonfinancial conditions,
  and finally release on financial conditions is directly tied to this foundational premise.
  Indeed, the principle of least restrictive conditions transcends the Standards and flows
  from even more basic understandings of criminal justice, which begins with
  presumptions of innocence and freedom, and which correctly imposes increasing
  burdens on the government to incrementally restrict one’s liberty.

  More specifically, however, the ABA Standards’ commentary on financial conditions
  makes it clear that the Standards consider secured financial conditions to be more
  restrictive than both unsecured financial conditions and nonfinancial conditions: “When
  financial conditions are warranted, the least restrictive conditions principle requires that
                                           50
  unsecured bond be considered first.” Moreover, the Standards state, “Under Standard
  10-5.3(a), financial conditions may be employed, but only when no less restrictive non-
  financial release condition will suffice to ensure the defendant's appearance in court. An
  exception is an unsecured bond because such a bond requires no ‘up front’ costs to the
                                                                                 51
  defendant and no costs if the defendant meets appearance requirements.” These
  principles are well founded in logic: setting aside, for now, the argument that money at
  bail might not be of any use at all, it at least seems reasonably clear that secured
  financial conditions (requiring up-front payment) are always more restrictive than
  unsecured ones, even to the wealthiest defendant. Moreover, in the aggregate, we
  know that secured financial conditions, as typically the only condition precedent to
  release, are highly restrictive compared to all nonfinancial conditions and unsecured
  financial conditions in that they tend to cause pretrial detention. Like detention itself,
  any condition causing detention should be considered highly restrictive. In sum, money
  is a highly restrictive condition, and more so (and possibly excessive) when combined
  with other conditions that serve the same purpose.



  49
     American Bar Association Standards for Criminal Justice (3rd Ed.) Pretrial Release (2007), Std.
  10-1.2 (commentary) at 39-40 (internal citations omitted).
  50
     Id. Std. 10-1.4 (c) (commentary) at 43-44.
  51
     Id. Std. 10-5.3 (a) (commentary) at 112.
                                                                                        57 | P a g e
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               What Can the Juvenile Justice System Tell Us About Adult
                                        Bail?
            In addition to the fact that the United States Supreme Court relied heavily on Schall v.
            Martin, a juvenile preventive detention case, in writing its opinion in United States v.
            Salerno, an adult preventive detention case, the juvenile justice system has an
            impressive body of knowledge and research that can be used to inform the
            administration of bail for adults.

            Perhaps most relevant is the work being done through the Annie E. Casey Foundation’s
            Juvenile Detention Alternatives Initiative (JDAI), an initiative to promote changes to
            juvenile justice policies and practices to “reduce reliance on secure confinement,
            improve public safety, reduce racial disparities and bias, save taxpayers’ dollars, and
            stimulate overall juvenile justice reforms.”

            In remarks at the National Symposium on Pretrial Justice in 2011, Bart Lubow, Director
            of the Juvenile Justice Strategy Center of the Foundation, stated that JDAI used
            cornerstone innovations of adult bail to inform its work with juveniles, but through
            collaborative planning and comprehensive implementation of treatments designed to
            address a wider array of systemic issues, the juvenile efforts have eclipsed many adult
            efforts by reducing juvenile pretrial detention an average of 42% with no reductions in
            public safety measures.
            Sources and Resources: National Symposium on Pretrial Justice: Summary Report of
            Proceedings at 23-24 (Statement of Bart Lubow) (PJI/BJA 2011); Schall v. Martin, 467 U.S
            253 (1984); United States v. Salerno, 481 U.S. 739 (1987); Additional information may be
            found at the Annie E. Casey Foundation Website, found at http://www.aecf.org/.




            Bail May Not Be Set For Punishment (Or For Any Other Invalid Purpose)


  This principle is related to excessiveness, above, because analysis for excessiveness
  begins with looking at the government’s purpose for limiting pretrial freedom. It is more
  directly tied to the Due Process Clause, however, and was mentioned briefly in Salerno
  when the Court was beginning its due process analysis. In Bell v. Wolfish, the Supreme
  Court had previously written, “The Court of Appeals properly relied on the Due Process
  Clause, rather than the 8th Amendment, in considering the claims of pretrial detainees.
                                                                     52
  Due process requires that a pretrial detainee not be punished.” Again, there are
  currently only two constitutionally valid purposes for limiting pretrial freedom – court
  appearance and public safety. Other reasons, such as punishment or, as in some states,
  to enrich the treasury, are clearly unconstitutional. And still others, such as setting a
  financial condition to detain, are at least potentially so.


  52
       441 U.S. 520, 535 and n. 16 (1979).
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             The Bail Process Must Be Individualized


  In Stack v. Boyle, the Supreme Court wrote as follows:

             Since the function of bail is limited, the fixing of bail for any individual
             defendant must be based upon standards relevant to the purpose of
             assuring the presence of that defendant. The traditional standards, as
             expressed in the Federal Rules of Criminal Procedure [at the time, the
             nature and circumstances of the offense, the weight of the evidence
             against the defendant, and the defendant’s financial situation and
             character] are to be applied in each case to each defendant.53

  In his concurrence, Justice Jackson observed that if the bail in Stack had been set in a
  uniform blanket amount without taking into account differences between defendants, it
  would be a clear violation of the federal rules. As noted by Justice Jackson, “Each
                                                                 54
  defendant stands before the bar of justice as an individual.”

  At the time, the function of bail was limited to setting conditions of pretrial freedom
  designed to provide reasonable assurance of court appearance. Bail is still limited today,
  although the purposes for conditioning pretrial freedom have been expanded to include
  public safety in addition to court appearance. Nevertheless, pursuant to Stack, there
  must be standards in place relevant to these purposes. After Stack, states across
  America amended their statutes to include language designed to individualize bail
  setting for purposes of court appearance. In the second generation of bail reform, states
  included individualizing factors relevant to public safety. And today, virtually every state
  has a list of factors that can be said to be “individualizing criteria” relevant to the proper
  purposes for limiting pretrial freedom. To the extent that states do not use these
  factors, such as when over-relying on monetary bail bond schedules that merely assign
  amounts of money to charges for all or average defendants, the non-individualized bail
  settings are vulnerable to constitutional challenge.

  The concept of requiring standards to ensure that there exists a principled means for
  making non-arbitrary decisions in criminal justice is not without a solid basis under the
  U.S. Constitution. Indeed, such standards have been a fundamental precept of the
  Supreme Court’s death penalty jurisprudence under the cruel and unusual punishment
  clause of the 8th Amendment.




  53
       342 U.S. 1, 5 (1951) (internal citations omitted).
  54
       Id. at 9.
                                                                                       59 | P a g e
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          “The term [legal and evidence-based practices] is intended to reinforce
          the uniqueness of the field of pretrial services and ensure that criminal
          justice professionals remain mindful that program practices are often
          driven by law and when driven by research, they must be consistent with
          the pretrial legal foundation and the underlying legal principles.”

                                                          Marie VanNostrand, Ph.D., 2007



          The Right to Counsel


  This principle refers to the Sixth Amendment right of the accused to assistance of
  counsel for his or her defense. There is also a 5th Amendment right, which deals with
  the right to counsel during all custodial interrogations, but the 6th Amendment right
  more directly affects the administration of bail as it applies to all “critical stages” of a
  criminal prosecution. According to the Supreme Court, the 6th Amendment right does
  not attach until a prosecution is commenced. Commencement, in turn, is “the initiation
  of adversary judicial criminal proceedings – whether by way of formal charge,
                                                                     55
  preliminary hearing, indictment, information, or arraignment.” In Rothgery v. Gillespie
  County, the United States Supreme Court “reaffirm[ed]” what it has held and what “an
  overwhelming majority of American jurisdictions” have understood in practice: “a
  criminal defendant’s initial appearance before a judicial officer, where he learns the
  charge against him and his liberty is subject to restriction, marks the start of adversary
  judicial proceedings that trigger attachment of the Sixth Amendment right to
             56
  counsel.”

  Both the American Bar Association’s and the National Association of Pretrial Services
  Agencies’ best practice standards on pretrial release recommend having defense
  counsel at first appearances in every court, and important empirical data support the
  recommendations contained in those Standards. Noting that previous attempts to
  provide legal counsel in the bail process had been neglected, in 1998 researchers from
  the Baltimore, Maryland, Lawyers at Bail Project sought to demonstrate empirically
  whether or not lawyers mattered during bail hearings. Using a controlled experiment
  (with some defendants receiving representation at the bail bond review hearing and
  others not receiving representation) those researchers found that defendants with
  lawyers: (1) were over two and one-half times more likely to be released on their own
  recognizance; (2) were over four times more likely to have their initially-set financial
  conditions reduced at the hearing; (3) had their financial conditions reduced by a
  greater amount; (4) were more likely to have the financial conditions reduced to a more

  55
     See United States v. Gouveia, 467 U. S. 180, 188 (1984) (quoting Kirby v. Illinois, 406 U. S. 682,
  689 (1972) (plurality opinion)).
  56
     554 U.S. 191, 198, 213 (2008).
                                                                                         60 | P a g e
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  affordable level ($500 or under); (5) spent less time in jail (an average of two days
  versus nine days for unrepresented defendants); and (6) had longer bail bond review
  hearings than defendants without lawyers at first appearance.

          The Privilege Against Compulsory Self-Incrimination


  This foundational principle refers to the Fifth Amendment to the United States
  Constitution, applicable to the states through the Fourteenth Amendment (in addition
  to similar or equivalent state provisions), which says that no person “shall be compelled,
  in any criminal case, to be a witness against himself . . .” At bail there can be issues
  surrounding pretrial interviews as well as with incriminating statements the defendant
  makes while the court is setting conditions of release. In that sense, the principle against
  compulsory self-incrimination is undoubtedly linked to the right to counsel in that
  counsel can help a particular defendant fully understand his or her other rights.

          Probable Cause


  Black’s Law Dictionary defines probable cause as reasonable cause, or a reasonable
  ground to suspect that a person has committed or is committing a crime or that a place
  contains specific items connected with a crime. Probable cause sometimes refers to
  having more evidence for than against. It is a term of art in criminal procedure referring
  to the requirement that arrests be based on probable cause. Probable cause to arrest is
  present when “at that moment [of the arrest] the facts and circumstances within [the
  officers’] knowledge and of which they had reasonably trustworthy information were
  sufficient to warrant a prudent man in believing that the [person] had committed or was
                           57                                       58
  committing an offense.” In County of Riverside v. McLaughlin, the Supreme Court
  ruled that suspects who are arrested without a warrant must be given a probable cause
  hearing within 48 hours.

  As the arrest or release decision is technically one under the umbrella of a broadly
  defined bail or pretrial process, practices surrounding probable cause or the lack of it
  are crucial for study. Interestingly, because a probable cause hearing is a prerequisite
                                                          59
  only to “any significant pretrial restraint of liberty,” jurisdictions that employ bail
  practices that are speedy and result in a large number of releases using least restrictive
  conditions (such as the District of Columbia) may find that they need not hold probable
  cause hearings for every arrestee prior to setting bail.




  57
     Beck v. Ohio, 379 U.S. 89, 91 (1964).
  58
     500 U.S. 44 (1991).
  59
     Gerstein v. Pugh, 420 U.S. 103, 125 (1975).
                                                                                61 | P a g e
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  Other Legal Principles


  Of course, there are other legal principles that are critically important to defendants
  during the pretrial phase of a criminal case, such as certain rights attending trial,
  evidentiary rules and burdens of proof, the right to speedy trial, and rules affecting
  pleas. Moreover, there are principles that arise only in certain jurisdictions; for example,
  depending on which state a person is in, using money to protect public safety may be
  expressly unlawful and thus its prohibition may rise to the level of other, more universal
  legal principles beyond its inferential unlawfulness due to its irrationality. Nevertheless,
  the legal foundations listed above are the ones most likely to arise in the administration
  of bail. It is thus crucial to learn them and to recognize the issues that arise within them.

  What Do the Legal Foundations of Pretrial Justice Tell Us?


  Pretrial legal foundations provide the framework and the boundaries within which we
  must work in the administration of bail. They operate uniquely in the pretrial phase of a
  criminal case, and together should serve as a cornerstone for all pretrial practices; they
  animate and inform our daily work and serve as a visible daily backdrop for our pretrial
  thoughts and actions.

  For the most part, the legal foundations confirm and solidify the history of bail. The
  history of bail tells us that the purpose of bail is release, and the law has evolved to
  strongly favor, if not practically demand the release of bailable defendants as well as to
  provide us with the means for effectuating the release decision. The history tells us that
  “no bail” is a lawful option, and the law has evolved to instruct us on how to fairly and
  transparently detain unbailable defendants. History tells us that court appearance and
  public safety are the chief concerns of the bail determination, and the law recognizes
  each as constitutionally valid purposes for limiting pretrial freedom.

  The importance of the law in “legal and evidence-based practices” is unquestioned.
  Pretrial practices, judicial decision making (for judges are sworn to uphold the law and
  their authority derives from it), and even state bail laws themselves must be continually
  held up to the fundamental principles of broad national applicability for legal legitimacy.
  Moreover, the law acts as a check on the evidence; a pretrial practice, no matter how
  effective, must always bow to the higher principles of equal justice, rationality, and
  fairness. Finally, the law provides us with the fundamental goals of the pretrial release
  and detention decision. Indeed, if evidence-based decision making is summarized as
  attempting to achieve the goals of a particular discipline by using best practices,
  research, and evidence, then the law is critically important because it tells us that the
  goals of bail are to maximize release while simultaneously maximizing court appearance
  and public safety. Accordingly, all of the research and pretrial practices must be

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  continually questioned as to whether they inform or further these three inter-related
  goals. In the next section, we will examine how the evolution of research at bail has, in
  fact, informed lawful and effective bail decision making.

  Additional Sources and Resources: Black’s Law Dictionary (9th ed. 2009); Douglas L.
  Colbert, Ray Paternoster, & Shawn Bushway, Do Attorneys Really Matter? The Empirical
  and Legal Case for the Right to Counsel at Bail, 32 Cardozo L. Rev. 1719 (2002); Early
  Appointment of Counsel: The Law, Implementation, and Benefits (Sixth Amend. Ctr./PJI
  2014); Wayne R. LaFave, Jerold H. Israel, Nancy J. King and Orin S. Kerr, Criminal
  Procedure (3rd ed. 2007 & 5th ed. 2009); Jack K. Levin & Lucan Martin, 8A American
  Jurisprudence 2d, Bail and Recognizance (West 2009); Timothy R. Schnacke, Michael R.
  Jones, & Claire M. B. Brooker, Glossary of Terms and Phrases Relating to Bail and the
  Pretrial Release or Detention Decision (PJI 2011); Marie VanNostrand, Legal and
  Evidence-Based Practices: Applications of Legal Principles, Laws, and Research to the
  Field of Pretrial Services (CJI/NIC 2007); 3B Charles Allen Wright & Peter J. Henning,
  Federal Practice and Procedure §§ 761-87 (Thomson Reuters 2013).




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  Chapter 4: Pretrial Research

  The Importance of Pretrial Research


  Research allows the field of bail and pretrial justice to advance. Although our concepts
  of proper research have certainly changed over the centuries, arguably no significant
  advancement in bail or pretrial justice has ever occurred without at least some minimal
  research, whether that research was legal, historical, empirical, opinion, or any other
  way of better knowing things. This was certainly true in England in the 1200s, when
  Edward I commissioned jurors to study bail and used their documented findings of
  abuse to enact the Statute of Westminster in 1275. It is especially true in America in the
  20th century, when research was the catalyst for the first two generations of bail reform
  and has arguably sparked a third.

  While other research disciplines are important, the current workhorse of the various
  methods in bail is social research. According to noted sociologists Earl Babbie and Lucia
  Benaquisto, social research is important because we often already know the answers to
  life’s most pressing problems, but we are still unable to solve them. Social science
  research provides us with the solutions to these problems by telling us how to organize
  and run our social affairs by analyzing the forms, values, and customs that make up our
  lives. This is readily apparent in bail, where many of the solutions to current problems
  are already known; social science research provides help primarily by illuminating how
  we can direct our social affairs so as to fully implement those solutions. By continually
  testing theories and hypotheses, social science research finds incremental explanations
  that simplify a complex life, and thus allows us to solve confounding issues such as how
  to reduce or eliminate unnecessary pretrial detention.

            “We can’t solve our social problems until we understand how they come
            about, persist. Social science research offers a way to examine and
            understand the operation of human social affairs. It provides points of
            view and technical procedures that uncover things that would otherwise
            escape our awareness.”

                                                 Earl Babbie & Lucia Benaquisto, 2009



  Like history and the law, social science research and the law are growing more and more
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  entwined. In the 1908 case of Muller v. Oregon, Louis Brandeis submitted a
  voluminous brief dedicated almost exclusively to social science research indicating the

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       Muller v. Oregon, 208 U.S. 412 (1908).
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  negative effects of long work hours on women. This landmark instance of the use of
  social research in the law, ultimately dubbed a “Brandeis brief,” became the model for
  many legal arguments thereafter. One need only read the now famous footnote 11 of
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  the Supreme Court’s opinion in Brown v. Board of Education, which ended racial
  segregation in America’s schools and showed the detrimental effects of segregation on
  children, to understand how social science research can significantly shape our laws.

  Social science research and the law are especially entwined in criminal justice and bail.
  Perhaps no single topic ignites as deep an emotional response as crime – how to
  understand it, what to do about it, and how to prevent it. And bail, for better or worse,
  ignites the same emotional response. Moreover, bail is deceptively complex because it
  superimposes notions of a defendant’s freedom and the presumption of innocence on
  top of our societal desires to bring defendants to justice and to avoid pretrial
  misbehavior. Good social science research can aid us in simplifying the topic by
  answering questions surrounding the three legal and historical goals of bail and
  conditions of bail. Specifically, social science pretrial research tells us what works to
  simultaneously: (1) maximize release; (2) maximize public safety; and (3) maximize court
  appearance.

  Because of the complex balance of bail, research that addresses all three of these goals
  is superior to research that does not. For example, studies showing only the
  effectiveness of release pursuant to a commercial surety bond at ultimately reducing
  failures to appear (whether true or not) is less helpful than also knowing how those
  bonds do or do not affect public safety and tend to detain otherwise bailable
  defendants. It is helpful to know that pretrial detention causes negative long-term
  effects on defendants; it is more helpful to learn how to reduce those effects while
  simultaneously keeping the community safe. It is helpful to know a defendant’s risk
  empirically; it is more helpful to know how to best embrace risk so as to facilitate
  release and then to mitigate known risk to further the constitutionally valid purposes for
  limiting pretrial freedom.

  Nevertheless, some research is always better than no research, even if that research is
  found on the lowest levels of an evidence-based decision making hierarchy of evidence
  pyramid. And that is simply because we are already making decisions every day at bail,
  often with no research at all, and typically based on customs and habits formed over
  countless decades of uninformed practice. To advance our policies, practices, and laws,
  we must at least become informed consumers of pretrial research. We must recognize
  the strengths and limitations of the research, understand where it is coming from, and
  even who is behind creating it. Ultimately, however, we must use it to help solve what
  we perceive to be our most pressing problems at bail.




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       Brown v. Board of Education, 347 U.S. 483 (1954).
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             Research in the Context of Legal and Evidence-Based
                                  Practices
       The term “evidence-based practices” is common to numerous professional fields. As
       noted earlier, however, due to the unique nature of the pretrial period of a criminal
       case as well as the importance of legal foundations to pretrial decision making, Dr.
       Marie VanNostrand has more appropriately coined the term “legal and evidence-based
       practices” for the pretrial field. Legal and evidence-based practices are defined as
       “interventions and practices that are consistent with the pretrial legal foundation,
       applicable laws, and methods research has proven to be effective in decreasing failures
       to appear in court and danger to the community during the pretrial stage.”

       In addition to holding up practices and the evidence behind them to legal foundations,
       to fully follow an evidence-based decision making model jurisdictions must also
       determine how much research is needed to make a practice “evidence-based.”
       According to the U.S. Department of Health and Human Services (HHS), this is done
       primarily by assessing the strength of the evidence indicating that the practice leads to
       the desired outcome. To help with making this assessment, many fields employ the use
       of graphics indicating the varying “strength of evidence” for the kinds of data or
       research they are likely to use. For example, the Colorado Commission on Criminal and
       Juvenile Justice, a statewide commission that focuses on evidence-based recidivism
       reduction and cost-effective criminal justice expenditures, refers to the strength of
       evidence pyramid, below, which was developed by HHS’s Substance Abuse and Mental
       Health Services Administration’s Co-Occurring Center for Excellence (COCE).




       As one can see, the levels vary in strength from lower to higher, with higher levels more
       likely to illuminate research that works better to achieve the goals of a particular field.

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       As noted by the COCE, “Higher levels of research evidence derive from literature
       reviews that analyze studies selected for their scientific merit in a particular treatment
       area, clinical trial replications with different populations, and meta-analytic studies of a
       body of research literature. At the highest level of the pyramid are expert panel reviews
       of the research literature.”

       Sources and Resources: Marie VanNostrand, Legal and Evidence-Based Practices:
       Applications of Legal Principles, Laws, and Research to the Field of Pretrial Services
       (CJI/NIC 2007); Information gathered from the Colorado Commission on Criminal and
       Juvenile Justice website, found at http://www.colorado.gov/cs/Satellite/CDPS-
       CCJJ/CBON/1251622402893; Understanding Evidence-Based Practices for Co-Occurring
       Disorders (SAMHSA’s CORE) contained in SAMHSA’s website, found online at
       http://www.samhsa.gov/co-occurring/topics/training/OP5-Practices-8-13-07.pdf.




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  Research in the Last 100 Years: The First Generation

  If we focus on just the last 100 years, we see that major periods of bail research in
  America have led naturally to more intense periods of reform resulting in new policies,
  practices, and laws. Although French historian Alexis de Tocqueville informally
  questioned America’s continued use of money bail in 1835, detailed studies of bail
  practices in America had their genesis in the 1920s, first from Roscoe Pound and Felix
  Frankfurter’s study of criminal justice in Cleveland, Ohio, and then from Arthur Beeley’s
  now famous study of bail in Chicago, Illinois. Observing secured-money systems
  primarily administered through the use of commercial bail bondsmen (that had really
  only existed since 1898), both of those 1920s studies found considerable flaws in the
  current way of administering bail. Beeley’s seminal statement of the problem in 1927,
  made at the end of a painstakingly detailed report, is still relevant today:

             [L]arge numbers of accused, but obviously dependable persons are
             needlessly committed to Jail; while many others, just as obviously
             undependable, are granted a conditional release and never return for
             trial. That is to say, the present system, in too many instances, neither
             guarantees security to society nor safeguards the rights of the accused.
             The system is lax with those with whom it should be stringent and
             stringent with those with whom it could safely be less severe.62

  Pound, Frankfurter, and Beeley began a period of bail research, advanced significantly
  by Caleb Foote in the 1950s, that culminated in the first generation of bail reform in the
  1960s. That research consisted of several types – for example, one of the most
  important historical accounts of bail was published in 1940 by Elsa de Haas. But the
  most significant literature consisted of social science studies observing and
  documenting the deficiencies of the current system. As noted by author Wayne H.
  Thomas, Jr.,

             [These] studies had shown the dominating role played by bondsmen in
             the administration of bail, the lack of any meaningful consideration to the
             issue of bail by the courts, and the detention of large numbers of
             defendants who could and should have been released but were not
             because bail, even in modest amounts, was beyond their means. The
             studies also revealed that bail was often used to ‘punish’ defendants
             prior to a determination of guilt or to ‘protect’ society from anticipated
             future conduct, neither of which is a permissible purpose of bail; that
             defendants detained prior to trial often spent months in jail only to be
             acquitted or to receive a suspended sentence after conviction; and that


  62
       Arthur L. Beeley, The Bail System in Chicago, at 160 (Univ. of Chicago Press, 1927).
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            jails were severely overcrowded with pretrial detainees housed in
            conditions far worse than those of convicted criminals. 63

  Clearly, the most impactful of this period’s research was so-called “action research,” in
  which bail practices were altered and outcomes measured in pioneering “bail projects”
  to study alternatives to the secured bond/commercial surety system of release. Perhaps
  the most well-known of these endeavors was the Manhattan Bail Project, conducted by
  the Vera Foundation (now the Vera Institute of Justice) and the New York University Law
  School beginning in 1960. The Manhattan Bail Project used an experimental design to
  demonstrate that given the right information, judges could release more defendants
  without the requirement of a financial bond condition and with no measurable impact
  on court appearance rates. At that time in American history, bail had only two goals – to
  release defendants while simultaneously maximizing court appearance – because public
  safety had not yet been declared a constitutionally valid purpose for limiting pretrial
  freedom. The Manhattan Bail Project was significant because it worked to achieve both
  of the existing goals. Based on the information provided by Vera, release rates increased
  while court appearance rates remained high.




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       Wayne H. Thomas, Jr., Bail Reform in America at 15 (Univ. Cal. Press 1976).
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                            Caleb Foote’s Unfulfilled Prediction
                                 Concerning Bail Research

         At the National Conference on Bail and Criminal Justice in 1964, Professor of Law Caleb
         Foote explained to attendees that courts would likely move from their “wholly passive
         role” during the first generation of bail reform to a more active one, saying, “Certainly
         courts are not going to be immune to the sense of basic unfairness which alike has
         motivated scholarly research, foundation support for bail action projects, the Attorney
         General’s Committee on Poverty, and your attendance at this Conference.” Noting the
         lack of any definitive empirical evidence showing that pretrial detention alone adversely
         affected the quality of treatment given to criminal defendants, Foote nonetheless cited
         current studies attempting to show that very thing, and predicted:

         “If it comes to be generally accepted that in the outcome of his case the jailed
         defendant is prejudiced compared with the defendant who has pretrial liberty, such a
         finding will certainly have a profound impact upon any judicial consideration of
         constitutional bail questions. It was such impermissible prejudicial effects, stemming
         from poverty, which formed the basis of the due process requirement of counsel in
         Gideon v. Wainwright.”

         Since then, numerous studies have highlighted the prejudicial effects of pretrial
         detention, with the research consistently demonstrating that when compared to
         defendants who are released, defendants detained pretrial – all other things being equal
         – plead guilty more often, are convicted more often, get sentenced to prison more
         often, and receive longer sentences. And yet, despite this overwhelming research,
         Foote’s prediction of increased judicial interest and activity in the constitutional issues
         of bail has not come true.
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         Sources and Resources: American Bar Association Standards for Criminal Justice (3 Ed.)
         Pretrial Release at 29 n. 1 (2007) (citing studies); John Clark, Rational and Transparent
         Bail Decision Making: Moving From a Cash-Based to a Risk-Based Process, at 2
         (PJI/MacArthur Found. 2012) (same); The National Conference on Bail and Criminal
         Justice, Proceedings and Interim Report, at 224-25 (Washington, D.C. April 1965);




  The Manhattan Bail Project was the center of discussion of bail reform at the 1964
  National Conference on Bail and Criminal Justice, which in turn led to changes in both
  federal and state laws designed to facilitate the release of bailable defendants who
  were previously unnecessarily detained. Those changes included presumptions for
  release on recognizance, release on unsecured bonds (like those used for centuries in
  England and America prior to the 1800s), release on “least restrictive” nonfinancial
  conditions, and additional constraints on the use of secured money bonds. The
  improvements were, essentially, America’s attempt to solve the early 20th century’s
  dilemma of bailable defendants not being released – a dilemma that, historically
  speaking, has always demanded correction.



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  The Second Generation

  Research flowing toward the second generation of pretrial reform in America followed
  the same general pattern of identifying abuses or areas in need of improvement and
  then gradually creating a meeting of minds on practical solutions to those abuses. In
  that generation, though, the identified “abuse” dealt primarily with the “no bail” side of
  the “bail/no bail” dichotomy – the side that determines who should not be released at
  all. As summarized by Senator Edward Kennedy in 1980,

         Historically, bail has been viewed as a procedure designed to ensure the
         defendant’s appearance at trial by requiring him to post a bond or, in
         effect, make a promise to appear. Current findings, suggest, however,
         that this traditional approach, though noble in design, has one important
         shortcoming. It fails to deal effectively with those defendants who
         commit crimes while they are free on bail.64

  Indeed, for nearly 1,500 years, the only acceptable purpose for limiting pretrial freedom
  was to assure that the defendant performed his or her duty to face justice, which
  ultimately came to mean appearing for court. Even when crafting their constitutional
  and statutory exceptions to any recognized right to bail, the states and the federal
  government had always done so with an eye toward court appearance. To some,
  limiting freedom based on future dangerousness was un-American, more akin to
  tyrannical practices of police states, and contrary to all notions of fundamental human
  rights. Indeed, there was considerable debate over whether it could ever be
  constitutional to do so.

  Nevertheless, many judges felt compelled to respond to legitimate fears for public
  safety even if the law did not technically allow for it. Accordingly, those judges often
  followed two courses of action when faced with obviously dangerous defendants who
  perhaps posed virtually no risk of flight: (1) if those defendants happened to fall in the
  categories listed as “no bail,” judges could deny their release altogether; (2) if they did
  not fall into a “no bail” category, judges could and would set high monetary conditions
  of bail to effectively detain the defendant. The practice of detaining persons for public
  safety, or preventive detention, was known at the time as furthering a “sub rosa” or
  secret purpose for limiting freedom, and it was done with little interference from the
  appellate courts.

  The research leading to reform in this area was multifaceted. Law reviews published
  articles on the right to bail, the Excessive Bail Clause, and on due process concerns.
  Historians examined the right to bail in England and America to determine if and how it
  could be restricted or even denied altogether for purposes of public safety. Politicians

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    Edward M. Kennedy, A New Approach to Bail Release: The Proposed Federal Criminal Code
  and Bail Reform, 48 Fordham L. Rev. 423, 423 (1980) (internal footnotes omitted).
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  and others looked to the experiences of states that had already changed their laws to
  account for public safety and danger. And social scientists documented what Congress
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  ultimately called “the alarming problem of crimes committed by persons on release”
  by conducting empirical studies of pretrial release and re-arrest rates in a number of
  American jurisdictions.

  Ultimately, this research led to dramatic changes in the administration of bail. Congress
  passed the Bail Reform Act of 1984, which expanded the law to allow for direct, fair, and
  transparent detention of certain dangerous defendants after a due process hearing. In
  United States v. Salerno, the Supreme Court upheld the Act, giving constitutional validity
  to public safety as a limitation on pretrial freedom. If they had not already done so,
  many states across the country changed their statutes and constitutions to allow
  consideration of dangerousness in the release and detention decision and by re-defining
  the “no bail” side of their schemes to better reflect which defendants should be denied
  the right to bail altogether.




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       S. Rep. No. 98-225, P. L. 98-473 p. 3 (1983).
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  The Third Generation

  The previous generations of bail research have followed the pattern of identifying
  abuses or issues of concern and then finding consensus on solutions, and the current
  generation is no different. Some of the research in this generation of bail reform is
  merely a continuation of studies begun in previous generations. For example, a body of
  literature examining the effects of pretrial detention on ultimate outcomes of cases
  (guilty pleas, sentences, etc.) began in the 1950s and has continued to this day. As
  another example, after Congress passed the Bail Reform Act of 1966, pretrial services
  programs gradually expanded from the “bail projects” of the early 1960s to more
  comprehensive agencies designed to carry out the mandates of new laws requiring risk
  assessment and often supervision of pretrial defendants. As these programs evolved, a
  body of research began to develop around their practices. In 1973, the National
  Association of Pretrial Services Agencies (NAPSA) was founded to, among other things,
  promote research and development in the field. In 1976, NAPSA and the Department of
  Justice created the Pretrial Services Resource Center (PSRC, now the Pretrial Justice
  Institute), an entity also designed to, among other things, collect and disseminate
  research and information relevant to the pretrial field. The data collected by these
  entities over the years, in addition to the numerous important reports they have issued
  analyzing that data, have been instrumental sources of fundamental pretrial research.




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           A Meeting of Minds – Who is Currently In Favor of Pretrial
                               Improvements?
         The following national organizations have produced express policy statements generally
         supporting the use of evidence-based and best pretrial practices, which include risk
         assessment and fair and transparent preventive detention, at the front end of the
         criminal justice system:

         The Conference of Chief Justices

         The Conference of State Court Administrators

         The National Association of Counties

         The International Association of Chiefs of Police

         The Association of Prosecuting Attorneys

         The American Council of Chief Defenders

         The National Association of Criminal Defense Lawyers

         The American Jail Association

         The American Bar Association

         The National Judicial College

         The National Sheriff’s Association

         The American Probation and Parole Association

         The National Association of Pretrial Services Agencies

         In addition, numerous other organizations and individuals are lending their support or
         otherwise partnering to facilitate pretrial justice in America. For a list of just those
         organizations participating in the Pretrial Justice Working Group, created in the wake of
         the       National       Symposium          on       Pretrial    Justice,      go      to
         http://www.pretrial.org/infostop/pjwg/


  As another example, in 1983, the PSRC – with funding from the Bureau of Justice
  Statistics (BJS) – initiated the National Pretrial Reporting Program, which was designed
  to create a national pretrial database by collecting local bail data and aggregating it at
  the state and national levels. In 1994, that program became BJS’s State Court Processing
  Statistics (SCPS) program, which collected data on felony defendants in jurisdictions
  from the 75 most populous American counties. Research documents analyzing that
  data, including the Felony Defendants from Large Urban Counties series, and Pretrial
  Release of Felony Defendants in State Courts, have become crucial, albeit sometimes
  misinterpreted sources of basic pretrial data, such as defendant charges and
  demographics, case outcomes, types of release and release rates, financial condition
  amounts, and basic information on pretrial misconduct. Most recently, BJS asked the

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  Urban Institute to re-design and re-develop the National Pretrial Reporting Program as a
  replacement to SCPS.




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                   An Unusual, But Necessary, Research Warning
       Since 1988, the Bureau of Justice Statistic’s (BJS) State Court Processing Statistics (SCPS)
       program (formerly the National Pretrial Reporting Program) has been an important
       source of data on criminal processing of persons charged with felonies in the 75 most
       populous American counties. Issues surrounding pretrial release, in particular, have been
       tempting topics for study due to the SCPS’s inclusion of data indicating whether
       defendants were released pretrial, the type of release (e.g., personal recognizance,
       surety bond), and whether the defendant misbehaved while on pretrial release. In some
       cases, researchers would use the SCPS data to make “evaluative” statements, that is,
       statements declaring that a particular type of release was superior to another based on
       the data showing pretrial misbehavior associated with each type. Moreover, when these
       studies favored the commercial bail bonding and insurance industry, that industry would
       repeat the researcher’s evaluative statements (as well as make their own statements
       based on their own reading of the SCPS data), and claim that the data demonstrated that
       the use of a commercial surety bond was a superior form of release.

       According to Bechtel, et.al, (2012) “The bonding industry’s claims based on the SCPS data
       became so widespread that BJS was compelled to take the unusual and unprecedented
       step of issuing a ‘Data Advisory.’” That advisory, issued in March of 2010, listed the
       limitations of the SCPS data, and specifically warned that, “Any evaluative statement
       about the effectiveness of a particular program in preventing pretrial misconduct based
       on SCPS is misleading.”




       Despite the warning, there are those who persist in citing SCPS data to convince policy
       makers or others about the effectiveness of one type of release over another. Both
       Bechtel, et al., and VanNostrand, et al., have listed flaws in the various studies using the
       data and have given compelling reasons for adopting a more discriminating attitude
       whenever persons or entities begin comparing one type of release with another.

       As mentioned in the body of this paper, the best research at bail, which will undoubtedly
       include future efforts at comparing release types, must not only comply with the rigorous
       standards necessary so as not to violate the BJS Data Advisory, but should also address all
       three legal and evidence-based goals underlying the bail decision, which include
       maximizing release while maximizing public safety and court appearance.



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         Sources and Resources: Kristin Bechtel, John Clark, Michael R. Jones, & David J. Levin,
         Dispelling the Myths, What Policy Makers Need to Know About Pretrial Research (PJI,
         2012); Thomas Cohen & Tracey Kyckelhahn, Data Advisory: State Court Processing
         Statistics Data Limitations (BJS 2010); Marie VanNostrand, Kenneth J. Rose, & Kimberly
         Weibrecht, State of the Science of Pretrial Release Recommendations and Supervision
         (PJI/BJA 2011).


  Finally, a related body of ongoing research derives simply from pretrial services agencies
  and programs measuring themselves, which can be a powerful way to present and use
  data to affect pretrial practices. In 2011, the NIC published Measuring What Matters:
  Outcome and Performance Measures for the Pretrial Services Field, which proposed
  standardized definitions and uniform suggested measures consistent with established
  pretrial standards to “enable pretrial services agencies to gauge more accurately their
                                                                         66
  programs’ effectiveness in meeting agency and justice system goals.” Broadly
  speaking, standardized guidelines and definitions for documenting performance
  measures and outcomes enables better communication and leads to better and more
  coordinated research efforts overall.

  Other research flowing toward this current generation of pretrial reform, akin to Arthur
  Beeley’s report on Chicago bail practices, has been primarily observational. That
  research, such as some of the multifaceted analyses performed in Jefferson County,
  Colorado, in 2007-2010, merely examines system practices to assess whether those
  practices or even the current laws can be improved. Other entities, such as Human
  Rights Watch and the Justice Policy Institute, have created similar research documents
  that include varying ratios of observational and original research. On the other hand,
  another body of this generation’s research goes far beyond observation and uses large
  data sets and complex statistical tests to create empirical pretrial risk instruments that
  provide scientific structure and meaning to current lists dictating the factors judges
  must consider in the release and detention decision.

  In between is a body of research most easily identified by topic, but sometimes
  associated best with the person or entity producing it. For example, throughout the
  years researchers have been interested in analyzing judicial discretion and guided
  discretion in the decision to release, and so one finds numerous papers and studies
  examining that issue. In particular, though, Dr. John Goldkamp spent much of his
  distinguished academic career focusing on judicial discretion in the pretrial release
  decision, and published numerous important studies on his findings. Likewise, other
  local jurisdictions have delved deep into their own systems to look at a variety of issues
  associated with pretrial release and detention, but perhaps none have done so as
  consistently and thoroughly as the New York City Criminal Justice Agency, and its
  research continues to inspire and inform the nation.


  66
    Measuring What Matters: Outcome and Performance Measures for the Pretrial Services Field
  (NIC 2011) at v.
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  Other topics of interest in this generation of reform include racial disparity, cost benefit
  analyses affecting pretrial practices, training police officers for first contacts and effects
  of that training on pretrial outcomes, citation release, the legality and effectiveness of
  monetary bail schedules, pretrial processes and outcomes measurements, re-entry from
  jail to the community, bail bondsmen and bounty hunters, special populations such as
  those with mental illness or defendants charged with domestic violence, and gender
  issues. Prominent organizations consistently working on publishing pretrial research
  literature include various agencies within the Department of Justice, including the
  National Institute of Corrections, the Bureau of Justice Assistance, the Bureau of Justice
  Statistics, and the National Institute of Justice. Other active entities include the Pretrial
  Justice Institute, the National Association of Counties, the United States Probation and
  Pretrial Services, the Pretrial Services Agency for the District of Columbia, the Vera
  Institute, the Urban Institute, and the Justice Policy Institute. Other organizations, such
  as the International Association of Chiefs of Police, the National Association of Drug
  Court Professionals, National Council on Crime and Delinquency, the Council of State
  Governments, the Pew Research Center, the American Probation and Parole
  Association, and various colleges and universities have also become actively involved in
  pretrial issues.

  Along with these entities are a number of individuals who have consistently led the
  pretrial field by devoting much or all of their professional careers on pretrial research,
  such as Dr. John Goldkamp, D. Alan Henry, Dr. Marie VanNostrand, Dr. Christopher
  Lowenkamp, Dr. Alex Holsinger, Dr. James Austin, Dr. Mary Phillips, Dr. Brian Reaves, Dr.
  Thomas Cohen, Dr. Edward J. Latessa, Timothy Cadigan, Spurgeon Kennedy, John Clark,
  Kenneth J. Rose, Barry Mahoney, and Dr. Michael Jones. Often these individuals are
  sponsored by generous philanthropic foundations interested in pretrial justice, such as
  the Public Welfare Foundation and the Laura and John Arnold Foundation.

                                    Public Opinion Research
         An important subset of criminal justice research is survey research, which can include
         collecting data to learn how people feel about crime or justice policy. For example, in
         2012 the PEW Center on the States published polling research by Public Opinion
         Strategies and the Mellman Group showing that while people desire public safety and
         criminal accountability, they also support sentencing and corrections reforms that
         reduce imprisonment, especially for non-violent offenders. In 2009, the National
         Institute of Corrections reported a Zogby International poll similarly showing that 87% of
         those contacted would support research-based alternatives to jail to reduce recidivism
         for non-violent persons.

         Very little of this type of research had been done in the field of pretrial release and
         detention, but in 2013 Lake Research Partners released the results of a nationwide poll
         focusing on elements of the current pretrial reform movement. That research found
         “overwhelming support” for replacing a cash-based bonding system with risk-based
         screening tools. Moreover, that support was high among all demographics, including
         gender, age, political party identification, and region. Interestingly too, most persons
         polled were unaware of the current American situation, with only 36% of persons


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       understanding that empirical risk assessment was not currently happening in most
       places.

       Sources and Resources: A Framework for Evidence-Based Decision Making in Local
       Criminal Justice Systems (NIC, 2010); Support for Risk Assessment Programs Nationwide
       (Lake           Research           Partners            2013)         found         at
       http://www.pretrial.org/download/advocacy/Support%20for%20Risk%20Assessment%2
       0Nationwide%20-%20Lake%20Research%20Partners.pdf. Public Opinion on Sentencing
       and Corrections Policy in America (Public Opinion Strategies/Mellman Group 2012)
       found                                                                              at
       http://www.pewstates.org/uploadedFiles/PCS_Assets/2012/PEW_NationalSurveyResea
       rchPaper_FINAL.pdf;




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  All of this activity brings hope to a field that has recently been described as significantly
  limited in its research agenda and output. In 2011, the Summary Report to the National
  Symposium on Pretrial Justice listed four recommendations related to a national
  research agenda: (1) collect a comprehensive set of pretrial data needed to support
  analysis, research, and reform through the Bureau of Justice Statistics; (2) embark on
  comprehensive research that results in the identification of proven best pretrial
  practices through the National Institute of Justice; (3) develop and seek funding for
  research proposals relating to pretrial justice; and (4) prepare future practitioners and
  leaders to effectively address pretrial justice issues in a fair, safe, and effective manner.

  In the wake of the Symposium, the Department of Justice’s Office of Justice Programs
  (OJP) convened a Pretrial Justice Working Group, a standing, multidisciplinary group
  created to collaboratively address national challenges to moving toward pretrial reform.
  The Working Group, in turn, established a “Research Subcommittee,” which was created
  to stimulate detailed pretrial data collection, increase quantitative and qualitative
  pretrial research, support existing OJP initiatives dealing with evidence-based practices
  in local justice systems, and develop pretrial justice courses of studies in academia. Due
  in part to that Subcommittee’s purposeful focus, its members have begun a coordinated
  effort to identify pretrial research needs and to develop research projects designed
  specifically to meet those needs. Accordingly, across America, we are seeing great
  progress in both the interest and the output of pretrial research.

         “Research is formalized curiosity. It is poking and prying with a purpose.”

                                                             Zora Neale Hurston, 1942

  However, there are many areas of the pretrial phase of a defendant’s case that are in
  need of additional helpful research. For example, while Professor Doug Colbert has
  created groundbreaking and important research on the importance of defense
  attorneys at bail, and while the Kentucky Department of Public Advocacy has put that
  research into practice through a concentrated effort toward advancing pretrial
  advocacy, there is relatively little else on this very important topic. Similarly, other areas
  under the umbrella of pretrial reform, such as a police officer’s decision to arrest or cite
  through a summons, the prosecutor’s decision to charge, early decisions dealing with
  specialty courts, and diversion, suffer from a relative lack of empirical research. This is
  true in the legal field as well, as only a handful of scholars have recently begun to focus
  again on fundamental legal principles or on how state laws can help or hinder our intent
  to follow evidence-based pretrial practices. In sum, there are still many questions that, if
  answered through research, would help guide us toward creating bail systems that are
  the most effective in maximizing release, public safety, and court appearance.
  Moreover, there exists today even a need to better compile, categorize, and
  disseminate the research that we do have. To that end, both the National Institute of
  Justice and the Pretrial Justice Institute have recently created comprehensive
  bibliographies on their websites.


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  Current Research – Special Mention

  One strand of current pretrial research warranting special mention, however, is research
  primarily focusing on one or both of the two following categories: (1) empirical risk
  assessment; and (2) the effect of release type on pretrial outcomes, including the more
  nuanced question of the effect of specific conditions of release on pretrial outcomes.
  The two topics are related, as often the data sets compiled to create empirical risk
  instruments contain the sort of data required to answer the questions concerning
  release type and conditions as well as the effects of conditional release or detention on
  risk itself. The more nuanced subset of how conditions of release affect pretrial
  outcomes can become quite complicated when we think about differential supervision
  strategies including questions of dosage, e.g., how much drug testing must we order (if
  any) to achieve the optimal pretrial court appearance and public safety rates?

  Empirical Risk Assessment Instruments

  Researchers creating empirical pretrial risk assessment instruments take large amounts
  of defendant data and identify which specific factors are statistically related and how
  strongly they are related to defendant pretrial misconduct. Ever since the mid-20th
  century, primarily in response to the United States Supreme Court’s opinion in Stack v.
  Boyle, states have enacted into their laws factors judges are supposed to consider in
  making a release or detention decision. For the most part, these factors were created
  using logic and later some research from the 1960s showing the value of community ties
  to the pretrial period. Unfortunately, however, little to no research existed to
  demonstrate which of the many enacted factors were actually predictive of pretrial
  misconduct and at what strength. Often, judges relied on one particular factor – the
  current charge or sometimes the charge and police affidavit – to make their decisions.
  Over the years, single jurisdictions, such as counties, occasionally created risk
  instruments using generally accepted social science research methods, but their limited
  geographic influence and sometimes their lack of data from which to test multiple
  variables meant that research in this area spread slowly.

  In 2003, however, Dr. Marie VanNostrand created the Virginia Pretrial Risk Assessment
  Instrument, most recently referred to by Dr. VanNostrand and others as simply the
  “Virginia Model,” which was ultimately tested and validated in multiple Virginia
  jurisdictions and then deployed throughout the state. Soon after, other researchers
  developed other multi-jurisdictional risk instruments, including Kentucky, Ohio,
  Colorado, Florida, and the federal system, and now other American jurisdictions,
  including single counties, are working on similar instruments. Still others are
  “borrowing” existing instruments for use on local defendants while performing the
  process of validating them for their local population. Most recently, in November 2013,
  researchers sponsored by the Laura and John Arnold Foundation announced the
  creation of a “national” risk instrument, capable of accurately predicting pretrial risk
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  (including risk of violent criminal activity) in virtually any American jurisdiction due to
  the extremely large database used to create it.

  In its 2012 issue brief titled, Pretrial Risk Assessment 101: Science Provides Guidance on
  Managing Defendants, PJI and BJA summarize the typical risk instrument as follows:

          A pretrial risk assessment instrument is typically a one-page summary of
          the characteristics of an individual that presents a score corresponding to
          his or her likelihood to fail to appear in court or be rearrested prior to the
          completion of their current case. Instruments typically consist of 7-10
          questions about the nature of the current offense, criminal history, and
          other stabilizing factors such as employment, residency, drug use, and
          mental health.

          Responses to the questions are weighted, based on data that shows how
          strongly each item is related to the risk of flight or rearrest during pretrial
          release. Then the answers are tallied to produce an overall risk score or
          level, which can inform the judge or other decisionmaker about the best
          course of action.67

  Using a pretrial risk assessment instrument is an evidence-based practice, and to the
  extent that it helps judges with maximizing the release of bailable defendants and
  identifying those who can lawfully be detained, it is a legal and evidence-based practice.
  Nevertheless, it is a relatively new practice – it is too new for detailed discussion in the
  current ABA Criminal Justice Standards on Pretrial Release – and so the fast-paced
  research surrounding these instruments must be scrutinized and our shared knowledge
  constantly updated to provide for the best application of these powerful tools. In 2011,
  Dr. Cynthia Mamalian authored The State of the Science of Pretrial Risk Assessment, and
  noted many of the issues (including “methodological challenges”) that surround the
                                                          68
  creation and implementation of these instruments.

                                Bail and the Aberrational Case
          Social scientists primarily deal with aggregate patterns of behavior rather than with
          individual cases, but the latter is often what criminal justice professionals are used to.
          Cases that fall outside of a particular observable pattern might be called “outliers” or
          “aberrations” by social scientists and thus disregarded by the research that is most
          relevant to bail. Unfortunately, however, it is often these aberrational cases – typically
          those showing pretrial misbehavior – that drive public policy.

          Thus, when making policy decisions about bail it is important for decision makers to
          embrace perspective by also studying aggregates. By looking at a problem from a


  67
     Pretrial Risk Assessment 101: Science Provides Guidance on Managing Defendants (PJI/BJA
  2012) (internal footnote omitted).
  68
     See Cynthia A. Mamalian, State of the Science of Pretrial Risk Assessment, at 26 (PJI/BJA 2011).
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         distance, one can often see that the single episode that brought a particular case to the
         pretrial justice discussion table may not present the actual issue needing improvement.
         If the single case represents an aggregate pattern, however, or if that case illustrates
         some fundamental flaw in the system that demands correction, then that case may be
         worthy of further study.

         In the aggregate, very few defendants misbehave while released pretrial (for example,
         the D.C. Pretrial Services Agency reports that in 2012, 89% of released defendants were
         arrest-free during their pretrial phase, and that only 1% of those arrested were for
         violent crimes; likewise, Kentucky reports a 92% public safety rate), and yet occasionally
         defendants will commit heinous crimes under all forms of supervision, including secured
         detention. In the aggregate, most people show up for court (again, D.C. Pretrial reports
         that 89% of defendants did not miss a single court date; likewise, Kentucky reports a
         90% court appearance rate), and yet occasionally some high profile defendant will not
         appear, just as fifty may not show up for traffic court on the same day. In the aggregate,
         virtually all defendants will ultimately be released back into our communities and thus
         can be safety supervised within our communities while awaiting the disposition of their
         cases, and yet occasionally there are defendants who are so risky that they must be
         detained.

         Sources and Resources: Tara Boh Klute & Mark Heyerly, Report on Impact of House Bill
         463: Outcomes, Challenges, and Recommendations (KY Pretrial Servs. 2012); Michael G.
         Maxfield & Earl Babbie, Research Methods for Criminal Justice and Criminology
                      th
         (Wadsworth, 6 ed. 2008); D.C. Pretrial statistics found at http://www.psa.gov/.

  Beyond those issues, however, is the somewhat under-discussed topic of what these
  “risk-based” instruments mean for states that currently have entire bail schemes
  created without pure notions of risk in mind. For example, many states have preventive
  detention provisions in their constitutions denying the right to bail for certain
  defendants, but often these provisions are tied primarily to the current charge or the
  charge and some criminal precondition. The ability to better recognize high-risk
  defendants, who perhaps should be detained but who, because of their charge, are not
  detainable through the available “no bail” process, has caused these states to begin re-
  thinking their bail schemes to better incorporate risk. The general move from primarily a
  charge-and-resource-based bail system to one based primarily on pretrial risk
  automatically raises questions as to the adequacy of existing statutory and
  constitutional provisions.

  Effects of Release Types and Conditions on Pretrial Outcomes

  The second category of current research – the effect of release type as well as the effect
  of individual conditions on pretrial outcomes – continues to dominate discussions about
  what is next in the field. Once we know a particular defendant’s risk profile, it is natural
  to ask “what works” to then mitigate that risk. The research surrounding this topic is
  evolving rapidly. Indeed, during the writing of this paper, the Pretrial Justice Institute
  released a rigorous study indicating that release on a secured (money paid up front)
  bond does nothing for public safety or court appearance compared to release on an

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  unsecured (money promised to be paid only if the defendant fails to appear) bond, but
  that secured bonds have a significant impact on jail bed use through their tendency to
  detain defendants pretrial. Likewise, in November 2013, the Laura and John Arnold
  Foundation released its first of several research studies focusing on the impact of
  pretrial supervision. Though admittedly lacking detail in important areas, that study
  suggested that moderate and higher risk defendants who were supervised were
  significantly more likely to show up for court than non-supervised defendants.

  In 2011, VanNostrand, Rose, and Weibrecht summarized the then-existing research
  behind a variety of release types, conditions, and differential supervision strategies,
  including court date notification, electronic monitoring, pretrial supervision and
  supervision with alternatives to detention, release types based on categories of bail
  bonds, and release guidelines, and that summary document, titled State of the Science
  of Pretrial Release Recommendations and Supervision, remains an important
  foundational resource for anyone focusing on the topic. Nevertheless, as the Pretrial
  Justice Institute explained in its conclusion to that report, we have far to go before we
  can confidently identify legal and evidence-based conditions and supervision methods:

         Great strides have been made in recent years to better inform [the
         pretrial release decision], both in terms of what is appropriate under the
         law and of what works according to the research, and to identify which
         supervision methods work best for which defendants.

         As this document demonstrates, however, there is still much that we do
         not know about what kinds of conditions are most effective. Moreover,
         as technologies advance to allow for the expansion of potential pretrial
         release conditions and the supervision of those conditions, we can
         anticipate that legislatures and courts will be called upon to define the
         limits of what is legally appropriate. 69

  Application and Implications

  Applying the research has been a major component of jurisdictions currently
  participating in the National Institute of Correction’s (NIC’s) Evidence-Based Decision
  Making Initiative, a collaborative project among the Center for Effective Public Policy,
  the Pretrial Justice Institute, the Justice Management Institute, and the Carey Group.
  The seven jurisdictions piloting the NIC’s collaborative “Framework,” which has been
  described as providing a “purpose and a process” for applying evidence-based decision
  making to all decision points in the justice system, are actively involved in applying
  research and evidence to real world issues with the aim toward reducing harm and


  69
    Marie VanNostrand, Kenneth J. Rose, & Kimberly Weibrecht, State of the Science of Pretrial
  Release Recommendations and Supervision, at 42 (conclusion by PJI) (PJI/BJA 2011).
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  victimization while maintaining certain core justice system values. Those Framework
  jurisdictions focusing on the pretrial release and detention decision are learning first
  hand which areas have sufficient research to fully inform pretrial improvements and
  which areas have gaps in knowledge, thus signifying the need for more research. Their
  work will undoubtedly inform the advancement of pretrial research in the future.

  Finally, the weaving of the law with the research into pretrial application has the
  potential to itself raise significantly complex issues. For example, if GPS monitoring is
  deemed by the research to be ineffective, is it not then excessive under the 8th
  Amendment? If a secured money condition does nothing for public safety or court
  appearance, is it not then irrational, and thus also a violation of a defendant’s right to
  due process, for a judge to set it? If certain release conditions actually increase a lower
  risk defendant’s chance of pretrial misbehavior, can imposing them ever be considered
  lawful? These questions, and others, will be the sorts of questions ultimately answered
  by future court opinions.

  What Does the Pretrial Research Tell Us?

  Pretrial research is crucial for telling us what works to achieve the purposes of bail,
  which the law and history explain are to maximize release while simultaneously
  maximizing public safety and court appearance. All pretrial research informs, but the
  best research helps us to implement laws, policies, and practices that strive to achieve
  all three goals. Each generation of bail or pretrial reform has a body of research
  literature identifying areas in need of improvement and creating a meeting of minds
  surrounding potential solutions to pressing pretrial issues. This current generation is no
  different, as we see a growing body of literature illuminating poor laws, policies, and
  practices while also demonstrating evidence-based solutions that are gradually being
  implemented across the country.

  Nevertheless, in the field of pretrial research there are still many areas requiring
  attention, including areas addressed in this chapter such as risk assessment, risk
  management, the effects of money bonds, cost/benefit analyses, impacts and effects of
  pretrial detention, and racial disparity as well as areas not necessarily addressed herein,
  such as money bail forfeitures, fugitive recovery, and basic data on misdemeanor cases.

  Most of us are not research producers. We are, however, research consumers.
  Accordingly, to further the goal of pretrial justice we must understand how rapidly the
  research is evolving, continually update our knowledge base of relevant research, and
  yet weed out the research that is biased, flawed, or otherwise unacceptable given our
  fundamental legal foundations. We must strive to understand the general direction of
  the pretrial research and recognize that a change in direction may require changes in
  laws, policies, and practices to keep up. Most importantly, we must continue to support
  pretrial research in all its forms, for it is pretrial research that advances the field.


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  Fundamentals of Social Research: Second Canadian Edition (Cengage Learning 2009);
  Bernard Botein, The Manhattan Bail Project: Its Impact on Criminology and the Criminal
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  Performance Measurement: A Colorado Example of Going from the Ideal to Everyday
  Practice (PJI 2013); Michael R. Jones, Unsecured Bonds: The As Effective and Most
  Efficient Pretrial Release Option (PJI Oct. 2013); Laura and John Arnold Foundation
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  2013); Michael G. Maxfield & Earl Babbie, Research Methods for Criminal Justice and
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  to the Field of Pretrial Services (CJI/NIC 2007).




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  Chapter 5: National Standards on Pretrial Release

  Pretrial social science research tells us what works to further the goals of bail. History
  and the law tell us that the goals of bail are to maximize release while simultaneously
  maximizing public safety and court appearance, and the law provides a roadmap of how
  to constitutionally deny bail altogether through a transparent and fair detention
  process. If this knowledge was all that any particular jurisdiction had to use today, then
  its journey toward pretrial justice might be significantly more arduous than it really is.
  But it is not so arduous, primarily because we have national best practice standards on
  pretrial release and detention, which combine the research and the law (which is
  intertwined with history) to develop concrete recommendations on how to administer
  bail.

  In the wake of the 1964 National Conference on Bail and Criminal Justice and the 1966
  Federal Bail Reform Act, various organizations began issuing standards designed to
  address relevant pretrial release and detention issues at a national level. The American
  Bar Association (ABA) was first in 1968, followed by the National Advisory Committee on
  Criminal Justice, the National District Attorneys Association, and finally the National
  Association of Pretrial Services Agencies (NAPSA). The NAPSA Standards, in particular,
  provide important detailed provisions dealing with the purposes, roles, and functions of
  pretrial services agencies.

  The ABA Standards

  Among these sets of standards, however, the ABA Standards stand out. Their
  preeminence is based, in part, on the fact that they “reflect[] a consensus of the views
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  of representatives of all segments of the criminal justice system,” which includes
  prosecutors, defense attorneys, academics, and judges, as well as various groups such as
  the National District Attorneys Association, the National Association of Criminal Defense
  Lawyers, the National Association of Attorneys General, the U.S. Department of Justice,
  the Justice Management Institute, and other notable pretrial scholars and pretrial
  agency professionals.

  More significant, however, is the justice system’s use of the ABA Criminal Justice
  Standards as important sources of authority. The ABA’s Standards have been either
  quoted or cited in more than 120 U.S. Supreme Court opinions, approximately 700
  federal circuit court opinions, over 2,400 state supreme court opinions, and in more
  than 2,100 law journal articles. By 1979, most states had revised their statutes to
  implement some part of the Standards, and many courts had used the Standards to

  70
    Martin Marcus, The Making of the ABA Criminal Justice Standards, Forty Years of Excellence,
  23 Crim. Just. (Winter 2009).
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  implement new court rules. According to Judge Martin Marcus, Chair of the ABA
  Criminal Justice Standards Committee, “[t]he Standards have also been implemented in
  a variety of criminal justice projects and experiments. Indeed, one of the reasons for
  creating a second edition of the Standards was an urge to assess the first edition in
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  terms of the feedback from such experiments as pretrial release projects.”

          “The Court similarly dismisses the fact that the police deception which it
          sanctions quite clearly violates the American Bar Association's Standards
          for Criminal Justice – Standards which the Chief Justice has described as
          ‘the single most comprehensive and probably the most monumental
          undertaking in the field of criminal justice ever attempted by the
          American legal profession in our national history,’ and which this Court
          frequently finds helpful.”
                        Moran v. Burbine, 475 U.S. 412 (1986) (Stevens, J. dissenting)


  The ABA’s process for creating and updating the Standards is “lengthy and painstaking,”
  but the Standards finally approved by the ABA House of Delegates (to become official
  policy of the 400,000 member association) “are the result of the considered judgment of
  prosecutors, defense lawyers, judges, and academics who have been deeply involved in
  the process, either individually or as representatives of their respective associations,
  and only after the Standards have been drafted and repeatedly revised on more than a
                                                72
  dozen occasions, over three or more years.”

  Best practices in the field of pretrial release are based on empirically sound social
  science research as well as on fundamental legal principles, and the ABA Standards use
  both to provide rationales for its recommendations. For example, in recommending that
  commercial sureties be abolished, the ABA relies on numerous critiques of the money
  bail system going back nearly 100 years, social science experiments, law review articles,
  and various state statutes providing for its abolition. In recommending a presumption of
  release on recognizance and that money not be used to protect public safety, the ABA
  relies on United States Supreme Court opinions, findings from the Vera Foundation’s
  Manhattan Bail Project, discussions from the 1964 Conference on Bail and Criminal
  Justice, Bureau of Justice Statistics data, as well as the absence of evidence, i.e., “the
  absence of any relationship between the ability of a defendant to post a financial bond
                                                               73
  and the risk that a defendant may pose to public safety.”

  The ABA Standards provide recommendations spanning the entirety of the pretrial
  phase of the criminal case, from the decision to release on citation or summons, to

  71
     Id. (internal quotation omitted).
  72
     Id.
  73
     American Bar Association Standards for Criminal Justice (3rd Ed.) Pretrial Release (2007), Std.
  10-5.3 (a) (commentary) at 111.
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  accountability through punishment for pretrial failure. They are based, correctly, on a
  “bail/no bail” or “release/detain” model, designed to fully effectuate the release of
  bailable defendants while providing those denied bail with fair and transparent due
  process hearing prior to detention.

  Drafters of the 2011 Summary Report to the National Symposium on Pretrial Justice
  recognized that certain fundamental features of an ideal pretrial justice system are the
  same features that have been a part of the ABA Standards since they were first
  published in 1968. And while that Report acknowledged that simply pointing to the
  Standards is not enough to change the customs and habits built over 100 years of a bail
  system dominated by secured money, charge versus risk, and profit, the Standards
  remain a singularly important resource for all pretrial practitioners. Indeed, given the
  comprehensive nature of the ABA Standards, jurisdictions can at least use them to
  initially identify potential areas for improvement by merely holding up existing policies,
  practices, and even laws to the various recommendations contained therein.




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  Chapter 6: Pretrial Terms and Phrases

  The Importance of a Common Vocabulary


  It is only after we know the history, the law, the research, and the national standards
  that we can fully understand the need for a common national vocabulary associated
  with bail. The Greek philosopher Socrates correctly stated that, “The beginning of
  wisdom is a definition of terms.” After all, how can you begin to discuss society’s great
  issues when the words that you apply to those issues elude substance and meaning? But
  beyond whatever individual virtue you may find in defining your own terms, the
  undeniable merit of this ancient quote fully surfaces when applied to dialogue with
  others. It is one thing to have formed your own working definition of the terms “danger”
  or “public safety,” for example, but your idea of danger and public safety can certainly
  muddle a conversation if another person has defined the terms differently. This
  potential for confusion is readily apparent in the field of bail and pretrial justice, and it is
  the wise pretrial practitioner who seeks to minimize it.

  Minimizing confusion is necessary because, as noted previously, bail is already complex,
  and the historically complicated nature of various terms and phrases relating to bail and
  pretrial release or detention only adds to that complexity, which can sometimes lead to
  misuse of those terms and phrases. Misuse, in turn, leads to unnecessary quibbling and
  distraction from fundamental issues in the administration of bail and pretrial justice.
  This distraction is multiplied when the definitions originate in legislatures (for example,
  by defining bail statutorily as an amount of money) or court opinions (for example, by
  articulating an improper or incomplete purpose of bail). Given the existing potential for
  confusion, avoiding further complication is also a primary reason for finding consensus
  on bail’s basic terms and phrases.

  As also noted previously, bail is a field that is changing rapidly. For nearly 1,500 years,
  the administration of bail went essentially unchanged, with accused persons obtaining
  pretrial freedom by pledging property or money, which, in turn, would be forfeited if
  those persons did not show up to court. By the late 1800s, however, bail in America had
  changed from the historical personal surety system to a commercial surety system, with
  the unfortunate consequence of solidifying money at bail while radically transforming
  money’s use from a condition subsequent (i.e., using unsecured bonds) to a condition
  precedent (i.e., using secured bonds) to release. Within a mere 20 years after the
  introduction of the commercial surety system in America, researchers began
  documenting abuses and shortcomings associated with that system based on secured
  financial conditions. By the 1980s, America had undergone two generations of pretrial
  reform by creating alternatives to the for-profit bail bonding system, recognizing a
  second constitutionally valid purpose for the government to impose restrictions on
  pretrial freedom, and allowing for the lawful denial of bail altogether based on extreme
                                                                                    90 | P a g e
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  risk. These are monumental changes in the field of pretrial justice, and they provide
  further justification for agreeing on basic definitions to keep up with these major
  developments.

  Finally, bail is a topic of increasing interest to criminal justice researchers, and criminal
  justice research begins with conceptualizing and operationalizing terms in an effort to
  collect and analyze data with relevance to the field. For example, until we all agree on
  what “court appearance rates” mean, we will surely struggle to agree on adequate ways
  to measure them and, ultimately, to increase them. In the same way, as a field we must
  agree on the meaning and purpose of so basic a term as “bail.”

  More important than achieving simple consensus, however, is that we agree on
  meanings that reflect reality or truth. Indeed, if wisdom begins with a definition of
  terms, wisdom is significantly furthered when those definitions hold up to what is real.
  For too long, legislatures, courts, and various criminal justice practitioners have defined
  bail as an amount of money, but that is an error when held up to the totality of the law
  and practice through history. And for too long legislatures, courts, and criminal justice
  practitioners have said that the purpose of bail is to provide reasonable assurance of
  public safety and/or court appearance, but that, too, is an error when held up against
  the lenses of history and the law. Throughout history, the definition of “bail” has
  changed to reflect what we know about bail, and the time to agree on its correct
  meaning for this generation of pretrial reform is now upon us.

  The Meaning and Purpose of “Bail”


  For the legal and historical reasons articulated above, bail should never be defined as
  money. Instead, bail is best defined in terms of release, and most appropriately as a
  process of conditional release. Moreover, the purpose of bail is not to provide
  reasonable assurance of court appearance and public safety – that is the province and
  purpose of conditions of bail or limitations on pretrial freedom. The purpose of bail,
  rather, is to effectuate and maximize release. There is “bail” – i.e., a process of release –
  and there is “no bail,” – a process of detention. Constitutionally speaking, “bail” should
  always outweigh “no bail” because, as the U.S. Supreme Court has explained, “In our
  society liberty is the norm, and detention prior to trial or without trial is the carefully
                       74
  limited exception.”

  Historically, the term bail derives from the French “baillier,” which means to hand over,
  give, entrust, or deliver. It was a delivery, or bailment, of the accused to the surety – the
  jailer of the accused’s own choosing – to avoid confinement in jail. Indeed, even until
  the 20th century, the surety himself or herself was often known as the “bail” – the
  person to whom the accused was delivered. Unfortunately, however, for centuries
  money was also a major part of the bail agreement. Because paying money was the

  74
       United States v. Salerno, 481 U.S. 739, 755 (1987).
                                                                                  91 | P a g e
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  primary promise underlying the release agreement, the coupling of “bail” and money
  meant that money slowly came to be equated with the release process itself. This is
  unfortunate, as money at bail has never been more than a condition of bail – a
  limitation on pretrial freedom that must be paid upon forfeiture of the bond agreement.
  But the coupling became especially misleading in America after the 1960s, when the
  country attempted to move away from its relatively recent adoption of a secured money
  bond and toward other methods for releasing defendants, such as release on
  recognizance and release on nonfinancial conditions.

  Legally, bail as a process of release is the only definition that (1) effectuates American
  notions of liberty from even colonial times; (2) acknowledges the rationales for state
  deviations from more stringent English laws in crafting their constitutions (and the
  federal government in crafting the Northwest Territory Ordinance of 1787); and (3)
  naturally follows from various statements equating bail with release from the United
                                                         75                        76
  States Supreme Court from United States v. Barber and Hudson v. Parker, to Stack v.
        77
  Boyle
                                   78
  and United States v. Salerno.

  Bail as a process of release accords not only with history and the law, but also with
  scholars’ definitions (in 1927, Beeley defined bail as the release of a person from
  custody), the federal government’s usage (calling bail a process in at least one
  document), and use by organizations such as the American Bar Association, which has
  quoted Black’s Law Dictionary definition of bail as a “process by which a person is
                             79
  released from custody.” States with older (and likely outdated) bail statutes often still
  equate bail with money, but many states with newer provisions, such as Virginia (which
  defines bail as “the pretrial release of a person from custody upon those terms and
                                                                     80
  conditions specified by order of an appropriate judicial officer”), Colorado (which
  defines bail as security like a pledge or a promise, which can include release without
            81
  money), and Florida (which defines bail to include “any and all forms of pretrial

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      140 U.S. 164, 167 (1891) (“[I]n criminal cases it is for the interest of the public as well as the
  accused that the latter should not be detained in custody prior to his trial if the government can
  be assured of his presence at that time . . . .”).
  76
      156 U.S 277, 285 (1895) (“The statutes of the United States have been framed upon the
  theory that a person accused of a crime shall not, until he has been finally adjudged guilty . . . be
  absolutely compelled to undergo imprisonment or punishment, but may be admitted to bail . . .
  .”).
  77
      342 U.S. 1, 4 (1951) (“[F]ederal law has unequivocally provided that a person arrested for a
  non-capital offense shall be admitted to bail. This traditional right to freedom before conviction
  . . . .”).
  78
      481 U.S. 739, 755 (1987) (“In our society, liberty is the norm . . . .”).
  79
      Frequently Asked Questions About Pretrial Release Decision Making (ABA 2012).
  80
      Va. Code. § 19.2-119 (2013).
  81
      Colo. Rev. Stat. § 16-1-104 (2013).
                                                                                         92 | P a g e
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           82
  release” ) have enacted statutory definitions to recognize bail as something more than
                                                        83         84            85
  simply money. Moreover, some states, such as Alaska, Florida, Connecticut, and
             86
  Wisconsin, have constitutions explicitly incorporating the word “release” into their
  right-to-bail provisions.

          “In general, the term ‘bail’ means the release of a person from custody
          upon the undertaking, with or without one or more persons for him, that
          he will abide the judgment and orders of the court in appearing and
          answering the charge against him. It is essentially a delivery or bailment
          of a person to his sureties—the jailers of his own choosing—so that he is
          placed in their friendly custody instead of remaining in jail.”

                                                                           Arthur Beeley, 1927



  A broad definition of bail, such as “release from governmental custody” versus simply
  release from jail, is also appropriate to account for the recognition that bail, as a process
  of conditional release prior to trial, includes many mechanisms – such as citation or
  “station house release” – that effectuate release apart from jails and that are rightfully
  considered in endeavors seeking to improve the bail process.

                        The Media’s Use of Bail Terms and Phrases
          Much of what the public knows about bail comes from the media’s use, and often
          misuse, of bail terms and phrases. A sentence from a newspaper story stating that “the
          defendant was released without bail,” meaning perhaps that the defendant was
          released without a secured financial condition or on his or her own recognizance, is an
          improper use of the term “bail” (which itself means release) and can create unnecessary
          confusion surrounding efforts at pretrial reform. Likewise, stating that someone is being
          “held on $50,000 bail” not only misses the point of bail equaling release, but also
          equates money with the bail process itself, reinforcing the misunderstanding of money
          merely as a condition of bail – a limitation of pretrial freedom which, like all such
          limitations, must be assessed for legality and effectiveness in any particular case. For
          several reasons, the media continues to equate bail with money and tends to focus
          singularly on the amount of the financial condition (as opposed to any number of non-
          financial conditions) as a sort-of barometer of the justice system’s sense of severity of
          the crime. Some of those reasons are directly related to faulty use of terms and phrases
          by the various states, which define terms differently from one another, and which
          occasionally define the same bail term differently at various places within a single
          statute.



  82
     Fla. Stat. § 903.011 (2013).
  83
     Alaska Const. art. I, § 11.
  84
     Fla. Const. art. I, § 14.
  85
     Conn. Const. art. 1, § 8.
  86
     Wis. Const. art. 1, § 8.
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        In the wake of the 2011 National Symposium on Pretrial Justice, the Pretrial Justice
        Working Group created a Communications Subcommittee to, among other things,
        create a media campaign for public education purposes. To effectively educate the
        public, however, the Subcommittee recognized that some measure of media education
        also needed to take place. Accordingly, in 2012 the John Jay College Center on Media,
        Crime, and Justice, with support from the Public Welfare Foundation, held a symposium
        designed to educate members of the media and to help them identify and accurately
        report on bail and pretrial justice issues. Articles written by symposium fellows are listed
        as they are produced, and continue to demonstrate how bail education leads to more
        thorough and accurate coverage of pretrial issues.

        Sources and Resources: John Jay College and Public Welfare Foundation Symposium
        resources, found at http://www.thecrimereport.org/conferences/past/2012-05-jailed-
        without-conviction-john-jaypublic-welfare-sym. Pretrial Justice Working Group website
        and materials, found at http://www.pretrial.org/infostop/pjwg/.




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  To say that bail is a process of release and that the purpose of bail is to maximize
  release is not completely new (researchers have long described an “effective” bail
  decision as maximizing or fostering release) and may seem to be only a subtle shift from
  current articulations of meaning and purpose. Nevertheless, these ideas have not taken
  a firm hold in the field. Moreover, certain consequences flow from whether or not the
  notions are articulated correctly. In Colorado, for example, where, until recently, the
  legislature incorrectly defined bail as an amount of money, bail insurance companies
  routinely said that the sole function of bail was court appearance (which only makes
  sense when bail and money are equated, for legally the only purpose of money was
  court appearance), and that the right to bail was the right merely to have an amount of
  money set – both equally untenable statements of the law. Generally speaking, when
  states define bail as money their bail statutes typically reflect the definition by
  overemphasizing money over all other conditions throughout the bail process. This, in
  turn, drives individual misperceptions about what the bail process is intended to do.

  Likewise, when persons inaccurately mix statements of purpose for bail with statements
  of purpose for conditions of bail, the consequences can be equally misleading. For
  example, when judges inaccurately state that the purpose of bail is to protect public
  safety (again, public safety is a constitutionally valid purpose for any particular condition
  of bail or limitation of pretrial freedom, not for bail itself), those judges will likely find
  easy justification for imposing unattainable conditions leading to pretrial detention – for
  many, the safest pretrial option available. When the purpose of bail is thought to be
  public safety, then the emphasis will be on public safety, which may skew
  decisionmakers toward conditions that lead to unnecessary pretrial detention.
  However, when the purpose focuses on release, the emphasis will be on pretrial
  freedom with conditions set to provide a reasonable assurance, and not absolute
  assurance, of court appearance and public safety.

  Thus, bail defined as a process of release places an emphasis on pretrial release and bail
  conditions that are attainable at least in equal measure to their effect on court
  appearance and public safety. In a country, such as ours, where bail may be
  constitutionally denied, a focus on bail as release when the right to bail is granted is
  crucial to following Salerno’s admonition that pretrial liberty be our nation’s norm.
  Likewise, by correctly stating that the purpose of any particular bail condition or
  limitation on pretrial freedom is tied to the constitutionally valid rationales of public
  safety and court appearance, the focus is on the particular condition – such as GPS
  monitoring or drug testing – and its legality and efficacy in providing reasonable
  assurance of the desired outcome.

  Other Terms and Phrases


  There are other terms and phrases with equal need for accurate national uniformity. For
  example, many states define the word “bond” differently, sometimes describing it in
  terms of one particular type of bail release or condition, such as through a commercial
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  surety. A bond, however, occurs whenever the defendant forges an agreement with the
  court, and can include an additional surety, or not, depending on that agreement. Prior
  definitions – and thus categories of bail bonds – have focused primarily on whether or
  how those categories employ money as a limitation on pretrial freedom, thus making
  those definitions outdated. Future use of the term bond should recognize that money is
  only one of many possible conditions, and, in light of legal and evidence-based practices,
  should take a decidedly less important role in the agreement forged between a
  defendant and the court. Accordingly, instead of describing a release by using terms
  such as “surety bond,” “ten percent bond,” or “personal recognizance bond,” pretrial
  practitioners should focus first on release or detention, and secondarily address
  conditions (for release is always conditional) of the release agreement.

  Other misused terms include: “pretrial” and “pretrial services,” which are often
  inaccurately used as a shorthand method to describe pretrial services agencies and/or
  programs instead of their more appropriate use as (1) a period of time, and (2) the
  actual services provided by the pretrial agency or program; “court appearance rates”
  (and, concomitantly, “failure to appear rates”) which is defined in various ways by
  various jurisdictions; “the right to bail,” “public safety,” “sureties” or “sufficient
  sureties,” and “integrity of the judicial process.” There have been attempts at creating
  pretrial glossaries designed to bring national uniformity to these terms and phrases, but
  acceptance of the changes in usage has been fairly limited. Until that uniformity is
  reached, however, jurisdictions should at least recognize the extreme variations in
  definitions of terms and phrases, question whether their current definitions follow from
  a study of bail history, law, and research, and be open to at least discussing the
  possibility of changing those terms and phrases that are misleading or otherwise in need
  of reform.




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  Additional Sources and Resources: Black’s Law Dictionary (9th ed. 2009); Criminal Bail:
  How Bail Reform is Working in Selected District Courts, U.S. GAO Report to the
  Subcomm. on Courts, Civ. Liberties, and the Admin. of Justice (1987); Bryan A. Garner, A
  Dictionary of Modern Legal Usage (Oxford Univ. Press, 3rd ed. 1995); Timothy R.
  Schnacke, Michael R. Jones, & Claire M. B. Brooker, Glossary of Terms and Phrases
  Relating to Bail and the Pretrial Release or Detention Decision (PJI 2011) (currently
  available electronically on the PJI website).




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  Chapter 7: Application – Guidelines for Pretrial
  Reform

  In a recent op-ed piece for The Crime Report, Timothy Murray, then Executive Director
  of the Pretrial Justice Institute, stated that “the cash-based model [relying primarily on
  secured bonds] represents a tiered system of justice based on personal wealth, rather
                                                    87
  than risk, and is in desperate need of reform.” In fact, from what we know about the
  history of bail, because a system of pretrial release and detention based on secured
  bonds administered primarily through commercial sureties causes abuses to both the
  “bail” and “no bail” sides of our current dichotomy, reform is not only necessary – it is
  ultimately inevitable. But how should we marshal our resources to best accomplish
  reform? How can we facilitate reform across the entire country? What can we do to
  fully understand pretrial risk, and to fortify our political will to embrace it? And how can
  we enact and implement laws, policies, and practices aiming at reform so that the
  resulting cultural change will actually become firmly fixed?

  Individual Action Leading to Comprehensive Cultural Change


  The answers to these questions are complex because every person working in or around
  the pretrial field has varying job responsibilities, legal boundaries, and, presumably,
  influence over others. Nevertheless, pretrial reform in America requires all persons –
  from entry-level line officers and pretrial services case workers to chief justices and
  governors – to embrace and promote improvements within their spheres of influence
  while continually motivating others outside of those spheres to reach the common goal
  of achieving a meaningful top to bottom (or bottom to top) cultural change. The
  common goal is collaborative, comprehensive improvement toward maximizing release,
  public safety, and court appearance through the use of legal and evidence-based
  practices, but we will only reach that goal through individual action.




  87
    Timothy Murray, Why the Bail Bond System Needs Reform, The Crime Report (Nov. 19, 2013)
  found at http://www.thecrimereport.org/viewpoints/2013-11-why-the-bail-bond-system-
  needs-reform
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  Individual Decisions


  Individual action, in turn, starts with individual decisions. First, every person working in
  the field must decide whether pretrial improvements are even necessary. It is this
  author’s impression, along with numerous national and local organizations and entities,
  that improvements are indeed necessary, and that the typical reasons given to keep the
  customary yet damaging practices based on a primarily money-based bail system are
  insufficient to reject the national movement toward meaningful pretrial reform. The
  second decision is to resolve to educate oneself thoroughly in bail and to make the
  necessary improvements by following the research, wherever that research goes and so
  long as it does not interfere with fundamental legal foundations. Essentially, the second
  decision is to follow a legal and evidence-based decision making model for pretrial
  improvement. By following that model, persons (or whole jurisdictions working
  collaboratively) will quickly learn (1) which particular pretrial justice issues are most
  pressing and in need of immediate improvement, (2) which can be addressed in the
  longer term, and (3) which require no action at all.

  Third, each person must decide how to implement improvements designed to address
  the issues. This decision is naturally limited by the person’s particular job and sphere of
  influence, but those limitations should not stop individual action altogether. Instead, the
  limitations should serve merely as motivation to recruit others outside of each person’s
  sphere to join in a larger collaborative process. Fourth and finally, each person must
  make a decision to ensure those improvements “stick” by using proven implementation
  techniques designed to promote the comprehensive and lasting use of a research-based
  improvement.

  Learning about improvements to the pretrial process also involves learning the nuances
  that make one’s particular jurisdiction unique in terms of how much pretrial reform is
  needed. If, for example, in one single (and wildly hypothetical) act, the federal
  government enacted a provision requiring the states to assure that no amount of money
  could result in the pretrial detention of any particular defendant – a line that is a
  currently a crucial part of both the federal and District of Columbia bail statutes – some
  states would be thrust immediately into perceived chaos as their constitutions and
  statutes practically force bail practices that include setting high amounts of money to
  detain high-risk yet bailable defendants pretrial. Other states, however, might be only
  mildly inconvenienced, as their constitutions and statutes allow for a fairly robust
  preventive detention process that is simply unused. Still others might recognize that
  their preventive detention provisions are somewhat archaic because they rely primarily
  on charge-based versus risk-based distinctions. Knowing where one’s jurisdiction fits
  comparatively on the continuum of pretrial reform needs can be especially helpful when
  crafting solutions to pretrial problems. Some states underutilize citations and
  summonses, but others have enacted statutory changes to encourage using them more.


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  Some jurisdictions rely heavily on money bond schedules, but some have eliminated
  them entirely. There is value in knowing all of this.

  Individual Roles


  The process of individual decision making and action will look different depending on
  the person and his or her role in the pretrial process. For a pretrial services assessment
  officer, for example, it will mean learning everything available about the history,
  fundamental legal foundations, research, national standards, and terms and phrases,
  and then holding up his or her current practices against that knowledge to perhaps
  make changes to risk assessment and supervision methods. Despite having little control
  over the legal parameters, it is nonetheless important for each officer to understand the
  fundamentals so that he or she can say, for example, “Yes, I know that bail should mean
  release and so I understand that our statute, which defines bail as money, has
  provisions that can be a hindrance to certain evidence-based pretrial practices.
  Nevertheless, I will continue to pursue those practices within the confines of current law
  while explaining to others operating in other jobs and with other spheres of influence
  how amending the statute can help us move forward.” This type of reform effort – a
  bottom to top effort – is happening in numerous local jurisdictions across America.

         “Once you make a decision, the universe conspires to make it happen.”

                                                                Ralph Waldo Emerson



  For governors or legislators, it will mean learning everything available about the history,
  legal foundations, research, national standards, and terms and phrases, and then also
  holding up the state’s constitution and statutes against that knowledge to perhaps make
  changes to the laws to better promote evidence-based practices. It is particularly
  important for these leaders to know the fundamentals and variances across America so
  that each can say, for example, “I now understand that our constitutional provisions and
  bail statutes are somewhat outdated, and thus a hindrance to legal and evidence-based
  practices designed to fully effectuate the bail/no bail dichotomy that is already
  technically a part of our state bail system. I will therefore begin working with state
  leaders to pursue the knowledge necessary to make statewide improvements to bail
  and pretrial justice so that our laws will align with broad legal and evidence-based
  pretrial principles and therefore facilitate straightforward application to individual
  cases.” This type of reform effort – a top to bottom effort – is also happening in
  America, in states such as New York, New Jersey, Delaware, and Kentucky.

  Everyone has a role to play in pretrial justice, and every role is important to the overall
  effort. Police officers should question whether their jurisdiction uses objective pretrial
  risk assessment and whether it has and uses fair and transparent preventive detention

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  (as the International Chiefs of Police/PJI/Public Welfare Foundation’s Pretrial Justice
  Reform Initiative asks them to do), but they should also question their own citation
  policies as well as the utility of asking for arbitrary money amounts on warrants.
  Prosecutors should continue to advocate support for pretrial services agencies or others
  using validated risk assessments (as the Association of Prosecuting Attorneys policy
  statement urges them to do), but they should also question their initial case screening
  policies as well as whether justice is served through asking for secured financial
  conditions for any particular bond at first appearance. Defense attorneys, jail
  administrators, sheriffs and sheriff’s deputies, city and county officials, state legislators,
  researchers and academics, persons in philanthropies, and others should strive
  individually to actively implement the various policy statements and recommendations
  that are already a part of the pretrial justice literature, and to question those parts of
  the pretrial system seemingly neglected by others.

  Everyone has a part to play in pretrial justice, and it means individually deciding to
  improve, learning what improvements are necessary, and then implementing legal and
  evidence-based practices to further the goals of bail. Nevertheless, while informed
  individual action is crucial, it is also only a means to the end of a comprehensive
  collaborative culture change. In this generation of pretrial reform, the most successful
  improvement efforts have come about when governors and legislators have sat at the
  same table as pretrial services officers (and everyone else) to learn about bail
  improvements and then to find comprehensive solutions to problems that are likely
  insoluble through individual effort alone.




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                            Collaboration and Pretrial Justice
        In a complicated justice system made up of multiple agencies at different levels of
        government, purposeful collaboration can create a powerful mechanism for discussing
        and implementing criminal justice system improvements. Indeed, in the National
        Institute of Corrections document titled A Framework for Evidence-Based Decision
        Making in Local Criminal Justice Systems, the authors call collaboration a “key
        ingredient” of an evidence-based system, which uses research to achieve system goals.

        Like other areas in criminal justice, bail and pretrial improvements affect many persons
        and entities, making collaboration between system actors and decision makers a crucial
        part of an effective reform strategy. Across the country, local criminal justice
        coordinating committees (CJCCs) are demonstrating the value of coming together with a
        formalized policy planning process to reach system goals, and some of the most
        effective pretrial justice strategies have come from jurisdictions working through these
        CJCCs. Collaboration allows individuals with naturally limited spheres of influence to
        interact and achieve group solutions to problems that are likely insoluble through
        individual efforts. Moreover, through staff and other resources, CJCCs often provide the
        best mechanisms for ensuring the uptake of research so that full implementation of
        legal and evidence-based practices will succeed.

        The National Institute of Corrections currently publishes two documents designed to
        help communities create and sustain CJCCs. The first, Robert Cushman’s Guidelines for
        Developing a Criminal Justice Coordinating Committee (2002), highlights the need for
        system coordination, explains a model for a planning and coordination framework, and
        describes mechanisms designed to move jurisdictions to an “ideal” CJCC. The second,
        Dr. Michael Jones’s Guidelines for Staffing a Criminal Justice Coordinating Committee
        (2012), explains the need and advantages of CJCC staff and how that staff can help
        collect, digest, and synthesize research for use by criminal justice decision makers.




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  Judicial Leadership


  Finally, while everyone has a role and a responsibility, judges must be singled out as
  being absolutely critical for achieving pretrial justice in America. Bail is a judicial
  function, and the history of bail in America has consistently demonstrated that judicial
  participation will likely mean the difference between pretrial improvement and pretrial
  stagnation. Indeed, the history of bail is replete with examples of individuals who
  attempted and yet failed to make pretrial improvements because those changes
  affected only one or two of the three goals associated with evidence-based decision
  making at bail, and they lacked sufficient judicial input on the three together. Judges
  alone are the individuals who must ensure that the balance of bail – maximizing release
  (through an understanding of a defendant’s constitutional rights) while simultaneously
  maximizing public safety and court appearance (through an understanding of the
  constitutionally valid purposes of limiting pretrial freedom, albeit tempered by certain
  fundamental legal foundations such as due process, equal protection, and
  excessiveness, combined with evidence-based pretrial practices) – is properly
  maintained. Moreover, because the judicial decision to release or detain any particular
  defendant is the crux of the administration of bail, whatever improvements we make to
  other parts of the pretrial process are likely to stall if judges do not fully participate in
  the process of pretrial reform. Finally, judges are in the best position to understand risk,
  to communicate that understanding to others, and to demonstrate daily the political will
  to embrace the risk that is inherent in bail as a fundamental precept of our American
  system of justice.

  Indeed, this generation of bail reform needs more than mere participation by judges;
  this generation needs judicial leadership. Judges should be organizing and directing
  pretrial conferences, not simply attending them. Judges should be educating the justice
  system and the public, including the media, about the right to bail, the presumption of
  innocence, due process, and equal protection, not the other way around.

  Fortunately, American judges are currently poised to take a more active leadership role
  in making the necessary changes to our current system of bail. In February of 2013, the
  Conference of Chief Justices, made up of the highest judicial officials of the fifty states,
  the District of Columbia, and the various American territories, approved a resolution
  endorsing certain fundamental recommendations surrounding legal and evidence-based
  improvements to the administration of bail. Additionally, the National Judicial College
  has conducted focus groups with judges designed to identify opportunities for
  improvement. Moreover, along with the Pretrial Justice Institute and the Bureau of
  Justice Assistance, the College has created a teaching curriculum to train judges on legal
  and evidence-based pretrial decision making. Judges thus need only to avail themselves
  of these resources, learn the fundamentals surrounding legal and evidence-based

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  pretrial practice, and then ask how to effectuate the Chief Justice Resolution in their
  particular state.

  The Chief Justice Resolution should also serve as a reminder that all types of pretrial
  reform include both an evidentiary and a policy/legal component – hence the term legal
  and evidence-based practices. Indeed, attempts to increase the use of evidence or
  research-based practices without engaging the criminal justice system and the general
  public in the legal and policy justifications and parameters for those practices may lead
  to failure. For example, research-based risk assessment, by itself, can be beneficial to
  any jurisdiction, but only if implementing it involves a parallel discussion of the legal
  parameters for embracing and then mitigating risk, the need to avoid other practices
  that undermine the benefits of assessment, and the pitfalls of attempting to fully
  incorporate risk into a state legal scheme that is unable to adequately accommodate it.
  On the other hand, increasing the use of unsecured financial conditions, coupled with a
  discussion of how research has shown that those conditions can increase release
  without significant decreases in court appearance and public safety – the three major
  legal purposes underlying the bail decision – can move a jurisdiction closer to model bail
  practices that, among other things, ensure bailable defendants who are ordered release
  are actually released.




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  Additional Sources and Resources: Association of Prosecuting Attorneys, Policy
  Statement on Pretrial Justice (2012) found at
  http://www.apainc.org/html/APA+Pretrial+Policy+Statement.pdf.
  Conference of Chief Justices Resolution 3: Endorsing the Conference of State Court
  Administrators Policy Paper on Evidence-Based Pretrial Release (2013), found at
  http://www.pretrial.org/wp-content/uploads/2013/05/CCJ-Resolution-on-
  Pretrial.pdf; William F. Dressell & Barry Mahoney, Pretrial Justice in Criminal Cases:
  Judges’ Perspectives on Key Issues and Opportunities for Improvement (Nat’l. Jud.
  College 2013); Effective Pretrial Decision Making: A Model Curriculum for Judges
  (BJA/PJI/Nat’l Jud. Coll. (2013)
  http://www.pretrial.org/download/infostop/Judicial%20Training.pdf; Dean L. Fixsen,
  Sandra F. Naoom, Karen A. Blase, Robert M. Friedman, and Frances Wallace,
  Implementation Research: A Synthesis of the Literature (Univ. S. Fla. 2005); International
  Chiefs of Police Pretrial Justice Reform Initiative, found at
  http://www.theiacp.org/Pretrial-Justice-Reform-Initiative.




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  Conclusion

  Legal and evidence-based pretrial practices, derived from knowing the history of bail,
  legal foundations, and social science pretrial research, and expressed as
  recommendations in the national best practice standards, point overwhelmingly toward
  the need for pretrial improvements. Fortunately, in this third generation of American
  bail reform, we have amassed the knowledge necessary to implement pretrial
  improvements across the country, no matter how daunting or complex any particular
  state believes that implementation process to be. Whether the improvements are
  minor, such as adding an evidence-based supervision technique to an existing array of
  techniques, or major, such as drafting new constitutional language to allow for the fair
  and transparent detention of high-risk defendants without the need for money bail, the
  only real prerequisites to reform are education and action. This paper is designed to
  further the process of bail education with the hope that it will lead to informed action.

  As a prerequisite to national reform, however, that bail education must be uniform.
  Accordingly, achieving pretrial justice in America requires everyone both inside and
  outside of the field to agree on certain fundamentals, such as the history of bail, the
  legal foundations, the importance of the research and national standards, and
  substantive terms and phrases. This includes agreeing on the meaning and purpose of
  the word “bail” itself, which has gradually evolved into a word that often is used to
  mean anything but its historical and legal connotation of release. Fully understanding
  these fundamentals of bail is paramount to overcoming our national amnesia of a
  system of bail that worked for centuries in England and America – an unsecured
  personal surety system in which bailable defendants were released, in which non-
  bailable defendants were detained, and in which no profit was allowed.

         “A sound pretrial infrastructure is not just a desirable goal – it is vital to
         the legitimate system of government and to safer communities.”

                                     Deputy Attorney General James M. Cole (2011).



  Moreover, while we have learned much from the action generated by purely local
  pretrial improvement projects, we must not forget the enormous need for pretrial
  justice across the entire country. We must thus remain mindful that meaningful
  American bail reform will come about only when entire American states focus on these
  important issues. Anything less than an entire state’s complete commitment to examine
  all pretrial practices across jurisdictions and levels of government – by following the
  research from all relevant disciplines – means that any particular pretrial practitioner’s
  foremost duty is to continue communicating the need for reform until that complete
  commitment is achieved. American pretrial justice ultimately depends on reaching a

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  tipping point among the states, which can occur only when enough states have shown
  that major pretrial improvements are necessary and feasible.

  In 1964, Robert Kennedy stated the following:

         [O]ur present bail system inflicts hardship on defendants and it inflicts
         considerable financial cost on society. Such cruelty and cost should not
         be tolerated in any event. But when they are needless, then we must ask
         ourselves why we have not developed a remedy long ago. For it is clear
         that the cruelty and cost of the bail system are needless. 88

  Fifty years later, this stark assessment remains largely true, and yet we now have
  significant reason for hope that this third generation of bail reform will be America’s
  last. For in the last 50 years, we have accumulated the knowledge necessary to replace,
  once and for all, this “cruel and costly” system with one that represents safe, fair, and
  effective administration of pretrial release and detention. We have amassed a body of
  research literature, of best practice standards, and of experiences from model
  jurisdictions that together have created both public and criminal justice system
  discomfort with the status quo. It is a body of knowledge that points in a single direction
  toward effective, evidence-based pretrial practices, and away from arbitrary, irrational,
  and customary practices, such as the casual use of money. We now have the
  information necessary to recognize and fully understand the paradox of bail. We know
  what to do, and how to do it. We need only to act.




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    Attorney General Robert F. Kennedy, Testimony on Bail Legislation Before the Subcommittee
  on Constitutional Rights and Improvements in the Judicial Machinery of the Senate Judiciary
  Committee 4 (Aug. 4, 1964) (emphasis in original) available at
  http://www.justice.gov/ag/rfkspeeches/1964/08-04-1964.pdf.
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